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            EXHIBIT A
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                 Agreement
                 between the

                 Board of Trustees of the
                 University of Massachusetts
                 and the

                 American
                 Federation of Teachers
                 Local 1895, AFL-CIO
                 Faculty Federation
                 at the

                 University of Massachusetts
                 Dartmouth

                 Effective

                 July 1, 2017
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Agreement between the Board of Trustees of The University of Massachusetts and the UMASS
       Faculty Federation, Local 1895, American Federation of Teachers, AFL-CIO

Negotiating Team                              Negotiating Team
for the Board of Trustees:                    for the Faculty Federation:

Ramprasad Balasubramanian                     Ralph Clifford
Interim Dean                                  Professor, Law School
College of Engineering                        Jo-Ann Cooley
                                              Library Circulation Manager/Library Assistant
Magali Carrera
Vice Provost                                  Antonio H. Costa
Academic Affairs/Provost                      Professor and Chairperson
                                              Electrical and Computer Engineering
Kimberly Christopher                          Catharine Curran
Dean                                          President, Faculty Federation
College of Nursing                            Associate Professor and Chairperson
                                              Management and Marketing
Robert Jones
Interim Associate Dean                        Shannon Jenkins
College of Arts and Sciences                  Professor and Chairperson, Political Science
                                              Dayalan Kasilingam
Tesfay Meressi                                Professor, Electrical and Computer Engineering
Associate Provost for Graduate Studies
Graduate Studies/Associate Provost’s Office   Susan Krumholz
                                              Professor, Crime and Justice Studies
Joanne Zanella-Litke                          Wayne LeBlanc
Assistant Vice Chancellor for                 Treasurer, Faculty Federation
 Program Planning & Fiscal Management         Professional Technician, Medical Laboratory
Academic Affairs/Provost                       Science
                                              Elizabeth Lehr
Mark Preble
                                              Full-Time Lecturer, English
Negotiator-Consultant
Chief Human Resources Officer                 Kathy Miraglia
UMASS President’s Office                      Professor, Art Education, Art History & Media
                                              Studies
                                              Nancy O’Connor
                                              Professor, Biology
                                              Kristen Sethares
                                              Professor, Adult Nursing
                                              Elizabeth Winiarz
                                              Librarian
                                              Michael Regan
                                              Negotiator-Consultant
                                              Field Representative, AFT Massachusetts


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 1                                         PREAMBLE

 2           This Agreement is entered into by and between the University of Massachusetts
 3           Board of Trustees and the UMASS Faculty Federation, Local 1895, American
 4           Federation of Teachers, AFL-CIO, as the exclusive bargaining agent for the
 5           members in the bargaining unit delineated in Article I. Section A.

 6           This Agreement between the University of Massachusetts Board of Trustees and
 7           the UMASS Faculty Federation seeks to establish a democratic process whereby
 8           the legitimate goals of the Faculty, the Administration, the Students and the Board
 9           of Trustees can be achieved and conflicts can be resolved in a democratic and
10           orderly manner.

11                               ARTICLE I
12          UMASS FACULTY FEDERATION RECOGNITION AND DEFINITIONS

13     A.    RECOGNITION

14           The University of Massachusetts Board of Trustees recognizes the UMASS
15           Faculty Federation Local 1895, American Federation of Teachers, AFL-CIO, as
16           the exclusive bargaining representative for the following professional employees:

17           Commonwealth Professor, UMass Dartmouth
18           Chancellor Professor, UMass Dartmouth
19           Professor, UMass Dartmouth
20           Associate Professor, UMass Dartmouth
21           Assistant Professor, UMass Dartmouth
22           Instructor, UMass Dartmouth
23           Clinical Nursing Assistant Professor
24           Clinical Nursing Associate Professor
25           Clinical Nursing Professor
26           Lecturer, Full-Time, UMass Dartmouth
27           Senior Lecturer, Full-Time, UMass Dartmouth
28           Lecturer, Part-Time, UMass Dartmouth
29           Department Chairperson, UMass Dartmouth
30           Library Division Head, UMass Dartmouth
31           Librarian, UMass Dartmouth
32           Associate Librarian, UMass Dartmouth
33           Assistant Librarian, UMass Dartmouth
34           Library Assistant, UMass Dartmouth
35           Visiting Librarian, Full-Time, UMass Dartmouth
36           Visiting Librarian, Part-Time, UMass Dartmouth
37           Professional Technician I, UMass Dartmouth
38           Professional Technician II, UMass Dartmouth
39           Professional Technician III, UMass Dartmouth
40           Professional Technician IV, UMass Dartmouth
41           Research Associate, UMass Dartmouth


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 1          Technical Associate, UMass Dartmouth
 2          Research Professor, UMass Dartmouth
 3          Research Associate Professor, UMass Dartmouth
 4          Research Assistant Professor, UMass Dartmouth
 5          Jurist in Residence, UMass Dartmouth
 6          Visiting Professor of Law, UMass Dartmouth
 7          Clinical Law Fellow, UMass Dartmouth
 8          Law Librarian, UMass Dartmouth
 9          Associate Law Librarian, UMass Dartmouth
10          Assistant Law Librarian, UMass Dartmouth
11
12     B.   DEFINITIONS

13          1.    The term “Academic Year” shall consist of the period September 1, to May
14                31, inclusive except for the School of Law where it shall consist of the
15                period August 15, to May 15, inclusive, subject to variation by the Law
16                Academic Council to ensure complete fall and spring semesters over a
17                period not less than nine months and not more than 40 weeks, and to
18                accommodate graduation, which may occur outside this period.

19          2.    The term “Employer” shall be defined as the University of Massachusetts
20                Board of Trustees.

21          3.    The term “Administration” shall be defined to include the President, the
22                UMass Dartmouth Chancellor and other principal administrative officers
23                of the University; such designation is not to include individuals and
24                positions as defined under Section A. of Article I., in the Educational
25                Services Unit Contract or Section A. of Article I., of the Trustees/Faculty
26                Federation Agreement. The Administration shall be responsible for the
27                management of the University of Massachusetts Dartmouth.

28          4.    The term “Chancellor” as used in this agreement means the Chancellor of
29                the University of Massachusetts Dartmouth.

30          5.    The term “Provost” as used in this agreement means the Provost and Vice
31                Chancellor for Academic Affairs of the University of Massachusetts
32                Dartmouth.

33          6.    The term “University” as used in this agreement means the University of
34                Massachusetts Dartmouth.

35          7.    The term “Dean” or “Dean of the College” as used in this Agreement means
36                the Deans of the Colleges or Schools of the University or the Dean of
37                Library Services of the University.

38          8.    The term “Faculty” as used in this Agreement means a member of the
39                bargaining unit holding the title of Full-Time Lecturer, Senior Lecturer,
40                Part-Time Lecturer, Instructor, Visiting Professor of Law, Jurist in

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 1               Residence, Assistant Professor, Associate Professor, Professor, Clinical
 2               Nursing Assistant Professor, Clinical Nursing Associate Professor,
 3               Clinical Nursing Professor, Commonwealth Professor, or Chancellor
 4               Professor who teaches at least one course per academic year, except for
 5               those on sabbatical leave.

 6         9.    The term “Federation Representative” as used in this Agreement means
 7               any officially designated representative of the Faculty Federation.

 8         10.   The term “Librarian” as used in this Agreement means a member of the
 9               bargaining unit who is a staff member of the University Library who holds
10               a Master of Library Science Degree from an institution accredited by the
11               American Library Association or an equivalent degree, and who holds the
12               title Assistant Librarian, Associate Librarian, or Librarian.

13         11.   The term “Library Assistant” as used in this Agreement refers to a staff
14               member in a professional position with a bachelor’s degree and significant
15               library experience with relevant course work in library science desirable.

16         12.   The term “Full-Time Visiting Librarian” as used in this Agreement means
17               a librarian other than those holding the title of Librarian or Library
18               Assistant whose normal work week is 37.5 hours.

19         13.   The term “Part-Time Visiting Librarian” as used in this Agreement means
20               a librarian other than those holding the title of Librarian, Library Assistant
21               or Full-Time Visiting Librarian whose normal work week is 20 hours or
22               less.

23         14.   The term “Professional Technician” as used in this Agreement means a
24               member of the bargaining unit, in a professional position, who assists in
25               laboratories, maintains instructional equipment, or prepares instructional
26               material, and who holds the title Professional Technician IV, Professional
27               Technician III, Professional Technician II, or Professional Technician I.

28         15.   The term “Trustees” refers to the Board of Trustees for the University of
29               Massachusetts.

30         16.   The term ”University System” refers collectively to all educational
31               facilities or academic locations under the control of the Trustees.

32         17.   The term “Promotion” as used in this Agreement means advancement to a
33               higher rank approved by the Board of Trustees.

34         18.   The term “Probationary Period” as used in this Agreement means the
35               period of the bargaining unit member’s employment preceding the
36               granting of tenure or permanent appointment.



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 1         19.   The term “Unsatisfactory Report” as used in this Agreement means that
 2               the individual was rated below average on the form used in evaluating
 3               teaching effectiveness in a class by more than fifty (50%) percent of the
 4               students in that class.

 5         20.   The term “Department” shall be defined as any recognized instructional or
 6               service unit (including library divisions).

 7         21.   The term “Part-Time Faculty” as used in this Agreement means an
 8               employee who is not “Full-Time” and teaches a minimum of one (1)
 9               course.

10         22.   The term “Campus” refers to any single educational facility or academic
11               location of the University of Massachusetts Dartmouth.

12         23.   The term “He” whenever used in this Agreement shall mean “He” or
13               “She.” Likewise, “Him” shall signify “Him” or “Her.”

14         24.   Whenever the singular is used in this Agreement, it shall include the
15               plural.

16         25.   The term “Full-Time Lecturer” as used in this Agreement means a faculty
17               member other than those holding the title of Commonwealth Professor,
18               Chancellor Professor, Professor, Associate Professor, Assistant Professor,
19               or Instructor, who teaches ten (10) or more units in a semester.

20         26.   The term “Part-Time Lecturer” as used in this Agreement means a faculty
21               member other than those holding the title of Commonwealth Professor,
22               Chancellor Professor, Professor, Associate Professor, Assistant Professor,
23               Instructor or Full-Time Lecturer who has taught at least one (1) course for
24               three (3) consecutive semesters or who is teaching in the third consecutive
25               semester.

26         27.   Research Associate - Any non-faculty employee of the University of
27               Massachusetts Dartmouth whose primary responsibilities are to: (a)
28               supervise research activities or (b) to conduct research through the
29               University of Massachusetts Dartmouth.

30         28.   Technical Associate - Any non-technician employee of the University of
31               Massachusetts Dartmouth whose primary responsibility is to provide
32               technical support to employees engaged in the supervision or conduct of
33               research activities through the University of Massachusetts Dartmouth.

34         29.   Members of the unit who are appointed by a College Dean to serve as an
35               Assistant or Associate Dean shall be considered non-unit employees for
36               the duration of their administrative appointment.



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1          30.   The term “Research Faculty” as used in this Agreement means a member
2                of the bargaining unit holding the title of Research Professor, Research
3                Associate Professor or Research Assistant Professor and who is engaged
4                full time in grant supported research or scholarship.

5          31.   Jurist in Residence
6                A faculty member who formerly served as a judge or justice who is
7                appointed to the School of Law faculty. A Jurist in Residence is employed
8                on renewable three-year probationary contracts with the possibility of
9                five-year renewals. Such position is not eligible for tenure.

10         32.   Visiting Professor of Law
11               An individual with teaching experience, who may or may not be employed
12               as a law professor at another institution who is given a limited, non-
13               renewable one to two-year contract.

14         33.   Clinical Law Fellow
15               A Clinical Law Fellow is any non-faculty employee of the University of
16               Massachusetts School of Law whose primary responsibilities are to work
17               in a Law clinic operated by the School of Law, specifically on direct
18               representation, student supervision, teaching and/or appellate and
19               advocacy work.

20         34.   The term “Clinical Nursing Faculty” as used in this Agreement shall mean
21               a member of the bargaining unit holding the title of Clinical Nursing
22               Professor, Clinical Nursing Associate Professor, or Clinical Nursing
23               Assistant Professor. Clinical nursing faculty are non-tenure eligible, fixed-
24               term faculty members who are qualified by training, experience, or
25               education to direct or participate in specialized university functions,
26               including teaching, student internships, clinical training, or other practice
27               components of degree programs, scholarship, and service. Responsibilities
28               of clinical nursing faculty may encompass any area of professional
29               practice and/or technical expertise.

30         35.   The term “Law Librarian” as used in this Agreement means a member of
31               the bargaining unit who is a staff member of the University of
32               Massachusetts School of Law Library who holds a Master of Library
33               Science Degree from an institution accredited by the American Library
34               Association or an equivalent degree and a J.D. or L.L.B. degree from an
35               institution accredited by the American Bar Association or a state, and who
36               holds the title Assistant Law Librarian, Associate Law Librarian, or Law
37               Librarian. The provisions of this agreement that apply to Librarians shall
38               also apply to Law Librarians unless the contract says otherwise.




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 1                               ARTICLE II
 2              UMASS FACULTY FEDERATION-TRUSTEES RELATIONS

 3     A.   FAIR PRACTICES

 4          As exclusive collective bargaining agent, the Faculty Federation will continue its
 5          policy of accepting into voluntary membership all eligible persons in the unit
 6          without regard to race, color, creed, national origin, gender, age, marital status,
 7          sexual orientation, religion, disability, veteran’s status, political belief or
 8          affiliation. The Faculty Federation will represent equally all persons without
 9          regard to membership or participation in or association with the activities of any
10          employee organization.

11          The Trustees agree to continue their policy of not discriminating against any
12          person on the basis of race, color, creed, national origin, gender, age, marital
13          status, sexual orientation, religion, disability, veteran’s status or any other groups
14          that may be designated “protected” by law, political belief or affiliation or
15          membership or participation in or association with the activities of any employee
16          organization.

17          The Trustees and the Faculty Federation agree that all forms of discrimination
18          including sexual harassment are illegal practices which will not be condoned in
19          the workplace. Sexual harassment shall be considered as an act of sexual
20          discrimination for the purposes of this Article.

21          The parties agree that no provision of this section shall be deemed to create or
22          confer on any person any right enforceable under the terms of this Agreement.

23     B.   INDIVIDUAL CONTRACTS

24          Rights and benefits of members of the bargaining unit set forth in this Agreement
25          shall be incorporated into and made part of any individual contract of employment
26          with the Board of Trustees. In the event of conflict between the terms of an
27          individual contract of employment and the terms of this Agreement, the latter
28          shall be controlling. This Agreement shall be referred to in employment contracts
29          issued to members of the bargaining unit.

30     C.   CONTINUING CONSULTATION

31          The Trustees and the Faculty Federation, recognizing the importance of frequent
32          communications in maintaining good relationships, agree to schedule regular
33          meetings with the Faculty Federation local officers or their designees, and similar
34          meetings between the Chancellor and the Executive Officers of the Faculty
35          Federation. Included for discussion shall be faculty-administrator relationships
36          and methods for improvement.

37          These meetings shall not be for the purpose of negotiation with respect to wages
38          and hours or conditions of employment or for discussing specific grievances but

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 1          shall be for the purpose of discussing and resolving mutual problems affecting the
 2          overall relationships between the parties to this Agreement. In addition to the
 3          regularly scheduled meetings, special meetings, both at the college and university
 4          levels, shall be held at the request of either party to discuss and resolve questions
 5          relative to the Agreement.

 6     D.   BULLETIN BOARDS

 7          The Faculty Federation shall be permitted to post official Faculty Federation
 8          notices on the university bulletin boards.

 9     E.   DISTRIBUTION OF MATERIALS

10          The Faculty Federation shall have the right to place Faculty Federation related
11          materials in the mailboxes of faculty and other professional employees.

12     F.   FEDERATION MEETINGS

13          On twenty-four (24) hours’ notice to the appropriate authority, the Faculty
14          Federation shall have the right to schedule a Federation meeting during normal
15          operating hours in the buildings of the Campus. After a Federation meeting has
16          been scheduled, no other meetings involving faculty members shall be scheduled
17          at the same time.

18     G.   INFORMATION

19          The Trustees shall make available to the Federation upon its written request,
20          within a responsible time thereafter, such statistics and information related to the
21          collective bargaining unit in the possession of the Board of Trustees as are
22          necessary for the negotiation and implementation of this Agreement. It is
23          understood that this shall not require the Board to compile information and
24          statistics in the form requested unless already compiled in that form or to supply
25          any information that is confidential.

26     H.   TRUSTEE MEETINGS

27          1.     The Faculty Federation will be supplied a copy of the agenda and a copy
28                 of the packet of back-up materials which is supplied to the press in
29                 advance of each regular or special meeting of the Trustees.

30          2.     All items relating to the terms of the Agreement between the Trustees and
31                 the Federation shall be placed on the agenda of the Board of Trustees to be
32                 discussed at a specified time determined by the Board with notification to
33                 the Faculty Federation.

34          3.     A copy of the minutes of all Trustee meetings shall be sent to the Faculty
35                 Federation President including Executive Session minutes after approval
36                 by the Board.

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1     I.   FACULTY REPRESENTATION

2          Any faculty member representing the members of this unit on any committee or
3          other such body established by the Board of Trustees or any agent thereof, which
4          involve matters of conditions of employment, shall be elected by a procedure
5          administered by the UMASS Faculty Federation; no faculty member desiring to
6          be a candidate shall be excluded from such election.

7     J.   FACULTY FEDERATION OFFICE

8          The Federation shall be provided with an office on campus suitable for carrying
9          out its functions under the Agreement.




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 1                            ARTICLE III
 2          ACADEMIC FREEDOM, DEMOCRACY AND RESPONSIBILITY

 3     A.   EDUCATIONAL POLICY AND ACADEMIC FREEDOM

 4          1.   An Academic Review Committee shall be formed composed of two (2)
 5               representatives of the Trustees, two (2) representatives of the Faculty
 6               Federation, together with the Provost and the Faculty Federation
 7               President, who shall serve alternately as Chairperson of the meetings. The
 8               function of this committee is to review changes in academic programs
 9               which directly affect wages, hours, and conditions of employment
10               specifically covered by this Agreement. Recommendations of this
11               committee shall be given to the parties to this Agreement for their
12               consideration. Either the Provost or the President of the Faculty Federation
13               may request that the committee convene at a mutually acceptable time and
14               place. The committee shall establish its procedures of operation.

15          2.   The UMASS Faculty Federation and the Board of Trustees agree to accept
16               the statement of principles on academic freedom as follows:

17               a)     The teacher is entitled to full freedom in research and in the
18                      publication of the results, subject to the adequate performance of
19                      the other academic duties but research for pecuniary return should
20                      be based upon an understanding with authorities of the institution,
21                      and shall not interfere with the faculty member’s obligations to the
22                      University.

23               b)     The teacher is entitled to freedom in the classroom in discussing
24                      subject matter but should be careful not to introduce controversial
25                      matter which has no relation to the subject.

26          3.   The individual faculty member shall have the sole responsibility to
27               determine course content and texts, limited only by course descriptions
28               approved by the appropriate curriculum committees.

29          4.   Faculty teaching assignments shall be decided by the Department
30               Chairperson in consultation with members of the department and must be
31               acceptable to the Dean of the College or School, except in the School of
32               Law, faculty teaching assignments shall be decided by the Dean or Dean’s
33               designee in consultation with members of the department and must be
34               acceptable to the Law Academic Council.

35          5.   The Trustees shall uphold the faculty’s academic freedom to discuss
36               controversial issues.

37          6.   The exercise of legal and constitutional rights shall in no way jeopardize
38               the faculty member’s position or rights.


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 1          7.     The parties recognize that there shall be no censorship of library materials.

 2     B.   SUSPENSION FROM CLASS

 3          The Chancellor may, after consultation with the appropriate College Dean and
 4          Provost, suspend a faculty member from class. No faculty member may be
 5          removed from the performance of duties without full disclosure of the reasons for
 6          the intended suspension to the individual concerned. The faculty member shall
 7          have the right to a hearing before the appropriate College Academic Council
 8          which shall make its recommendations to the Chancellor. Where a person has
 9          been removed from the performance of duties, the administration shall present its
10          reasons at a hearing before the College Academic Council within five (5) school
11          days. If the grievance is not resolved at the level of the College Academic
12          Council, the faculty member involved may pursue the grievance, in an orderly
13          manner, under Article XVII (Grievance Procedures) of this Agreement.

14     C.   THE UNIVERSITY OF MASSACHUSETTS INTELLECTUAL
15          PROPERTY POLICY

16          The prompt and open dissemination of the results of research and creative work
17          among scholars and, eventually, to the public at large is essential to the
18          University’s mission of education and research. The commercial development and
19          distribution of the results of research and creative work to benefit the inventor or
20          creator and the economy is part of the University’s mission of public service. This
21          Policy is intended to facilitate the commercial development of intellectual
22          property arising at the University and to provide an incentive to University
23          inventors or creators to participate in such development while acknowledging the
24          University’s primary goal of the discovery and dissemination of knowledge.

25          1.     Definitions

26                 As used in this Policy, the following words shall have the following
27                 meanings:

28                 a)      Confidential Information - Information that is received by a
29                         Covered Individual from a third party under an express or implied
30                         obligation of confidence.

31                 b)      Covered Individuals - All staff, faculty members, students, adjunct
32                         professors in residence, and any other individuals associated with
33                         the University.

34                 c)      Copyrightable Work - A creative work that is protectable under the
35                         copyright laws of the United States or other countries. Copyright
36                         protection is available for most literary, musical, dramatic, and
37                         other types of creative works, including, for example, computer
38                         software, teaching materials, multimedia works, proposals, and
39                         research reports.

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 1               d)    CVIP - The University Office of Commercial Ventures and
 2                     Intellectual Property, which has primary responsibility for
 3                     administering the development and commercialization of
 4                     Intellectual Property through licensing or other arrangements.

 5               e)    Director - The Executive Director of the CVIP.

 6               f)    Evaluation Committee or Committee - One of several University
 7                     committees, each with a particular area of technical expertise, that
 8                     advises the CVIP and Associate Provost for Research and Economic
 9                     Development in evaluating Inventions, Tangible Research
10                     Materials, and Copyrightable Works.

11               g)    Exempted Scholarly Work - A Scholarly Work that falls within
12                     certain categories of Copyrightable Works for which academic
13                     institutions have historically waived any ownership interest in
14                     favor of the author. The University currently recognizes the
15                     following categories of Exempted Scholarly Works: textbooks,
16                     class notes, classroom and online presentation and instruction,
17                     research articles, research monographs, student theses and
18                     dissertations, paintings, drawings, sculpture, musical compositions
19                     and performances, dramatic works and performances, poetry, and
20                     popular fiction and nonfiction or other works of artistic expression.
21                     As modern types of works become clearly established as Scholarly
22                     Works, so that individual consideration is no longer deemed
23                     necessary, the President may expand this list of Exempted
24                     Scholarly Works beyond these historically established categories.
25                     As described below, under most circumstances Exempted
26                     Scholarly Works need not be disclosed to the University and the
27                     University automatically waives any ownership interest in such
28                     works.

29               h)    Intellectual Property - Inventions, Copyrightable Works, and
30                     Tangible Research Materials.

31               i)    Invention - A discovery or development that may be protectable
32                     under the patent laws of the United States, the United States Plant
33                     Variety Protection Act, or equivalent laws in other countries.

34               j)    Outside Researcher - An individual who performs or directs
35                     research for an organization other than the University.

36               k)    President - The President of the University or the President’s
37                     designee.

38               l)    Public Disclosure or Publicly Disclosed - Any written or oral
39                     disclosure of an Invention or Copyrightable Work to any person


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 1                       not under a contractual or fiduciary obligation of confidentiality to
 2                       the University.

 3               m)      Scholarly Work - A Copyrightable Work that has the primary goal
 4                       of disseminating academic or scholarly knowledge, or is a work of
 5                       artistic expression. As described below, whether a Copyrightable
 6                       Work is a Scholarly Work will be determined by the Director and
 7                       Associate Provost for Research and Economic Development on a
 8                       case-by-case basis (except that Exempted Scholarly Works are
 9                       automatically considered Scholarly Works), and under most
10                       circumstances the University waives all ownership interests in
11                       Scholarly Works.

12               n)      Tangible Research Materials or Materials - Tangible biological,
13                       chemical, and physical materials or equipment. Examples include
14                       cell lines, antibodies, DNA or RNA, chemical samples, plasmids,
15                       and prototypes.

16               o)      Associate Provost for Research and Economic Development - The
17                       Associate Provost for Research and Economic Development at each
18                       campus, or where no such person exists, the Provost (or their
19                       designees).

20         2.    Scope

21               a)      Persons Subject to the Policy

22                       All Covered Individuals are subject to this Policy.

23               b)      Types of Intellectual Property Covered by the Policy

24                       This Policy addresses the three categories of Intellectual Property
25                       (Inventions, Copyrightable Works, and Tangible Research
26                       Materials) as well as Confidential Information. The President shall
27                       have authority to designate additional types of Intellectual Property
28                       under this Policy.

29               c)      Exclusion of Materials Developed Within an Attorney-Client
30                       Relationship

31                       Any property developed within an attorney-client relationship shall
32                       be owned and controlled as required by the ethical rules of
33                       practice. This policy shall not apply to such property unless the
34                       rules of ethics establish that the attorney rather than the client is
35                       entitled to ownership of the property.

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1          3.    Policy

 2               a)       Participation Agreement

3                         The University has adopted a Participation Agreement, attached as
4                         Exhibit A, that confirms acceptance of this Policy by Covered
5                         Individuals and assigns to the University all rights in any
6                         Intellectual Property in which the University asserts ownership (as
7                         described below).

 8                        (1)    Students - Students must sign the Participation Agreement
 9                               prior to employment by the University in any research-
10                               related position. Such employment would include, for
11                               example, an arrangement whereby a student is funded as a
12                               research assistant under a government research grant or an
13                               industry-sponsored research agreement with the University.
14                               Students may also be required to sign the Participation
15                               Agreement under other appropriate circumstances, as
16                               determined by the Associate Provost for Research and
17                               Economic Development.

18                        (2)    Individuals Other Than Students - All Covered Individuals
19                               other than students must sign the Participation Agreement.
20                               The University will confirm that a valid Participation
21                               Agreement is on file before a Covered Individual receives
22                               any University-administered funds under a sponsored
23                               research grant or agreement.

24               b)       Ownership of Intellectual Property

25                        Any Covered Individual who invents, creates, or discovers any
26                        Intellectual Property will own all rights to such Intellectual
27                        Property except as follows:

28                        (1)    Use of University Resources - The University will own any
29                               Intellectual Property (other than Exempted Scholarly
30                               Works) that is made, discovered, or created by any Covered
31                               Individual who makes significant use of University
32                               resources (including University-administered funds or
33                               University-funded time, facilities, or equipment) in
34                               connection with the development of such Intellectual
35                               Property. If the Individual uses only library facilities and
36                               occasional use of office equipment to create the Intellectual
37                               Property, such use will not ordinarily be considered
                                 “
38                                 significant use” of University resources.

39                               If a Covered Individual makes, creates or discovers
40                               Intellectual Property (other than Exempted Scholarly

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 1                           Works) that is the same as, directly related to, or
 2                           substantially similar to a research project in which that
 3                           faculty member is engaged at the University, then
                             “
 4                             significant use” of University resources will be presumed.
 5                           As described below, the Covered Individual may rebut this
 6                           presumption of University ownership through submission
 7                           of documentary evidence which clearly establishes that the
 8                           Intellectual Property was developed without significant use
 9                           of University resources.

10                     (2)   University-Commissioned Works - The University will own
11                           any Intellectual Property (including Exempted Scholarly
12                           Works) that is made, discovered, or created by a Covered
13                           Individual who is specifically hired or commissioned by the
14                           University for that purpose, unless otherwise provided by
15                           written agreement between such individual and the
16                           University.

17                     (3)   Intellectual Property Subject to Contractual Obligations -
18                           Ownership of any Intellectual Property (including
19                           Exempted Scholarly Works) that is made, discovered, or
20                           created in the course of research funded by a sponsor
21                           pursuant to a grant or research agreement, or which is
22                           subject to a materials transfer agreement, confidential
23                           disclosure agreement or other legal obligation affecting
24                           ownership, will be governed by the terms of such grant or
25                           agreement, as approved by the University, although the
26                           University will ordinarily claim ownership.

27                     (4)   Student Works

28                           (a)    Generally - As with other Covered Individuals,
29                                  students shall own any Intellectual Property that
30                                  they make, discover, or create in the course of
31                                  research (e.g., thesis or dissertation research) unless
32                                  (i) the student received financial support from the
33                                  University in the form of wages, salary, stipend, or
34                                  grant funds for the research, or (ii) the student made
35                                  significant use of University resources (including
36                                  University- administered funds or University-
37                                  funded time, facilities, or equipment) in connection
38                                  with the research, or (iii) the research was funded
39                                  by a sponsor pursuant to a grant or sponsored
40                                  research agreement or is subject to a materials
41                                  transfer agreement, confidential disclosure
42                                  agreement, or other legal obligation that restricts
43                                  ownership of Intellectual Property.

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 1                            (b)     Theses and Dissertations - All student theses and
 2                                    dissertations are considered Exempted Scholarly
 3                                    Works; therefore, the student will own copyright to
 4                                    the Scholarly Work (unless Sections 3.b) (2) or
 5                                    3.b)(3) above apply), subject to a royalty-free
 6                                    license to the University to reproduce and publish
 7                                    the Scholarly Work. As described below, students
 8                                    are allowed to publish their theses and dissertations
 9                                    unless they have agreed in writing to restrictions
10                                    that preclude or delay publication.

11                                    Under certain circumstances, as described in
12                                    Section 3.c) (3) below, the University will
13                                    relinquish its rights in Intellectual Property to the
14                                    inventor or creator of that Intellectual Property at
15                                    the inventor or creator’s request.

16               c)    Administrative Procedures - Inventions and Copyrightable Works

17                     A primary goal of the University is the discovery and free
18                     dissemination of knowledge for the benefit of the public. The
19                     University recognizes, however, that in certain instances the public
20                     will only benefit from knowledge that is protected under the patent
21                     or copyright laws, which provide an incentive for economic
22                     development of that knowledge. The University therefore requests
23                     that all Covered Individuals disclose Inventions and Copyrightable
24                     Works (other than Exempted Scholarly Works) promptly, in order
25                     to allow the University an opportunity to evaluate their commercial
26                     potential, and to preserve or enhance their value by filing a patent
27                     application or obtaining a copyright registration. The University
28                     has established the following procedures in order to accomplish the
29                     dual objectives of disseminating knowledge and maximizing the
30                     economic value of that knowledge.

31                     (1)    Disclosure to the University - Disclosure forms should be
32                            submitted to the CVIP or the Associate Provost for Research
33                            and Economic Development. The Associate Provost for
34                            Research and Economic Development and the CVIP will
35                            exchange copies of all disclosure forms that each receives.
36                            The Associate Provost for Research and Economic
37                            Development will also make available to the campus Office
38                            of Grants and Contracts appropriate information to permit
39                            required disclosures to research sponsors (e.g., federal
40                            agencies). The CVIP will make available appropriate
41                            disclosure forms. The treatment of different categories of
42                            Intellectual Property is set forth below.



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 1                           (a)   Intellectual Property Developed with University
 2                                 Resources - All Covered Individuals are encouraged
 3                                 to disclose promptly all Inventions and
 4                                 Copyrightable Works (except Exempted Scholarly
 5                                 Works) that (i) are developed with significant use of
 6                                 University resources or (ii) are the same as, directly
 7                                 related to, or substantially similar to a research
 8                                 project in which that faculty member is engaged at
 9                                 the University (see Section 3.b) (1) above).
10                                 Although the disclosure of such Inventions and
11                                 Copyrightable Works is generally voluntary, if the
12                                 Covered Individual intends to commercialize such
13                                 Intellectual Property, disclosure is required
14                                 reasonably before the Covered Individual takes any
15                                 action to commercialize such Intellectual Property.
16                                 Examples of commercial actions include, without
17                                 limitation, seeking patent or copyright protection,
18                                 commencing discussions with potential investors or
19                                 licensees, or transferring the Intellectual Property to
20                                 a third party.

21                                 If a Copyrightable Work is an Exempted Scholarly
22                                 Work, no disclosure is required under any
23                                 circumstances. In other cases in which a Covered
24                                 Individual desires treatment of a Copyrightable
25                                 Work as a Scholarly Work, the Covered Individual
26                                 should submit to the CVIP or Associate Provost for
27                                 Research and Economic Development, in addition
28                                 to the disclosure form, a request for treatment of the
29                                 work as a Scholarly Work and a brief explanation of
30                                 why the work should be a Scholarly Work.

31                                 In the case of an Invention or Copyrightable Work
32                                 that the Covered Individual claims is not subject to
33                                 University ownership because the Intellectual
34                                 Property was developed without significant use of
35                                 University resources, the Covered Individual should
36                                 submit to the CVIP or Associate Provost for
37                                 Research and Economic Development, in addition
38                                 to the disclosure form, a request for confirmation of
39                                 individual ownership together with documentary
40                                 evidence which clearly establishes that fact.

41                           (b)   University-Commissioned Works - In the case of
42                                 Inventions and Copyrightable Works (including
43                                 Exempted Scholarly Works) that a Covered
44                                 Individual is specifically hired or commissioned by

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 1                                  the University to develop (see Section 3.b) (2)
 2                                  above), disclosure of the Intellectual Property is
 3                                  required unless otherwise provided by written
 4                                  agreement between such individual and the
 5                                  University.

 6                           (c)    Intellectual Property Subject to Contractual
 7                                  Obligations (e.g., Sponsored Research Agreements)
 8                                  - In the case of Inventions and Copyrightable Works
 9                                  (including Exempted Scholarly Works) developed
10                                  in the course of research funded by a sponsor
11                                  pursuant to a grant or research agreement, or which
12                                  is subject to a materials transfer agreement,
13                                  confidential disclosure agreement or other legal
14                                  obligation requiring disclosure, the disclosure of
15                                  such Intellectual Property will be governed by the
16                                  terms of such grant or agreement, as approved by
17                                  the University, if such terms differ from this Policy.

18                     (2)   Evaluation and Disposition of Disclosures - The Director
19                           and the Associate Provost for Research and Economic
20                           Development will review, evaluate, and make a disposition
21                           of all disclosure forms, and will promptly notify the
22                           Covered Individual of their disposition. The evaluation and
23                           disposition of a disclosure will be completed as soon as
24                           possible, but for Inventions (and computer software)
25                           ordinarily no later than ninety (90) days, and for
26                           Copyrightable Works (other than software) ordinarily no
27                           later than thirty (30) days, after the CVIP or the Associate
28                           Provost for Research and Economic Development receives a
29                           complete and accurate disclosure form and any other
30                           information that the CVIP or the Associate Provost for
31                           Research and Economic Development requests in order to
32                           make an informed evaluation of an Invention or
33                           Copyrightable Work. Disclosure forms will be evaluated
34                           for one of more of the following dispositions, subject to the
35                           appeals process described in Section 3.c) (4) below:

36                           (a)    Scholarly Work - In the case of a Copyrightable
37                                  Work that is claimed as a Scholarly Work (but is not
38                                  an Exempted Scholarly Work), the Director and the
39                                  Associate Provost for Research and Economic
40                                  Development will decide whether that work is in
41                                  fact a Scholarly Work.

42                           (b)    No Use of University Resources - In the case of an
43                                  Invention or Copyrightable Work that the Covered

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 1                                  Individual claims is not subject to University
 2                                  ownership because the Intellectual Property was
 3                                  developed without significant use of University
 4                                  resources, the Director and the Associate Provost
 5                                  for Research and Economic Development will
 6                                  decide whether there was in fact significant use of
 7                                  University resources.

 8                           (c)    Evaluation of Commercial Potential: The
 9                                  Evaluation Committees - In the case of Intellectual
10                                  Property that the Covered Individual discloses for
11                                  possible commercialization by the University, the
12                                  Director and the Associate Provost for Research and
13                                  Economic Development will determine its
14                                  commercial potential. To assist in this
15                                  determination, the Director and the Associate
16                                  Provost for Research and Economic Development
17                                  may consult with patent or copyright counsel and
18                                  outside experts in particular fields.

19                                  In addition to these resources, the Director and the
20                                  Associate Provost for Research and Economic
21                                  Development may seek the advice of various
22                                  Evaluation Committees with expertise in various
23                                  fields of research, which Committees the President
24                                  shall have authority to establish at the President’s
25                                  discretion. Each Committee will be composed of
26                                  faculty members with relevant expertise, appointed
27                                  by the Chancellors in consultation with the Director
28                                  and the Vice Chancellors for Research; a
29                                  representative from the CVIP other than the
30                                  Director; and a Committee Chair, selected by vote
31                                  of the whole Committee. The Director may invite to
32                                  any Committee meeting one or more individuals
33                                  from outside the University with relevant industry
34                                  experience to advise the Committee.

35                           In the case of Inventions or Copyrightable Works
36                           (including Exempted Scholarly Works) that arise in the
37                           course of research funded by a sponsor under a grant or
38                           research agreement, or which are subject to a materials
39                           transfer agreement, confidential disclosure agreement, or
40                           other legal obligation affecting evaluation of disclosures,
41                           the evaluation process will be governed by the terms of
42                           such grant or agreement, as approved by the University, if
43                           such terms differ from this Policy.


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 1                           In the unlikely event that the Director and the Associate
 2                           Provost for Research and Economic Development disagree
 3                           on the disposition of a disclosed Invention or Copyrightable
 4                           Work, a final decision shall be made by the President.

 5                     (3)   Request for Relinquishment of Rights - Under certain
 6                           circumstances, as described below, the University may
 7                           relinquish its ownership rights in an Invention or
 8                           Copyrightable Work to the inventor or creator of the
 9                           Intellectual Property at the inventor or creator’s request.

10                           (a)    Intellectual Property Developed With University
11                                  Resources - The University automatically waives its
12                                  rights in Exempted Scholarly Works. In all other
13                                  cases, the University will ordinarily waive its
14                                  ownership rights in favor of the inventor or creator
15                                  of an Invention or Copyrightable Work if the
16                                  Covered Individual has made complete and accurate
17                                  disclosure of such Intellectual Property in
18                                  accordance with this Policy and the Director and
19                                  Associate Provost for Research and Economic
20                                  Development have determined that the Intellectual
21                                  Property comes under one or more of the following
22                                  categories (as described in detail above):
23                                  •   Copyrightable Work that is a Scholarly Work
24                                  •   Intellectual Property developed without
25                                      significant use of University resources
26                                  •   Intellectual Property that the University has
27                                      decided not to commercialize
28
29                           (b)    University-Commissioned Works - The University
30                                  will not ordinarily waive its ownership rights in any
31                                  Intellectual Property (including Exempted Scholarly
32                                  Works) that is developed by a Covered Individual
33                                  who is specifically hired or commissioned by the
34                                  University for that purpose, unless otherwise
35                                  provided by written agreement between such
36                                  individual and the University.

37                           (c)    Intellectual Property Subject to Contractual
38                                  Obligations - In the case of Intellectual Property
39                                  (including Exempted Scholarly Works) that is
40                                  developed in the course of research funded by a
41                                  sponsor pursuant to a grant or research agreement,


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 1                                    or which is subject to a materials transfer
 2                                    agreement, confidential disclosure agreement, or
 3                                    other legal obligation affecting ownership, the
 4                                    relinquishment of any University rights in the
 5                                    Intellectual Property will be governed by the terms
 6                                    of the relevant grant or agreement, as approved by
 7                                    the University, if such terms differ from this Policy.
 8                                    A Covered Individual may need a separate waiver
 9                                    or assignment of rights from the other party in order
10                                    to acquire complete rights to the Intellectual
11                                    Property.

12                            If certain Intellectual Property is available for
13                            relinquishment by the University (as set forth above), the
14                            inventor or creator of the Intellectual Property may request
15                            in writing that the Director grant a release or assignment of
16                            rights. The Director in consultation with the Associate
17                            Provost for Research and Economic Development will
18                            promptly respond to this request. The University will retain
19                            a royalty-free, non-exclusive license to use any such
20                            Inventions or Copyrightable Works for academic research
21                            and teaching.

22                     (4)    Appeals - If a Covered Individual disagrees with a decision
23                            of the Director and the Associate Provost for Research and
24                            Economic Development under Section 3.c) (2) above, such
25                            individual may ask for reconsideration by the appropriate
26                            Evaluation Committee. The Committee shall review the
27                            matter and make its recommendation to the Director and
28                            the Associate Provost for Research and Economic
29                            Development who shall reconsider the matter. That decision
30                            may be appealed to the President, who shall review the
31                            written records and make a decision which shall be final.

32               d)    Administrative Procedures - Tangible Research Materials

33                     While potential commercial value should not inhibit the free
34                     exchange of University-owned Tangible Research Materials for
35                     research purposes, the University nonetheless recognizes that such
36                     Materials may have significant commercial value. In addition,
37                     Tangible Research Materials received by Covered Individuals may
38                     be subject to contractual restrictions that severely limit the use and
39                     transfer of such Materials, to the detriment of University
40                     researchers. The University has therefore established the following
41                     procedures to allow the free exchange of Tangible Research
42                     Materials, while at the same time respecting the ownership rights



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 1                     of the University, protecting the rights of its researchers, and
 2                     limiting the liability of the University and its researchers.

 3                     (1)    Transfer to Outside Researcher for Basic Research. If a
 4                            Covered Individual desires to transfer Materials to an
 5                            Outside Researcher for use in internal basic research, and
 6                            not for the development or sale of commercial products, the
 7                            Covered Individual must use the appropriate University
 8                            form of Materials Transfer Agreement (“MTA”), which will
 9                            be provided by the CVIP together with instructions for the
10                            use of each form. The various forms of MTA will establish
11                            rights and responsibilities regarding the Materials among
12                            the University and the Outside Researcher and the
13                            researcher’s employer and will minimize future confusion
14                            and controversy regarding the use and transfer of the
15                            Materials and ownership of Inventions or Materials based
16                            on the supplied Materials. Faculty members (but not other
17                            Covered Individuals) are authorized to sign MTAs on
18                            behalf of the University provided that (i) the University-
19                            form MTA is not altered or revised in any manner and (ii) a
20                            signed original of the MTA is sent to the CVIP when the
21                            Materials are sent to the Outside Researcher. Alternatively,
22                            CVIP representatives are authorized to approve and sign
23                            MTAs, even with revisions.

24                            If Materials are developed by a Covered Individual in the
25                            course of sponsored research, or are otherwise subject to
26                            contractual restrictions (e.g., a materials transfer agreement
27                            or confidential disclosure agreement), the transfer of such
28                            Materials to an Outside Researcher will be governed by the
29                            terms of the relevant agreement, if such terms differ from
30                            this Policy.

31                            These procedures also apply to students who leave the
32                            University and desire to bring with them Materials that they
33                            developed or discovered in the course of their work at the
34                            University.

35                     (2)    Transfer for Commercial Use - Materials may not be
36                            transferred to any Outside Researcher for any use other
37                            than internal basic research unless the Outside Researcher
38                            has obtained a license from the University through the
39                            CVIP under the procedures set forth in this Policy.
40                            Materials with commercial uses should be disclosed to the
41                            CVIP or Associate Provost for Research and Economic
42                            Development in the same manner as Inventions and will be
43                            treated in the same manner as Inventions.

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 1                     (3)    Receiving Materials from Outside Researchers - If a
 2                            Covered Individual receives Materials from an Outside
 3                            Researcher at another organization (non-profit or
 4                            commercial), the other organization or researcher may
 5                            impose serious use and transfer restrictions on the Materials
 6                            and may claim an ownership interest in Inventions,
 7                            Copyrightable Works, or Materials that arise in the course
 8                            of research performed with such Materials. For this reason,
 9                            only CVIP representatives are authorized to approve and
10                            sign agreements governing receipt of Materials from other
11                            organizations. Covered Individuals are encouraged to
12                            consult with the CVIP regarding the restrictions applicable
13                            to a particular Material from an Outside Researcher before
14                            planning to use that Material in their research. Covered
15                            Individuals should be aware that, in some instances, these
16                            restrictions may be so onerous that the CVIP will ordinarily
17                            not approve the agreement. The CVIP will make available a
18                            University-form MTA for receipt of Materials, although the
19                            organization supplying the Materials will usually require
20                            use of its own MTA.

21                            If Materials are received by a Covered Individual in the
22                            course of sponsored research, the transfer of such Materials
23                            will be governed by the terms of the applicable sponsored
24                            research agreement, if such terms differ from this Policy.

25                     If any MTA restrictions would apply to research performed by
26                     students, the affected students must agree to such restrictions in
27                     writing.

28               e)    Administrative Procedures - Confidential Treatment of Information

29                     While the academic tradition of free dissemination of knowledge
30                     for the public benefit is recognized by the University to be of
31                     paramount importance, it may be necessary or desirable, under
32                     some circumstances, to restrict disclosure of Confidential
33                     Information received from a sponsor company or to delay Public
34                     Disclosure of an Invention. The University has developed the
35                     following procedures to balance these competing interests. The
36                     University will ordinarily not agree to maintain University-
37                     generated research results as trade secrets.

38                     (1)    Guidelines Regarding Public Disclosure of Inventions -
39                            Internal disclosure of an Invention to the CVIP or Associate
40                            Provost for Research and Economic Development will not
41                            interfere with the ability to patent the Invention. However,
42                            Public Disclosure of an Invention prior to filing for a patent


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 1                           application (even one day before) will preclude the
 2                           availability of patent protection in most countries. This rule
 3                           applies to any non-confidential written or oral disclosure
 4                           that describes the Invention (e.g., at a scientific meeting, in
 5                           a journal, or even in an informal discussion with
 6                           colleagues).

 7                           Accordingly, the University strongly encourages Covered
 8                           Individuals to disclose Inventions to the CVIP as soon as
 9                           possible, and to delay Public Disclosure of the Invention
10                           until the evaluation process is completed and a patent
11                           application is filed. The CVIP and Associate Provost for
12                           Research and Economic Development will attempt to
13                           minimize delays in publication, but a delay of up to ninety
14                           days is often necessary for evaluation. The CVIP and
15                           Associate Provost for Research and Economic Development
16                           will make every effort to expedite the evaluation process
17                           when a Covered Individual indicates that there is a
18                           compelling need for rapid publication.

19                           During this interim period, an Invention may be safely
20                           disclosed outside of the University under the protection of a
21                           Confidential Disclosure Agreement (“CDA”), because
22                           disclosures made under an appropriate CDA are not
23                           considered Public Disclosures. The University therefore
24                           recommends that all Covered Individuals use the
25                           University-form CDA whenever they disclose information
26                           relating to an Invention while the Invention is under
27                           evaluation by the University, and the University strongly
28                           recommends use of the University-form CDA and
29                           consultation with the CVIP if a Covered Individual wishes
30                           to disclose an Invention to an Outside Researcher
31                           associated with a company or other for-profit organization,
32                           or directly to such an organization. The CVIP will make
33                           available appropriate forms of CDA. Faculty members have
34                           authority to sign the University-form CDA on behalf of the
35                           University when they will disclose information (but will
36                           not receive information), provided they send a fully signed
37                           original of the CDA to the CVIP as soon as possible.
38                           Alternatively, CVIP representatives are authorized to
39                           approve and sign CDAs on behalf of the University.

40                           Covered Individuals should be aware that Public Disclosure
41                           of an Invention prior to completion of the evaluation
42                           process and filing of a patent application will adversely
43                           affect the commercial value of the Invention and therefore


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 1                            may decrease the likelihood that the University will
 2                            proceed with commercialization of that Invention.

 3                            In the case of an Invention or Copyrightable Work that
 4                            arises in the course of sponsored research or a grant, or
 5                            which is subject to a materials transfer agreement (MTA),
 6                            confidential disclosure agreement, or other contractual
 7                            restriction affecting Public Disclosure, any restrictions on
 8                            Public Disclosure will be governed by the terms of the
 9                            grant or agreement with the other party, as approved by the
10                            University. If such restrictions would prevent or delay the
11                            publication of a student thesis or dissertation, then the
12                            student must agree to such restrictions in writing.

13                     (2)    Receiving Confidential Information from Outside
14                            Researchers - If a Covered Individual receives Confidential
15                            Information from an Outside Researcher or organization
16                            (non-profit or commercial) in relation to research
17                            performed by the Covered Individual at the University, the
18                            other organization or researcher may impose serious non-
19                            disclosure and non-use obligations on the Confidential
20                            Information and may claim an ownership interest in
21                            Inventions, Copyrightable Works, or Materials that arise in
22                            the course of research performed with such Confidential
23                            Information. For this reason, only CVIP representatives are
24                            authorized to approve and sign CDAs from other
25                            researchers or organizations on behalf of the University.
26                            The CVIP will make available a University-form CDA for
27                            receipt of Confidential Information, although the
28                            organization disclosing the Confidential Information will
29                            usually require use of its own form of CDA.

30                            When Confidential Information is received by a Covered
31                            Individual in the course of sponsored research, the
32                            treatment of such Confidential Information will be
33                            governed by the terms of the applicable sponsored research
34                            agreement, if such terms differ from this Policy.

35                            If any CDA restrictions would apply to research performed
36                            by students, the affected students must agree to such
37                            restrictions in writing.

38               f)    Administrative Procedures - Sponsored Research with Commercial
39                     Organizations

40                     The Associate Provost for Research and Economic Development in
41                     consultation with the CVIP shall have responsibility for


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 1                     negotiating, executing, and administering funded research
 2                     agreements between the University and commercial organizations,
 3                     in accordance with the University policies on sponsored research.
 4                     The Associate Provost for Research and Economic Development
 5                     may delegate all or some of these responsibilities to the CVIP.
 6                     CVIP approval is required for any terms of such agreements that
 7                     affect rights to Intellectual Property (e.g., option rights, license
 8                     rights, or assignment of ownership). If any restrictions in a funded
 9                     research agreement (such as publication delays) would apply to
10                     research performed by students, the affected students must agree to
11                     such restrictions in writing.

12               g)    Commercialization of University-Owned Intellectual Property

13                     The CVIP in consultation with the Associate Provost for Research
14                     and Economic Development shall have responsibility for
15                     commercial development and administration of all University-
16                     owned Intellectual Property. This commercial development will
17                     ordinarily occur through licensing of Inventions, Copyrightable
18                     Works, or Materials to a company. If the CVIP is successful in its
19                     commercialization efforts, the inventor or creator will share in the
20                     economic rewards, as will the department and campus.

21
22                     (1)    Distribution of Non-Equity Revenue Derived from
23                            Commercialization - Royalty income and other non-equity
24                            revenue derived from the licensing of University-owned
25                            Intellectual Property will be distributed at the end of each
26                            accounting period as follows:

27                            (a)     The University will be reimbursed for any out-of-
28                                    pocket expenses incurred in obtaining and
29                                    maintaining patent or copyright protection for a
30                                    specific item of Intellectual Property, and in
31                                    evaluating and marketing such Intellectual Property.

32                            (b)     The remaining net income will be distributed as
33                                    follows:

34                                    •   Fifteen percent (15%) to the CVIP to fund
35                                        patents, CVIP operations, and research grants
36                                    •   Thirty percent (30%) to the inventor or creator
37                                    •   Fifteen percent (15%) to the department or
38                                        program of the inventor or creator
39                                    •   Forty percent (40%) to the campus of the
40                                        inventor or creator

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 1                            In the case of multiple inventors or creators of
 2                            commercialized Intellectual Property, their shares will be
 3                            distributed as they unanimously agree or, in the absence of
 4                            agreement, in equal portions. If multiple departments or
 5                            programs are involved, their shares will be distributed in
 6                            the same manner as the distributions to the inventors or
 7                            creators within such departments or programs.

 8                     (2)    Acceptance of Equity - The University may accept an
 9                            equity interest in a corporation, provided that before the
10                            CVIP agrees to accept equity, it must receive the approval
11                            of the Associate Provost for Research and Economic
12                            Development, the Vice President for Economic
13                            Development, and the University Treasurer. If the
14                            University receives equity in connection with the
15                            commercialization of Intellectual Property, such equity will
16                            be held on behalf of the University by the University of
17                            Massachusetts Foundation, Inc., and will be treated as
18                            follows:

19                            (a)     Fifteen percent (15%) of the total equity will be
20                                    held for the account of the CVIP until liquidation.

21                            (b)     Forty-five percent (45%) of the total equity will be
22                                    held for the account of the department or program
23                                    of the inventor or creator, or such other account as
24                                    may be designated by the Chancellor of the campus,
25                                    until liquidation.

26                            (c)     Forty percent (40%) will be held for the account of
27                                    the campus until liquidation.

28                     This Policy does not provide for distribution of equity to the
29                     inventor or creator of the Intellectual Property because the
30                     University will not receive or hold equity on behalf of individuals.
31                     The inventor or creator, however, may receive equity directly from
32                     a commercial organization, subject to any restrictions contained in
33                     the University’s Policy on Conflict of Interest Relating to
34                     Intellectual Property and Commercial Ventures.

35               h)    Enforcement

36                     The Director, the Associate Provost for Research and Economic
37                     Development, or the President may refer any matter to the
38                     appropriate University official for disciplinary or other appropriate
39                     action.

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 1                  i)      Appeals; Interpretation of Policy; Exceptions

 2                          The Director shall administer this Policy in regular consultation
 3                          with the Vice Chancellors for Research and the President. The
 4                          President, upon recommendation of the Vice President for
 5                          Economic Development and in consultation with the General
 6                          Counsel, may grant exceptions to the Policy in appropriate cases.
 7                          The President shall have authority to overrule any decision of a
 8                          Vice Chancellor or the Director.

 9                  j)      Notwithstanding any provision above, if the University asserts that
10                          intellectual property was developed within an attorney-client
11                          relationship is subject to this policy, the Covered Individual who is
12                          the attorney may assert a claim of attorney-client privilege to the
13                          disclosure of any information requested by the University. If such a
14                          privilege is asserted, no enforcement action may be undertaken
15                          until after a ruling from the appropriate governmental body (Board
16                          of Bar Overseers) establishes that the assertion of privilege was
17                          inappropriate.

18    Exhibit A to Intellectual Property Policy

19    UNIVERSITY OF MASSACHUSETTS DARTMOUTH

20    Participation Agreement

21           In consideration of the benefits that I receive as a result of my access to
22           University-administered funds and University-funded time, facilities, and
23           equipment, I agree as follows:

24           1.     Acknowledgment. I acknowledge that I have read and understood the
25                  Intellectual Property Policy (the ”Policy”) of the University of
26                  Massachusetts (the “University”), a copy of which is attached to this
27                  Agreement, and I agree to abide by the terms of such Policy, as amended. I
28                  understand that capitalized terms used in this Agreement are defined terms
29                  that, if not defined in this Agreement, are defined in the Policy.

30           2.     Disclosure. In accordance with Section 3.c) (1) above of the Policy, I
31                  agree to make the following disclosures to the University Office of
32                  Commercial Ventures and Intellectual Property (“CVIP”) or to the Provost:

33                  a)      I am encouraged to disclose any Inventions, Copyrightable Works
34                          (except Exempted Scholarly Works), and commercially valuable
35                          Tangible Research Materials that (i) I develop with significant use
36                          of University resources or (ii) are the same as, directly related to,
37                          or substantially similar to a research project in which I am engaged
38                          at the University; however, if I intend to commercialize such
39                          Intellectual Property, disclosure is required reasonably before I

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 1                      take any action to commercialize such Intellectual Property.
 2                      Examples of commercial actions include, without limitation,
 3                      seeking patent or copyright protection, commencing discussions
 4                      with potential investors or licensees, or transferring the Intellectual
 5                      Property to a third party.

 6               b)     I am required to disclose any Inventions, Copyrightable Works
 7                      (including Exempted Scholarly Works), and Tangible Research
 8                      Materials that the University has specifically hired or
 9                      commissioned me to develop, except as otherwise provided in a
10                      written agreement between me and the University; and

11               c)     I am required to disclose any Inventions, Copyrightable Works
12                      (including Exempted Scholarly Works), and Tangible Research
13                      Materials that I develop in the course of research funded by a
14                      sponsor pursuant to a grant or research agreement that requires
15                      such disclosure, or which is subject to a materials transfer
16                      agreement, confidential disclosure agreement, or other legal
17                      obligation requiring such disclosure.

18               I agree to make such disclosures promptly and in reasonable detail on the
19               appropriate University Disclosure Form. In the case of Inventions that I
20               intend to commercialize, I understand that I should make such disclosure
21               reasonably prior to public disclosure of the Invention in order to provide
22               the University with an opportunity to file a patent application.

23         3.    Assignment of Rights. I hereby assign, transfer, and convey to the
24               University all of my right, title, and interest in any Inventions,
25               Copyrightable Works, and Tangible Research Materials for which the
26               University asserts ownership under Section 3.b) of the Policy. I understand
27               that the University does not assert ownership of Exempted Scholarly
28               Works unless such works are specifically commissioned by the University
29               or are subject to a contractual obligation that requires assignment. I further
30               understand the University will ordinarily waive its rights in other
31               Copyrightable Works that the University determines are Scholarly Works.
32               At the request of the University, I agree to execute and deliver promptly a
33               specific assignment to the University of my right, title, and interest to such
34               Intellectual Property, including without limitation any proprietary rights
35               arising from patent applications or copyright registration in the United
36               States and foreign countries. I further agree to supply the University with
37               all information and to execute all documents necessary to obtain and
38               maintain patents, copyrights, or other forms of legal protection for such
39               Intellectual Property. I hereby appoint the University as my attorney to
40               execute and deliver such documents on my behalf in the event that I
41               should fail or refuse to fulfill my obligations under this Section within a
42               reasonable period of time.



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 1          4.        Income-Sharing; Relinquishment. I understand that, in accordance with
 2                    Section 3.g) (1) of the Policy, I will receive a portion of all royalty income
 3                    and other non-equity revenue derived from the licensing of Intellectual
 4                    Property that I assign to the University. I further understand that, in
 5                    accordance with Section 3.c) (3) of the Policy, if the University decides
 6                    not to commercialize such Intellectual Property, I will have an opportunity
 7                    to regain title so that I may pursue commercialization of the Intellectual
 8                    Property.

 9          5.        Administrative Procedures. I understand and agree to abide by the
10                    administrative procedures for the transfer of Tangible Research Materials
11                    and Confidential Information, as set forth in the Policy.

12          6.        Certification by Principal Investigators. I agree to ensure that each person
13                    who is subject to the Policy who participates in research at the University
14                    under my supervision as Principal Investigator (excluding clerical and
15                    non-technical workers) has signed and delivered a copy of this Agreement
16                    in accordance with the Policy. I further agree to ensure that all students
17                    under my supervision as Principal Investigator have agreed in writing to
18                    any contractual restrictions (such as publication restrictions) that are
19                    applicable to their research.

20    Signature:
21    Printed Name:
22    Department:
23    Date:




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 1                                     ARTICLE IV
 2                                FEDERATION ACTIVITIES

 3     A.   REASSIGNED TIME FOR MEETINGS

 4          When the Administrators and Representatives of the Faculty Federation meet to
 5          discuss items in this Agreement, said representatives (not to exceed seven (7))
 6          attending such a meeting shall suffer no loss in pay. However, meetings shall be
 7          scheduled in such a manner as to minimize the loss of scheduled class time.

 8     B.   CLASS SCHEDULE FOR FACULTY FEDERATION REPRESENTATIVES

 9          When feasible, classes and other duties of Faculty Federation representatives will
10          be scheduled in such a way as to maximize the time available for the performance
11          of the representative’s duties.

12     C.   LIMITS ON FACULTY FEDERATION ACTIVITIES

13          Except as specifically provided in this Agreement, no faculty member shall
14          engage in Federation activities during the time the member is scheduled for
15          teaching or other scheduled University duties.

16     D.   FEDERATION SERVICE TO THE ACADEMIC COMMUNITY

17          Faculty Federation Officers, who are responsible for a share of the partnership in
18          the administration of the Agreement and Executive Board members chairing
19          Federation committees or committees established under the terms of this
20          Agreement, shall have their activities taken into consideration in the evaluation
21          procedures as “University Service”.

22     E.   FACULTY FEDERATION PRESIDENT

23          The President of the Faculty Federation shall have a teaching load of not more
24          than eight (8) units per year and shall be given scheduling preference in regard to
25          days and times of courses in order to properly execute duties as a faculty member
26          and responsibilities as President of the Faculty Federation. The Chancellor shall
27          determine the teaching load of the President of the Faculty Federation.




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                             ARTICLE V
            GOVERNANCE & PARTICIPATION IN DECISION MAKING

  A.   SELECTION OF DEPARTMENT CHAIRPERSON, DIVISION HEAD OR
       LAW SCHOOL FACULTY LEADER

       The term of office for Department Chairpersons and Division Heads shall be four
       (4) years.

       1.     Department Chairpersons (except in the School of Law) will be selected as
              follows:

              a)     On or before April 15 of the last year of the present Chairperson’s
                     term of office, the College Dean shall call for a secret ballot vote
                     of the members of the department to nominate a tenured faculty
                     member of the department for Department Chairperson. The
                     election shall be conducted by the appropriate College Academic
                     Council. The candidate receiving the largest number of votes cast
                     will be the nominee. The Chairperson of the College Academic
                     Council will submit this name to the College Dean. In the event of
                     a tie after two votes, the College Dean, in consultation with the
                     department’s faculty, will appoint an interim chairperson for one
                     year. The term of office shall commence on July 1.

              b)     Tenured faculty shall be eligible for office and, in cases of small
                     departments (four or fewer tenured/tenure-track faculty, non-
                     tenured faculty shall be eligible to serve.

              c)     All faculty members, except for full-time lecturers with less than
                     two continuous years of service in the same department and part-
                     time lecturers (Art. XV, A. 1. B), as defined in the definitions
                     clause (Art. I. B. 8.) and professional technicians shall be eligible
                     to vote in the election for Department Chairperson; provided that
                     in any department where the total number of full-time lecturers
                     with more than two continuous years of service in the same
                     department plus the number of professional technicians is greater
                     than the number of tenure/tenure track faculty, a majority of both
                     all eligible voters and tenure/tenure track faculty shall be necessary
                     to elect a Department Chairperson.

       2.     Library Division Heads will be selected as follows:

              a)     On or before April 15 of the last year of the present Division
                     Head’s term of office, the Library Dean shall call for a secret ballot
                     vote of the members of the division to nominate a full-time
                     librarian of the division for Division Head. The election shall be
                     conducted by the affected division. The candidate receiving the
                     largest number of votes cast shall be elected. In the event of a tie

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                   after two votes, the Dean of the Library, in consultation with the
                   library division, will appoint an interim chairperson for one year.
                   The term of office shall commence on June 1.

            b)     All full-time members of the division holding the rank of Library
                   Assistant, Assistant Librarian, Associate Librarian, Librarian or
                   Professional Technician shall be eligible to vote in the election for
                   Division Head.

      3.    Law School Faculty Leaders will be designated as follows:

            In the case of the Law School, if this Agreement assigns a task to the
            department chairperson that is not expressly assigned to another person at
            the Law School, that task shall be done by the chairperson of the Tenure
            and Promotion Committee if the function arises under Article VII, and
            otherwise by the chairperson of the Law Academic Council.

      4.    Recall by vote of the department. The procedures for recalling a
            Chairperson are as follows:

            a)     The filing with the College Dean of a petition to recall signed by a
                   minimum of thirty (30%) percent of the tenure-track faculty and
                   professional technicians of the department.

            b)     Upon receipt of a petition to recall, the College Dean will notify
                   the appropriate College Academic Council to give fourteen (14)
                   days written notice to all tenure-track faculty and professional
                   technicians of the department setting forth the time, the date and
                   the place where the recall election by secret ballot will be held.

            c)     A two-thirds (2/3) vote of all the tenure-track members of the
                   department shall be required to recommend to the Chancellor that a
                   vacancy be declared to exist in the office of Department
                   Chairperson. Upon certification of the election results by the
                   College Academic Council, the College Dean and the Provost, the
                   Chancellor shall notify the appropriate College Academic Council
                   to call for a new election under the procedures delineated in this
                   Article.

      5.    The Provost may, after consultation with the appropriate College Dean,
            declare a vacancy to exist. The Provost shall make known to the
            department in writing the reasons for this action.

      6.    In the event that the Department Chairperson chooses not to carry out the
            duties of the office or cannot carry out said duties, an Acting Chairperson
            shall carry out the duties. The Acting Chairperson shall be appointed by
            agreement between the Department Chairperson and the College Dean, for
            absences by the regular Chairperson of three (3) months or less. For

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            absences longer than three months, an Acting Chairperson shall be elected
            by the department following the same procedures as for election of a
            regular Chairperson.

  B.   DEPARTMENTAL COMMITTEES

       1.   Faculty Evaluation Committee

            Each department shall establish a Standing Committee for faculty
            evaluation. The Department Chairperson shall be the non-voting
            Chairperson of the Faculty Evaluation Committee. This committee shall
            be responsible for annual faculty evaluations, recommendations on
            contract renewals and recommendations on promotions. The Faculty
            Evaluation Committee shall report its recommendations in writing to the
            Department Chairperson.

            The number of members, term of office and election procedure shall be
            decided by a majority vote of the tenure-track faculty members of the
            department, provided that there is a minimum of four (4) tenured faculty
            members on the committee inclusive of the Chairperson. One (1) non-
            tenured faculty member, who has at least three (3) years of service in the
            department, may serve on this committee. Where there are not four (4)
            persons eligible, tenured persons from other departments within the
            Academic Council shall be elected by all tenure-track members of the
            department. There shall be at least four (4) members of this committee
            inclusive of the Chairperson. For purposes of contract renewal and
            promotion, all tenured faculty members of a department shall be members
            of the Department Faculty Evaluation Committee.

       2.   The School of Law shall have two (2) standing Committees for Faculty
            Evaluation. These shall be the Tenure and Promotion Committee (TPC)
            and the Annual Faculty Evaluation Committee (AFEC).

       3.   The Tenure and Promotion Committee (School of Law) shall be formed as
            all standing committees in the Law School and must consist of no fewer
            than four tenured faculty. The committee must be approved by a full vote
            of the full-time faculty of the School of Law. If there are insufficient
            tenured faculty to serve, the terms of V, B 1 apply. The Tenure and
            Promotion Committee will conduct evaluations for contract renewal,
            tenure, promotion or periodic multi-year review. The committee will make
            its recommendation to the Law Academic Council (LAC). The Law
            Academic Council will vote to accept or reject the recommendation of the
            TPC and report the results of this vote to the Dean of the School of Law.
            If there is disagreement between the TPC and the Law Academic Council,
            a separate report from the LAC shall be forwarded to the Dean of the Law
            School. Otherwise the principles of consideration for contract renewal,



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            tenure and promotion and PMYR contained elsewhere in Art, V (H, I, J,
            K) shall prevail.

       4.   The Annual Evaluation Committees (School of Law) shall be formed as all
            standing committees in the Law School and must consist of tenured
            faculty. The Committees must be approved by a full vote of the full-time
            faculty of the School of Law. The AFEC shall elect its own chairperson,
            who will make his/her own recommendation to the Dean of the School of
            Law.

       5.   Curriculum Committee. See Article V. E.1. and Article V. E. 2

       6.   Safety Committee. See Article V. G. 2.

       7.   Tenure Committee. See Article VII. I. 4.

       8.   Other committees to deal with matters other than faculty evaluation may
            be established by vote of the full-time members of the department.

       9.   For a three (3) year pilot period, the School of Law shall have the
            opportunity to establish appropriate standing Committees directly related
            to the conduct of programs of the School and consistent with compliance
            with all standards of the American Bar Association. These committees
            shall be established through a joint process between the Dean and the
            faculty. The faculty as a whole shall elect a Committee on Committees
            (COC) which will consist of three (3) tenured or untenured members of
            the Faculty. The Dean will consult with the faculty to identify the
            membership for each of the standing committees. The final membership of
            the standing committees must be approved by a majority vote of the
            faculty as a whole. The proposed membership for all committees shall be
            presented to the Faculty by the COC and the faculty shall vote to approve
            or disapprove the entire membership of the Committee. Each Committee
            (except for Art V, B, 3 above) shall elect its own Chairperson.

  C.   COMPOSITION OF COLLEGES

       1.   Departmental Composition

            The five colleges and the two schools that make up the University shall
            consist of the following departments respectively:

            The College of Arts and Sciences shall include the Departments of
            Biology, Chemistry and Biochemistry, Crime and Justice Studies,
            Economics, Educational Leadership, English, Foreign Literature and
            Languages, History, Mathematics, Medical Laboratory Science,
            Philosophy, Political Science, Portuguese, Psychology, Public Policy,
            Sociology and Anthropology, STEM Education and Teacher
            Development, and Women’s and Gender Studies. The College of Arts and

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            Sciences shall also include Labor Education and African/African
            American Studies.

            The Charlton College of Business shall include the Departments of
            Accounting and Finance, Management and Marketing, and Decision and
            Information Sciences.

            The College of Engineering shall include the Departments of
            Bioengineering, Civil and Environmental Engineering, Computer and
            Information Science, Electrical and Computer Engineering, Mechanical
            Engineering, and Physics.

            The College of Nursing shall include the Departments of Community
            Nursing and Adult Nursing.

            The College of Visual and Performing Arts shall include the Departments
            of Art Education, Art History & Media Studies, Music, and Art and
            Design.

            The School of Marine Science and Technology shall include the
            Departments of Estuarine and Ocean Sciences, and Fisheries
            Oceanography.

            The School of Law shall consist of the academic programs offered by the
            School.

      2.    College Academic Council Composition

            The five Colleges and two Schools that make up the University shall
            include the following College Academic Councils, respectively:

            The College of Arts and Sciences shall include the Education Academic
            Council, the Humanities Academic Council, the Science Academic
            Council and the Social Science Academic Council.

            The Charlton College of Business shall include the Business College
            Academic Council.

            The College of Engineering shall include the Engineering College
            Academic Council.

            The College of Nursing shall include the Nursing College Academic
            Council.

            The College of Visual and Performing Arts shall include the Visual and
            Performing Arts College Academic Council.




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            The School for Marine Science and Technology shall include the Marine
            Science and Technology School Academic Council.

            The School of Law shall have the appropriate committees to manage the
            academic program effectively, including the School of Law Academic
            Council.

  D.   COLLEGE ACADEMIC COUNCILS

       1.   Ten (10) College Academic Councils shall be established, one (1) each for
            the College of Business, Engineering, Visual and Performing Arts and
            Nursing, one (1) each for SMAST, and the School of Law, and four (4)
            within the College of Arts and Sciences, one (1) each in Education,
            Humanities, Social Sciences, and Science. Except for the School of Law,
            each Council shall have two (2) representatives from each department,
            with one (1) elected each year. The term of office shall be for two (2)
            years. The School of Law Academic Council shall be comprised of all
            full-time faculty.

            At the call of the College or School Dean on or before April 15, each
            department will hold a secret ballot election among its tenure-track faculty
            to elect one (1) of its tenured members or one (1) of its non-tenured
            faculty members with four (4) or more years of service to the appropriate
            College Academic Council. The name of the departmental representative
            will be forwarded in writing to the Dean of the College or School.

       2.   Notwithstanding the composition of the colleges, the College Academic
            Councils will consist of two (2) members from each department as
            follows:

            Education Council

                   Educational Leadership
                   STEM Education and Teacher Development

            Humanities Council

                  English
                  Foreign Literature and Languages
                  History
                  Philosophy
                  Portuguese

            Social Sciences Council

                   Crime and Justice Studies
                   Economics


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                   Political Science
                   Psychology
                   Public Policy
                   Sociology/Anthropology
                   Women’s and Gender Studies
            Engineering Council
                   Civil and Environmental Engineering
                   Computer and Information Science
                   Electrical and Computer Engineering
                   Mechanical Engineering
                   Physics
                   Bioengineering

            Visual and Performing Arts Council

                   Art Education, Art History & Media Studies
                   Art and Design
                   Music

            Business Council

                   Accounting and Finance
                   Management and Marketing
                   Decision and Information Sciences

            Science Council

                   Biology
                   Chemistry and Biochemistry
                   Mathematics
                   Medical Laboratory Science

            Nursing Council

                   Community Nursing
                   Adult Nursing

            SMAST Council

                   Estuarine and Ocean Sciences
                   Fisheries Oceanography

            Law School Council

      3.    Each College Academic Council shall establish a permanent committee of
            the whole on faculty evaluation and other committees as recommended by
            the Council Chairperson and approved by a majority vote of the Council

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            members. Each Council Chairperson shall be elected by a majority vote of
            the members of the Council.

       4.   A copy of the final report of the Council shall be sent to the College Dean,
            the Department Chairperson and the President of the Faculty Federation.
            Each Faculty member considered by the Council for a personnel action
            shall receive a copy of that portion of the report pertaining to that faculty
            member.

  E.   CURRICULUM COMMITTEES

       1.   Curriculum Committees – General

            a)     Curriculum Committees shall be established to review and make
                   recommendations regarding all curriculum changes involving
                   courses or programs offered under the auspices of UMass
                   Dartmouth if credits earned in those courses or programs can be
                   applied to an academic degree granted through a department or
                   college of the University.

            b)     In this article “curriculum changes” refers to new courses, new
                   programs of courses, discontinuing of existing courses and
                   programs and substantial changes in either title or content of
                   existing courses.

            c)     These committees shall include Departmental Curriculum
                   Committees, College Curriculum Committees, and a University
                   Curriculum Committee.

            d)     The Department, College, and University Curriculum Committees
                   shall base their review and recommendations on educational
                   standards and the availability and qualifications of faculty and the
                   budgetary resources as determined by the appropriate Dean.

            e)     Copies of the recommendations of the Department, College, and
                   University Curriculum Committees shall be sent to (1) the
                   Chancellor, (2) the Provost and all Deans, (3) all Department
                   Chairpersons to be forwarded to the Department Curriculum
                   Committees and (4) the President of the Faculty Federation for
                   information. It shall be the responsibility of the Chairpersons of the
                   Department, College and University Curriculum Committees to
                   distribute copies of the recommendations of their respective
                   committees within seven (7) days from the date of their adoption.

            f)     When a Department, Dean, or Curriculum Committee deems that a
                   proposed curriculum change impinges on its academic area or
                   involves possible allocations of resources, a conference may be
                   requested before the appropriate Curriculum Committee. (The

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                   appropriate committee is the College Curriculum Committee for
                   conferences requested by a Department or Dean within the same
                   college; and the University Curriculum Committee for conferences
                   requested on matters pertaining to more than one (1) college.)

            g)     Copies of Curriculum Committee recommendations in regard to
                   proposed curriculum changes that involve either graduate level
                   courses or programs shall be sent by the Curriculum Committee
                   Chairpersons within seven (7) days from the date of the adoption
                   of the recommendation to the Graduate Council for its information.

            h)     A suggested credit course which does not fall within an established
                   department but within the general subject area of a college must be
                   approved by the College Curriculum Committee. If the subject of a
                   suggested credit course is university-wide in scope, it must be
                   approved by the University Curriculum Committee. The
                   department(s) close to the subject area shall be the sponsoring
                   department(s) and shall carry out the departmental provisions of
                   this Article.

      2.    Departmental Curriculum Committee

            Each department shall establish a Departmental Curriculum Committee of
            a size to be determined by vote in each department. The committee shall
            consist of approximately equal representation from the faculty of the
            department and the students majoring in the department, with a faculty
            member serving as Chairperson. Departments with distinct options may
            establish such a committee for each option.

            This committee shall make recommendations to the department for
            curriculum changes within the department, and upon departmental
            approval, submit them to the Dean of the College or School. When the
            proposed curriculum changes involve another department or college, the
            Dean will forward the proposals to either the College or University
            Curriculum Committee, as appropriate, for its recommendation.

            In the College of Nursing, there shall be a single College Curriculum
            Committee for the undergraduate program. At the graduate level, the
            appropriate graduate program committee will serve as the curriculum
            committee. These committees shall make recommendations to the full
            faculty for curriculum changes within the college, and upon college
            approval, submit them to the Dean of the College.

            In the School of Marine Science and Technology, there shall be a single
            School Curriculum Committee. This committee shall make
            recommendations to the full faculty for curriculum changes within the
            school, and upon school approval, submit them to the Dean of SMAST.


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            In the School of Law, there shall be a single Curriculum Committee. It
            shall be comprised of at least three (3) full-time faculty members
            recommended by the COC and confirmed by a vote of the full-time faculty
            of the School of Law; and one (1) law student member selected by the
            Student Bar Association who will be ex-officio. The Committee
            chairperson shall be one of the faculty members. This Committee shall
            make recommendations to the full law faculty for curriculum changes
            within the school, and upon approval, submit them to the Law Dean in
            accordance with ABA standards.

      3.    College Curriculum Committee

            This committee shall consist of a faculty member and a student majoring
            within the department elected from each department. The committee shall
            elect its own Chairperson, who shall be a faculty member.

            This committee shall make its recommendations to the Dean of the
            College on all proposed curriculum changes which involve two (2) or
            more departments within the college. The College Curriculum Committee
            shall be the Hearing Committee when there is a disagreement between two
            departments, one which requires a course for its majors in another
            department and the other which provides that course. The recommendation
            of the committee on a resolution of the disagreement shall be sent to the
            Dean of the College for action within thirty (30) days. A copy of the
            recommendation shall be sent to the Provost. This committee shall
            periodically review and make recommendations regarding distribution
            requirements within the college.

            The College Curriculum Committee shall recommend the requirements for
            earned degrees granted within the college including minimum
            requirements for majors, minors and special options in a field. Such
            recommendations shall be forwarded to the Dean of the College for action
            then to the Provost, then to the Chancellor. The recommendations shall
            take effect upon approval of the Chancellor.

            This committee shall serve as an Appeals Committee if the
            recommendations of the Dean of the College and a Departmental
            Curriculum Committee should differ. All motions on curriculum shall be
            passed at one (1) meeting by a vote of the majority of the actual
            membership of the committee, or by a simple majority of those attending
            the meeting at two (2) consecutive meetings for which adequate notice is
            given for the meeting and of the agenda.

      4.    University Curriculum Committee

            This committee shall consist of two (2) faculty members elected from
            departments within each of the College Academic Councils, one (1)


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            librarian, elected by the librarians, and one (1) student elected from a
            department within each College Academic Council. The term of service
            for bargaining unit members shall be two (2) years with the terms
            staggered for the two (2) faculty members elected by the same College
            Academic Council. The committee shall elect its own Chairperson who
            shall be a faculty member.

            This committee shall make recommendations to the Provost for action on
            all new courses or programs which involve the faculty of two (2) or more
            Colleges, or courses required for students outside the college in which the
            course is being offered. The committee shall also make recommendations
            on new programs or courses falling outside one of the established
            Colleges, or where the location of the new course or program is itself a
            matter of debate. Additionally, the committee shall also make
            recommendations on all new degree programs being recommended by any
            of the Colleges.

            The University Curriculum Committee shall be the Hearing Committee
            when there is disagreement between departments of two (2) Colleges, one
            (1) of which requires a course for its majors in another department and the
            other which provides that course. The recommendation of the committee
            on a resolution of the disagreement shall be sent to the Provost for action
            within thirty (30) days. A copy of the recommendation shall be sent to the
            Chancellor. The recommendation shall take effect upon approval of the
            Chancellor.

            This committee shall serve as an Appeals Committee if the
            recommendations of the Dean of the College and the College Curriculum
            Committee should differ.

            The University Curriculum Committee shall consider the establishment or
            discontinuance of all Graduate Programs proposed at the University.

      5.    Committee on Standards and Evaluation

            This committee shall make recommendations on standards for
            appointment, reappointment, promotion and tenure for faculty members. It
            shall consist of two faculty members from the departments within each of
            the College Academic Councils. The committee shall elect its own
            Chairperson. Recommendations of this committee shall be taken under
            advisement by the Chancellor of the University and the Faculty
            Federation.




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  F.   SEARCH/ADVISORY COMMITTEES ON SELECTION OF COLLEGE
       DEANS, VICE CHANCELLORS and CHANCELLOR

       1.   Chancellor, Vice Chancellor, and Provost

            When a search is authorized to fill a vacancy in the Office of the
            Chancellor, Provost, or the Vice Chancellors, there shall be established a
            Representative Advisory Committee, which shall include members of the
            bargaining unit.

       2.   Deans of Colleges

            In the event of a vacancy of a Deanship within a college, a seven (7)
            person Screening Committee (except in the College of Arts and Sciences
            where it will be nine (9)) shall be established for the nominations of
            candidate(s) to fill the vacancy. The committee shall be composed of three
            (3) faculty to be elected from the college by the full-time members of the
            college in such a way that there will not be two (2) faculty from the same
            department except where there are only two (2) departments in the
            college; in that case, each department shall have at least one (1)
            representative, and in the case of the College of Arts and Sciences, one (1)
            faculty member shall be elected from departments within each of the four
            (4) Academic Council Areas; three (3), four (4) in the case of the College
            of Arts and Sciences, individuals appointed by the Chancellor; and one (1)
            UMass Dartmouth student from within the college appointed by the
            Student Senate.

       3.   Dean of Library Services

            In the event of a vacancy in the office of Dean of Library Services, a seven
            (7) person Screening Committee shall be established for the nomination of
            candidate(s) to fill the vacancy. The committee shall be composed of one
            (1) faculty appointed by the President of the Faculty Federation, two (2)
            librarians elected by the librarians, three (3) individuals appointed by the
            Chancellor and one (1) student appointed by the Student Senate.

       4.   Dean of the School of Law

            The Dean of the School of Law, except in extraordinary circumstances,
            shall hold an appointment as a member of the faculty with tenure.

            In the event of a vacancy of the School of Law Deanship, a nine (9) person
            Search and Screen Committee shall be established for the nominating of
            candidates to fill the vacancy. The Screening Committee shall have 4 law
            faculty elected by the faculty, three (3) members appointed by the
            Chancellor and two law school students elected by the student bar
            association. The Committee shall ensure that all law faculty have an
            adequate opportunity to meet the finalist candidates during the screening

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              process and provide feedback to the Committee. Consistent with current
              University process, the Committee shall forward at least three finalists to
              the Provost providing the committees assessment of strengths and
              weaknesses.

              The Dean will be evaluated annually by the Provost consistent with
              current University Faculty Senate practice, the Dean of the School of Law
              will be reviewed by the faculty at the end of his/her third year of service.

  G.   OTHER COMMITTEES

       All committees shall elect their own chair.

       1.     Budget Review Board

              The Budget Review Board consisting of the Vice Chancellor for Fiscal
              Affairs as Chairperson, three (3) administrators appointed by the
              Chancellor of the University, three (3) faculty members of the bargaining
              unit appointed by the President of the Faculty Federation, the Chairperson
              of the Educational Services Unit or a designee, and three (3) students
              appointed by the President of the Student Senate, shall serve as an
              advisory body to the Chancellor on financial matters relating to the current
              budget and on the preparation of future budgets.

              All members of the Budget Review Board shall serve in an advisory
              capacity to the Chancellor on all financial matters.

              The faculty members of the bargaining unit representatives will report on
              the final budget recommendations to the Federation prior to the approval
              of the recommendations by the Board of Trustees.

              The Budget Review Board will submit a report on expenditures at the end
              of each fiscal year.

              This Board shall be appointed before June 30 of the year in order to begin
              its duties on July 1.

       2.     Departmental Safety Committee

              There shall be established a Safety Committee or Safety Officer in each
              Academic Department of the University. A Departmental Safety
              Committee shall include a Professional Technician in its membership if
              one is allocated to that department.

       3.     Honors Committee/Honors Program

              a)      The Honors Program shall be administered by the Honors
                      Committee and the Director of the Honors Program. The Honors

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                  Committee shall consist of one member representing each of the
                  Academic Councils (except the Law Academic Council) elected by
                  the faculty members of the departments in the councils and one (1)
                  librarian elected by the librarians, who shall serve staggered two
                  year terms, the Provost, one professional staff person from Student
                  Affairs and two (2) students appointed by the Director of the
                  Honors Program. The committee shall advise the Director in
                  fostering development and overseeing all aspects of the
                  University’s Honors Program.

            b)    The Honors Committee shall solicit applications from the faculty
                  for the position of Director of the Honors Program, review the
                  applications, and make a recommendation to the Provost. The
                  Provost shall appoint an individual to serve as Director from the
                  list of those recommended by the Honors Committee. The Director
                  of the Honors Program shall serve a three (3) year renewable term
                  and shall have a maximum teaching load equivalent to that of
                  Department Chairpersons.

      4.    University Studies Committee

            a)    There shall be a University Studies Committee which shall
                  regularly review and be responsible for making recommendations
                  on the University’s general education requirements for
                  undergraduate degrees. The committee’s recommendations shall
                  include the establishment, maintenance and periodic updating of
                  lists of designated courses that satisfy each of the categories of
                  General Education requirements. Courses shall be considered by
                  the University Studies Committee only upon endorsement by
                  Department Chairs or Program Directors. To be included on a list
                  of courses that satisfy a General Education Requirement, a course
                  must meet the standards approved by the Faculty Senate for the
                  category. Lists of designated courses shall be recommended by the
                  University Studies Committee to the Provost and may be reviewed
                  for continuation by the University Studies Committee.
                  Recommendations of designated lists shall be updated in response
                  to new course proposals offered by departments or programs. The
                  list shall be reviewed in a regular time frame.

            b)    The committee shall be composed of sixteen (16) members, two
                  (2) from each Academic Council (except the Law Academic
                  Council) elected by the faculty in that Academic Council. No
                  member of the University Curriculum Committee may serve on the
                  University Studies Committee. No member of a College
                  Curriculum Committee may serve on the University Studies
                  Committee. The committee shall elect its own Chairperson.



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      5.    Committee for Women

            The Chancellor shall establish a committee that shall identify concerns and
            issues of special interest to women, coordinate efforts to improve the
            campus for women, target relevant specific issues to be addressed and
            monitor their progress. The Federation shall select one (1) representative
            from each academic council, one (1) from the librarians, and one (1) from
            the professional technicians. The term of service for faculty members, the
            librarian, and the professional technician shall be a staggered three (3)
            year-term.

      6.    The Graduate Council

            The council shall consist of the directors of each graduate program at the
            University or the director's designee, the Chairperson of the School of
            Law’s Committee on Committees or the chairperson’s designee, and two
            (2) graduate students selected at large by the council. The Associate
            Provost for Graduate Studies or designee shall serve as Chairperson. The
            council shall make recommendations to the Provost. The council shall
            meet at least twice per semester.

      7.    Affirmative Action Committee

            Members representing the bargaining unit shall be appointed by the
            Federation in the following way: (1) ten faculty members, one from each
            Academic council; (2) one librarian; (3) one professional technician. The
            term of service for faculty members, the librarian, and the professional
            technician shall be three (3) years.

      8.    Institutional Review Board (IRB)

            An IRB is established for the purpose of protecting the rights of human
            subjects. It shall be composed of nine (9) members as follows: four (4)
            designated by the Faculty Senate and five (5) designated by the
            Chancellor.

            Of these five (5), one must not be affiliated with the University of
            Massachusetts. There must always be one such member.

            The terms of the nine (9) members are to be staggered so that no more
            than 3 terms terminate concurrently. Each member is to have a renewable
            3-year term. The IRB shall operate in a manner consistent with the
            requirements of the NIH (National Institutes of Health) and the NSF
            (National Science Foundation).

      9.    Grievance Hearing Committee. See Article XVII. C.3.

      10.   Conflicts Committee. See Article VIII. N. 1.e) and Article VIII. N. 2. b).

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       11.    eLearning Committee. See Article VIII. E. 6.d (1).

       12.    Professional Leave Committee. See Article XIV. J.

       13.    Librarian Evaluation Committee. See Article XIII. B.

  H.   FACULTY SENATE

       There shall be a Faculty Senate which shall maintain a Constitution and By-laws.
       Such Constitution and By-laws shall be incorporated herein by reference.
       Wherever any of the provisions, recommendations or actions of the Faculty
       Senate are in conflict with the Board of Trustees/Faculty Federation Agreement,
       the provisions of this Agreement shall prevail.

       1.     The President of the Faculty Senate shall be elected annually by the
              members of the Senate from among its members.

       2.     The Faculty Senate shall have a Steering Committee elected annually by
              and from the members of the Senate and shall consist of the President of
              the Faculty Senate and at least ten (10) other members representing the
              Academic Councils and Librarians.

       3.     The Senate shall meet regularly once each month during the academic
              year.




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1                                     ARTICLE VI
2                               INITIAL APPOINTMENTS

3      A.   INITIAL APPOINTMENTS AND CONTRACTS

4           1.   Initial appointments for a faculty member to a position covered by the
5                bargaining unit may be at any rank, subject to the minimum salaries set
6                forth in Article XI.

 7          2.   Department Chairpersons will submit requests with justification for full-
 8               time faculty searches by July 1 of the year prior to the requested date of
 9               the initial appointment. Authorizations for faculty searches will be based
10               on strategic planning goals, enrollment, academic needs, and budget
11               availability. To the extent possible, searches shall be authorized by August
12               1 of the year preceding the initial appointment date.

13          3.   Initial Appointments and Contracts

14               a)     Except for the School of Law, recommendations for hiring of new
15                      faculty shall be made by the Chairperson of the appropriate
16                      department, after consultation with the department faculty and
17                      after receipt of the recommendation from the Chair of the
18                      appropriate Search and Screen Committee. The department
19                      Chairperson shall forward a recommendation along with the
20                      recommendation of the Search and Screen Committee to the
21                      College Dean.
22
23               b)     For School of Law appointments, the Law Dean, with the advice
24                      and consent of the Law Faculty, shall appoint a Search and Screen
25                      Committee. Based on the hiring needs specified by the Dean and
26                      Law Faculty, the Search and Screen Committee shall solicit
27                      candidates by using standards and procedures to promote the goal
28                      of achieving quality and diversity on and equal opportunity for the
29                      faculty. The Search and Screen Committee shall screen the
30                      available candidates and produce a list of at least three finalists for
31                      each position for review by the Law Dean and Faculty. The
32                      finalists shall be made reasonably available to the Dean and
33                      Faculty for meetings and individual interviews. Faculty shall be
34                      given opportunity to provide feedback to the Screening Committee
35                      on finalist candidates. Consistent with standard University practice
36                      and EEO guidelines, the search Committee will forward the names
37                      of recommended finalists with strengths and weaknesses to the
38                      Dean. The Dean makes the final appointment recommendation to
39                      the Provost.




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 1         4.    The principle of flexibility should govern the development of initial
 2               contracts to positions in the bargaining unit. The following will serve as
 3               guidelines:

 4               a)     Each appointment to an academic position shall be made by the
 5                      Chancellor or designee. Initial tenure-track appointments shall
 6                      normally be for a period of two years. The precise terms and
 7                      conditions of each appointment including whether the appointee
 8                      shall have tenure credit of not more than three (3) years towards
 9                      tenure shall be set forth in writing by the Chancellor or designee
10                      and sent to the appointee before the effective date of appointment.
11                      Included shall be a statement detailing the specific requirements of
12                      the position and in what dimensions performance will be evaluated
13                      and the procedures of evaluation. This statement will be prepared
14                      by the Department Chairperson in concert with the Department
15                      Committee on Faculty Evaluation and approved by the College
16                      Dean, the Provost and the Chancellor. The precise terms of the
17                      individual’s employment shall be made available to all persons and
18                      groups under this Agreement who shall be involved in the
19                      evaluation of said individual for the purpose of renewal, non-
20                      renewal, promotion, salary increases and tenure. The conditions of
21                      a contract of employment covered by the bargaining unit shall not
22                      be contrary to any provisions of this Agreement. A copy of the
23                      current Trustees/Faculty Federation Agreement shall be sent to the
24                      appointee together with the offer of appointment. A copy of the
25                      precise terms of each appointment shall be sent to the Faculty
26                      Federation.

27               b)     Unless otherwise specified by the Board of Trustees in the
28                      applicable appointment resolution, each appointment to an
29                      academic position in the University shall be without tenure and for
30                      a specified time.

31               c)     Upon recommendation by the Chancellor, after consultation with
32                      the Chairperson and the tenured members of the department, the
33                      Trustees may appoint any person to an academic position in the
34                      University with tenure.

35               d)     The appointment of any person holding an academic position in the
36                      University with tenure to another academic position within this
37                      bargaining unit in the University shall be with tenure in the new
38                      position.

39               e)     In the initial appointment, each person who has taught full-time at
40                      another accredited institution of higher learning may be offered
41                      credit toward tenure, and if hired as an Assistant Professor, offered
42                      credit toward promotion to the next rank up to a maximum of three


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 1                      (3) years. Service as a full-time lecturer, or any full-time non-
 2                      tenure-track faculty position at the University of Massachusetts
 3                      Dartmouth may be counted toward tenure for each year of teaching
 4                      up to a maximum of three (3) years and counted toward promotion
 5                      to the next rank up to a maximum of three (3) years. The number
 6                      of years to be credited shall be stipulated in the faculty member’s
 7                      initial contract. Nothing in these rules on maximum probationary
 8                      years shall prevent consideration for tenure at an earlier date.

 9          5.   An individual faculty member aspiring to retention on the UMass
10               Dartmouth Faculty as a tenured member, must, among other conditions,
11               acquire terminal qualification in the appropriate field as defined in the
12               Trustees/Faculty Federation Agreement.

13     B.   MINIMUM REQUIREMENTS FOR APPOINTMENT

14          1.   Instructor

15               For an appointment as an Instructor, a candidate must have made
16               substantial progress toward the completion of all requirements for the
17               terminal degree in his or her field of academic specialization, or possess
18               equivalent professional experience that is appropriate to the position to be
19               filled. The candidate must also give promise of academic or professional
20               development and achievement.

21          2.   Assistant Professor

22               For an appointment as an Assistant Professor, a candidate must possess the
23               appropriate terminal degree, or equivalent professional experience. If the
24               candidate has held a faculty appointment at another college or university,
25               he or she must also have a record of achievement in the field of academic
26               specialization. In addition, the candidate must show promise of continuing
27               professional development and achievement.

28          3.   Associate Professor

29               For an appointment as an Associate Professor, a candidate must possess
30               the appropriate terminal degree, or equivalent professional experience, and
31               must have had considerable academic or professional experience beyond
32               the level which would warrant an appointment as Assistant Professor;
33               must have a record of achievement sufficient to have gained substantial
34               recognition on and off campus from scholars or professionals in his or her
35               field; and must show promise of continuing professional development and
36               achievement.




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 1          4.     Professor

 2                 For an appointment as a Professor, a candidate must possess the
 3                 appropriate terminal degree, or equivalent experience; and must have a
 4                 record of achievement sufficient to have gained substantial recognition on
 5                 and off campus from scholars and professionals in his or her field; and
 6                 must show significant potential for continuing professional achievement.

 7          5.     Chancellor Professor

 8                 For an appointment as a Chancellor Professor, a candidate must have held
 9                 the rank of Professor or its equivalent for a minimum of ten years and
10                 must have gained extraordinary recognition on and off campus from
11                 scholars and professionals in his or her field.

12     C.   GENERAL REQUIREMENTS

13          In making appointments to the ranks of Professor or Associate Professor, an
14          applicant’s record of publication of books authored, articles published in scholarly
15          journals, or professional artistic achievements which contribute to the
16          advancement of knowledge in the applicant’s field shall be a major consideration
17          in determining eligibility. Success in the art and practice of teaching shall be
18          assumed as a basic requirement for initial and continuing employment in all
19          academic positions.

20     D.   EXCEPTIONS TO REQUIREMENTS

21          Faculty members may be appointed initially at any rank in keeping with the
22          requirements of this Article, but nothing in these requirements should prevent the
23          initial appointment or the promotion of an individual of exceptional talent or
24          accomplishment who does not meet all the stated criteria.

25          Exception to these standards may also be made in emergencies or when no fully
26          qualified candidate meeting all standards is available for appointment and the
27          good of the University necessitates the filling of the specific position.

28     E.   “TERMINAL QUALIFICATIONS” IS DEFINED AS FOLLOWS:

29          1.     A doctor’s degree from an accredited institution in the academic discipline
30                 to be taught; or

31          2.     In Business Administration the Ph.D. or D.B.A. or other appropriate
32                 doctoral or professional degree or certification, such as the J.D., the LL.B.
33                 and the C.P.A.; or

34          3.     In Visual and Performing Arts (except for appointments in academic fields
35                 such as Art History) the Master of Fine Arts and/or significant professional



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 1                work; or other appropriate professional degrees as determined by the
 2                CVPA; or

 3          4.    In Bioengineering the Ph.D. in a science or engineering based textile-
 4                related discipline; or

 5          5.    In Nursing the Ph.D. in Nursing or other appropriate doctoral degree as
 6                determined by the College of Nursing; or

 7          6.    In Medical Laboratory Science the master’s degree in an appropriate
 8                specialization; or

 9          7.    In creative disciplines within the English Department, an MFA or
10                equivalent degree as determined by the department; or

11          8.    For a librarian, the Masters of Library Science, or its equivalent, from an
12                institution accredited by the American Library Association; or

13          9.    In the School for Marine Science and Technology, a doctoral degree in an
14                appropriate field as determined by the School; or

15          10.   In the School of Law, a J.D. or LL.B.

16     F.   SENIORITY/DETERMINATION OF SENIORITY

17          1.    Seniority in the bargaining unit shall be determined by the date of
18                employment in the bargaining unit. This date will be determined in the
19                following manner:

20                a)     Where there has been one full-time appointment in the bargaining
21                       unit, the date of employment in the bargaining unit is the basis for
22                       determining seniority in the bargaining unit.

23                b)     Effective July 1, 1984, where there has been non-continuous full-
24                       time employment in the bargaining unit, the date for determination
25                       of seniority in the bargaining unit shall be constructed by moving
26                       the date of the present appointment in the bargaining unit back the
27                       number of months of the previous full-time employment in the
28                       bargaining unit.

29                c)     An individual’s seniority in the bargaining unit begins to accrue at
30                       the time that the individual assumes full-time duties in the
31                       bargaining unit.

32          2.    A seniority list shall be prepared annually by the Vice Chancellor for
33                Administrative and Fiscal Services for the faculty members of each
34                department and filed with the Provost. The list shall be revised as



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 1                 necessary during the year by the Vice Chancellor for Administrative and
 2                 Fiscal Services to reflect changes in the department’s membership.

 3     G.   JOINT APPOINTMENTS

 4          The Chancellor, in consultation with the respective deans and provost, may
 5          appoint a faculty member, with the consent of the faculty member, to more than
 6          one department or school, whether or not the departments are in different colleges
 7          or schools. Such appointments shall be at the same rank and tenure status as the
 8          individual holds in the original or primary department or school. A joint
 9          appointment is ordinarily for a period of three years and is renewable. The terms
10          of the joint appointment, including the distribution among the departments of the
11          faculty member’s base salary and responsibilities in each of the contractual
12          categories of evaluation, shall be specified in the letter of joint appointment.

13          When an individual is given a joint appointment as part of the initial contract,
14          subsequent changes to the appointment shall require the approval of the dean(s) of
15          the college(s) or school(s) and the provost.

16          When an individual who already holds a regular faculty appointment that does not
17          involve a joint appointment is given a joint appointment, subsequent changes to
18          the appointment and renewal of the joint appointment shall require the approval of
19          the individual holding the joint appointment, the department chairpersons in both
20          departments or schools, the dean(s) of the college(s) or school(s) and the provost.

21          When a joint appointment is made, only one department or school shall be
22          identified as the individual’s principal department. The principal department is the
23          department in which the individual is considered for all personnel actions,
24          including annual evaluations, contract renewal, tenure, promotion, and PMYR. It
25          is also the department in which the individual shall vote on personnel actions on
26          other department faculty, and it identifies the college academic council on which
27          the individual shall be represented.

28          Faculty with joint appointments shall participate in the personnel actions of only
29          their principal department. Faculty with joint appointments shall be eligible to
30          serve as members of other departmental committees, including curriculum
31          committees, of any or all of the department(s) or school(s) of their joint
32          appointment.

33          The non-primary department or school shall have a role in the personnel actions
34          concerning the faculty member with a joint appointment. For each personnel
35          action, the primary department’s Chairperson shall solicit information and an
36          evaluation from the department faculty evaluation committee and department
37          Chairperson of the non-primary department. That information will be given
38          appropriate consideration, based on the initial letter of joint appointment, by the
39          primary department’s FEC and Chairperson in their recommendations for each
40          personnel action.


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1     H.   POLICY

2          Except where contrary to the terms of this Agreement, the established policies of
3          the Board of Trustees with respect to wages, hours or conditions of employment
4          shall remain in effect during the life of this Agreement.




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 1                                    ARTICLE VII
 2                            PERSONNEL RECOMMENDATIONS
 3    PREAMBLE

 4    The faculty shall have primary responsibility in the area of personnel matters. This shall
 5    mean the capacity to initiate or review faculty personnel recommendations. The College
 6    Dean, the Provost or the Chancellor may make a recommendation or decision counter to
 7    the original faculty recommendation only in exceptional circumstances and with
 8    compelling reasons in written detail, which shall specifically address the content of the
 9    recommendation as well as the established standards and criteria. Furthermore, if the
10    College Dean, the Provost or the Chancellor is considering making a recommendation
11    contrary to the prior levels of faculty reviews, then they may invite the department to
12    provide in writing additional information for the basic file or clarification of the
13    recommendation.

14    For personnel recommendations, the full dossier relating to the recommendation shall be
15    assembled by the individual being considered for a personnel recommendation. The
16    Department Chairperson shall be responsible for adding to the dossier copies of all prior
17    personnel recommendations.

18    The member of the bargaining unit about whom the recommendation is made shall
19    review the dossier and sign the list of documents indicating knowledge of them. This
20    provision is to ensure that complete information is available for all committees or
21    administrators acting on the recommendation.

22    The official personnel file concerning recommendations for promotion, tenure, annual
23    evaluations, reappointment, leaves of absence, sabbatical leave, and other pertinent
24    personnel actions shall be maintained by the Provost.

25    A copy of all official documents concerning personnel recommendations shall be
26    maintained by the Department Chairperson. Copies of the recommendation at all levels
27    shall be sent to the candidate, the Department Chair, the College Dean, the Provost, and
28    the President of the Faculty Federation. This provision shall apply to all actions taken
29    pursuant to the sections herein.

30    In order to ensure that all personnel files used in making recommendations for contract
31    renewal, promotion, grade/rank salary increases and tenure contain adequate and similar
32    information, all candidates must include the following minimum information relative to
33    the individual being considered:

34       •   A complete and up-to-date vita.

35       •   Relevant previous recommendations relative to contract renewal, promotions,
36           grade/rank salary increases and tenure.

37       •   Relevant annual faculty evaluations.


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 1       •   For personnel actions involving tenure and/or promotion, three (3) letters of
 2           evaluation from external scholars in the individual’s field of expertise are to be
 3           solicited after consultation involving the College Dean, the faculty member’s
 4           Department Chairperson and the faculty member. One reviewer will be selected
 5           by the faculty member involved in the personnel action, one by his/her
 6           Department Chairperson and one by the College Dean. Using a standard form,
 7           the Department Chairperson will solicit the evaluation letters.

 8    Additional material may be included by the individual or the Department Chairperson as
 9    seems appropriate to the personnel action being considered. After any level resulting in a
10    written evaluation for any personnel action covered by this Article, the bargaining unit
11    member may add to the file any statement, evidence, or other documentation the member
12    believes would present a more valid perspective.

13    In any personnel recommendation at any level beyond the Department Chairperson, if a
14    council or administrator includes information in addition to the information forwarded by
15    the Department Chairperson, that specific information shall be made known to the faculty
16    member under consideration before any recommendation is made. The faculty member
17    shall have the right to submit any statement, evidence, or other documentation which the
18    faculty member believes would represent a more valid view, provided that such materials
19    are submitted prior to the date specified for the recommendation of the council or
20    administrator.

21    No recommendations relative to a personnel action shall be arbitrary or capricious, but
22    rather shall be justified by referring to the candidate’s performance in the categories
23    listed in Article VII. A. At any level subsequent to the initial recommendation, agreement
24    with the categories and ratings at the initial level may be grounds for the
25    recommendation. If there is disagreement at any subsequent level, such disagreement
26    shall be justified in terms of the categories in Article VII. A. and the ratings in Article
27    VII. C., VII. D., and VII. E.

28    No faculty member shall vote at more than one level on a personnel recommendation.
29    The exercise of the vote shall be at the lowest eligible level in the sequence of stages in
30    the recommendation process.

31    At the Academic Council level, the faculty department representatives shall not vote on
32    recommendations on faculty within their own department.

33    The Faculty Federation agrees to send forward all recommendations on contract renewal,
34    tenure, and promotion, including cases in which both the department faculty evaluation
35    committee or tenured faculty and the Department Chair do NOT recommend tenure,
36    providing that all departmental documents (including the recommendations of the
37    Department Tenure Committee and the Department Chair) go forward to the UMass
38    Board of Trustees in any and all such cases where the campus (Chancellor) makes a
39    recommendation on tenure to the Board of Trustees.
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 1     A.   CATEGORIES OF EVALUATION FOR PERSONNEL ACTIONS

 2          Each department/school shall develop written evaluation standards for tenure and
 3          for each level of promotion, including promotion to Senior Lecturer I and Senior
 4          Lecturer II, taking into account the mission of the University, and specifying the
 5          types of items that will be considered within each of the categories of evaluation.
 6          While certain aspects of a single project may be considered under different
 7          categories, no single item or activity may be evaluated in more than one category.
 8          Each department’s written standards must be approved by a majority of the
 9          department’s tenured faculty, the Department Chairperson, the College or School
10          Dean, and the Provost. The department and the administrators identified in the
11          preceding sentence will review department standards every six years. Existing
12          standards remain in effect until revised standards have been approved.

13          Each individual shall be evaluated in at least three categories, including categories
14          one (1) and two (2) below:

15          1.     Teaching Effectiveness and Advising

16                 Teaching effectiveness as assessed by the FEC will be based on analysis
17                 of the results of student course ratings, course syllabi, examinations, class
18                 assignments, teaching methods, peer visitations, etc. The quantity and
19                 quality of academic advising of students majoring in the department,
20                 graduate student research advising, undergraduate student research
21                 advising, and advising of students enrolled in the faculty member’s own
22                 classes shall be considered in this category.

23          2.     Scholarship and Professional Activities

24                 Scholarship may include research, professional presentation and
25                 publication, creative activities in one’s field, peer review, and scholarly
26                 consultation. Professional activities may include office in professional
27                 organizations, service to one’s profession, and professional development
28                 efforts.

29          3.     University Service

30                 University service includes service to the department, school, college,
31                 university, university system, participation in structured programs such as
32                 freshman advising, transfer student advising, advising centers,
33                 interdisciplinary and multi-disciplinary program advising, and advising
34                 student organizations and clubs.

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 1          4.     Public Service

 2                 Public service includes participation in community affairs and consultation
 3                 associated with one’s area of professional competence.

 4     B.   EVALUATIVE STATEMENT

 5          Each level of evaluation shall prepare a thorough yet concise statement of
 6          evaluation for each of the categories evaluated. Reference must be made to
 7          supporting evidence in the dossier. The following evaluative terminology shall be
 8          used for each category:

 9                 Excellent, Very Good, Satisfactory, Unsatisfactory. Each faculty member
10                 shall be evaluated in Teaching Effectiveness and Advising, Scholarship
11                 and Professional Activities, and at least one other category. If the faculty
12                 member chooses not to be evaluated in one of the last categories, the
13                 phrase “Not Applicable” shall be used for that category.

14     C.   RATINGS FOR ANNUAL EVALUATION

15          In view of the fact that teaching is the most important activity at UMass
16          Dartmouth, the following ratings for the evaluation of faculty are established.
17          These ratings shall be used for annual evaluation.

18          1.     Highly Recommended

19                 Excellent in either Teaching Effectiveness and Advising or Scholarship
20                 and Professional Activities and a Very Good in any other category and no
21                 Unsatisfactory ratings.

22          2.     Recommended

23                 Excellent or Very Good in either Teaching Effectiveness and Advising or
24                 Scholarship and Professional Activities and no unsatisfactory ratings.

25          3.     Not Recommended

26                 Failure to meet the standards under the “Recommended” rating.

27     D.   RATINGS FOR CONTRACT RENEWAL RECOMMENDATIONS

28          Third and Fourth Year Contract Renewal

29          In view of the fact that teaching is the most important activity at UMass
30          Dartmouth, the following ratings for the evaluation of faculty are for third and
31          fourth year contract renewals:




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 1          1.     Recommended

 2                 An Excellent or Very Good in either Teaching Effectiveness and Advising
 3                 or Scholarship and Professional Activities and no unsatisfactory ratings

 4          2.     Not Recommended

 5                 Failure to meet the standards under the “Recommended” rating

 6          Fifth and Sixth Year Contract Renewals

 7          In view of the fact that teaching is the most important activity at UMass
 8          Dartmouth, the following ratings for the evaluation of faculty are established. The
 9          following ratings for the evaluation of faculty are established for fifth and sixth
10          year contract renewal:

11          1.     Recommended

12                 An Excellent in either Teaching Effectiveness and Advising or
13                 Scholarship and Professional Activities and no Unsatisfactory ratings, or

14                 A Very Good in both Teaching Effectiveness and Advising and
15                 Scholarship and Professional Activities and no Unsatisfactory ratings.

16          2.     Not Recommended

17                 Failure to meet the standards under the “Recommended” rating.

18     E.   RATINGS FOR PROMOTION AND TENURE RECOMMENDATIONS

19          The following ratings for the evaluation of faculty are established for promotion
20          and tenure recommendations:

21          1.     Recommended

22                 An Excellent in either Teaching Effectiveness and Advising or
23                 Scholarship and Professional Activities and a Very Good in the other of
24                 these two categories and no unsatisfactory ratings.

25          2.     Not Recommended

26                 Failure to meet the standards under the “Recommended” rating.

27     F.   TIMETABLE FOR PERSONNEL RECOMMENDATIONS

28          On or before September 1 of each academic year the Vice Chancellor for
29          Administrative and Fiscal Services shall inform each Department Chairperson of
30          those individuals who must be considered during that academic year for third and
31          fourth, or fifth and sixth year contract renewals or for tenure.

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 1         For each personnel recommendation, the following schedule shall be followed:

 2         1.     Third and Fourth Year Contract Renewal

 3                The Department Faculty Evaluation Committee shall forward its
 4                recommendation to the Department Chairperson by October 1 of the
 5                individual’s second contract year. The Department Chairperson’s
 6                recommendation shall be forwarded to the College Academic Council by
 7                October 15. The College Academic Council shall forward its
 8                recommendation to the College Dean by November 1. The College Dean’s
 9                recommendation shall be forwarded to the Provost by November 15.

10         2.     Fifth and Sixth Year Contract Renewal

11                The evaluation in the third year for a fifth and sixth year contract will
12                thoroughly address all issues that will influence the final decision on
13                tenure. The Department Faculty Evaluation Committee shall forward its
14                recommendation to the Department Chairperson by April 1. The
15                Department Chairperson’s recommendation shall be forwarded to the
16                College Academic Council by April 15. The College Academic Council
17                shall forward its recommendation to the College Dean by May 1. The
18                College Dean’s recommendation shall be forwarded to the Provost by May
19                30.

20         3.     Tenure

21                The tenured members of the department shall forward their
22                recommendation to the Department Chairperson by October 15. The
23                recommendation of the Department Chairperson shall be forwarded to the
24                College Academic Council by November 15.

25                The College Academic Council shall forward its recommendation to the
26                College Dean by December 1. The College Dean’s recommendation shall
27                be forwarded to the Provost by January 1. The recommendation of the
28                Provost shall be forwarded to the Chancellor by February 1.

29         4.     Promotions

30                The Department Faculty Evaluation Committee shall forward its
31                recommendation to the Department Chairperson by December 1. The
32                Department Chairperson’s recommendation shall be forwarded to the
33                College Academic Council by December 30. The recommendation of the
34                College Academic Council shall be forwarded to the College Dean by
35                January 30. The recommendation of the College Dean shall be forwarded
36                to the Provost by February 20.




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 1     G.   ANNUAL FACULTY EVALUATIONS

 2          1.   Procedures

 3               Each faculty member of a department shall be evaluated annually by the
 4               Department Chairperson and the College Dean on the basis of the
 5               categories in Article VII. A., including a review of continuing professional
 6               development and currency in one's academic field, with judgments
 7               specified in terms of the ratings in Article VII. C. The evaluation shall be
 8               done at the end of each academic year. Annual evaluations shall be
 9               considered for all personnel actions.

10               Each faculty member shall prepare a faculty activities report(FAR) using a
11               standardized form describing activities and accomplishments during the
12               academic year to which the evaluation applies and shall deliver the
13               completed FAR to the Department Chairperson by May 20. The
14               Department Chairperson shall be responsible for presenting to the
15               Department Faculty Evaluation Committee all the annual activities reports
16               together with the summaries of student ratings of classroom teaching for
17               faculty in the department. The Department Faculty Evaluation Committee
18               shall take into account these reports and the summaries of student ratings
19               of teaching and shall prepare a written recommendation by May 30. The
20               Department Chairperson shall consider the activities report, student ratings
21               of teaching, and the recommendation of the Department Faculty
22               Evaluation Committee and shall complete the written annual faculty
23               evaluation by June 10. In the case of faculty on full-year Sabbatical, the
24               FAR (Faculty Activities Report) is not required to be submitted in order
25               for the faculty member to be eligible for negotiated salary increases.

26               The Department Faculty Evaluation Committee shall prepare an annual
27               evaluation of the Department Chairperson that will be forwarded to the
28               College Dean. In addition to the categories contained in Article VII(A),
29               such evaluation of the Department Chairperson shall include a separate
30               evaluation category of “Academic Leadership/Administration.” Each
31               individual shall receive a copy of the Department Faculty Evaluation
32               Committee’s recommendation and a copy of the Department
33               Chairperson’s evaluation, and shall sign a statement indicating that the
34               individual has read, but not necessarily agreed with the evaluation. A copy
35               of the Department Faculty Evaluation Committee’s recommendation and a
36               copy of the Department Chairperson’s recommendation shall be sent to the
37               College Dean. The College Dean shall prepare a written evaluation and
38               recommendation for each faculty member. Each individual shall receive a
39               copy of the Dean’s evaluation and recommendation and shall sign a
40               statement indicating that the individual has read, but not necessarily
41               agreed with the evaluation. A faculty member who wishes to challenge the
42               written evaluation may add to the file any statement, evidence, or other
43               documentation the faculty member believes would present a more valid

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1                perspective. The recommendation of the Department Faculty Evaluation
2                Committee, the annual evaluation of the Department Chairperson and the
3                annual evaluation of the College Dean, whether or not the individual adds
4                anything, shall become part of the file of information concerning the
5                individual faculty member. The Department Chairperson shall meet with
6                each faculty member to discuss the faculty member’s activities report, the
7                student ratings of teaching, the Department Faculty Evaluation
8                Committee’s recommendation, and the annual evaluation done by the
9                chairperson and the annual evaluation done by the College Dean.

10               Notwithstanding the above, at the Law School, FAR reports shall be
11               submitted to the Dean’s office by April 30. The Dean’s office shall be
12               responsible for submitting the file along with student ratings to the Faculty
13               Evaluation Committee (FEC). The FEC shall apply the processes and
14               criteria specified in this Agreement as well as the specific School drafted
15               requirements and shall submit written recommendations concerning each
16               law faculty member to the individual faculty member and the Law Dean
17               by May 10. Each individual shall receive a copy of the Faculty Evaluation
18               Committee’s recommendation and shall sign a statement indicating that
19               the individual has read, but not necessarily agreed with the evaluation. The
20               Law Dean shall prepare a written evaluation and recommendation for each
21               faculty member. Each individual shall receive a copy of the Dean’s
22               evaluation and recommendation and shall sign a statement indicating that
23               the individual has read, but not necessarily agreed with the evaluation. A
24               faculty member who wishes to challenge the written evaluation may add
25               to the file any statement, evidence, or other documentation the faculty
26               member believes would present a more valid perspective. The
27               recommendation of the Faculty Evaluation Committee and the annual
28               evaluation of the Law Dean, whether or not the individual adds anything,
29               shall become part of the file of information concerning the individual
30               faculty member.
31
32         2.    Student Rating of Classroom Teaching

33               There shall be a form with common questions for student rating of
34               teaching to be used in all departments in all courses. The form is at
35               Appendix A. A labor-management committee will be established to create
36               a validated set of common questions and to develop best practices for
37               utilizing these data. This committee will comprise 6 members, 3 appointed
38               by the Chancellor and 3 appointed by the Federation and will convene its
39               first meeting as soon as practical following the execution of this
40               Agreement and will meet regularly. Once a set of student ratings questions
41               are approved by the labor-management committee, responses to the
42               common questions shall be machine-readable or capable of being
43               tabulated by electronic means. Department Faculty Evaluation
44               Committees may append questions to this instrument. The additional


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 1               departmental-specific questions will be recommended for adoption by a
 2               majority vote of full-time faculty in the department.

 3               There shall be a move from using the Paper Scantron Sheet to
 4               implementing an Online Survey/Course Evaluation process. This effort
 5               will occur in a parallel time frame with the psychometric evaluation of
 6               Common Student Rating items. Prior to implementation, this matter will
 7               be referred to the noted labor-management committee who will discuss
 8               and work out the new procedure. The Labor Management Committee will
 9               meet and finalize this process by May 1, 2019.
10
11               Each faculty member will be rated in every credit course offered at or
12               under the auspices of the University of Massachusetts Dartmouth.

13               Once the results of the labor-management committee have been fully
14               disseminated to the faculty, procedures for administering the rating forms
15               shall be as follows:

16               a)     The results of the student rating forms shall be used in the rating of
17                      teaching effectiveness, but it should be considered as only one
18                      source of evidence on teaching effectiveness. Each department
19                      shall prepare a list of the various types of evidence that it considers
20                      relevant to evaluating teaching effectiveness. The procedures for
21                      administering the rating form are as follows:

22                      (1)     In administering print-based ratings, the Department
23                              Chairperson will assign to each faculty member
24                              questionnaires corresponding to the number of students in a
25                              given class. A student from the class involved or a
26                              departmental student representative will administer the
27                              rating, place the forms in an envelope, indicate on the
28                              outside of the envelope the number of students participating
29                              and sign the envelope. The student will then carry the
30                              sealed envelope directly to the Chairperson or the
31                              Chairperson’s designee.

32                      (2)     Results of the tabulation of student ratings shall be made
33                              available to the individual faculty member, the Department
34                              FEC, the Department Chairperson and the Dean, after final
35                              grades have been submitted for the course.

36               b)     The Chairperson of the Department shall discuss the results of
37                      student rating of teaching with the faculty member who was
38                      evaluated. These results shall be retained in the departmental file.
39                      The Department Chairperson shall be responsible for providing all
40                      faculty in the department with the results of their student ratings.



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1                  c)      In the event that a faculty member had unsatisfactory reports for
2                          half or more classes for three (3) semesters consecutively, the
3                          Departmental Faculty Evaluation Committee shall arrange
4                          classroom visitation and counseling for improvement of teaching
5                          effectiveness.

6      H.   CONTRACT RENEWAL

 7          All actions taken by the Chancellor relative to contract renewal shall be taken as a
 8          result of a recommendation submitted to the Chancellor. In no case will
 9          recommendations to the Chancellor relative to reappointment be made by anyone
10          other than the Provost. The case of any faculty member who is recommended for
11          reappointment by the tenured members of the department and the Department
12          Chairperson shall be brought to the attention of the Chancellor by the Provost
13          with appropriate documentation for action, if so requested by the tenured faculty
14          and Department Chairperson. The Chancellor shall enjoy the full right to reject
15          such recommendations but may not make appointments without a
16          recommendation from the Provost.

17          Each non-tenured faculty member is to be evaluated for reappointment using
18          approved departmental standards established pursuant to Article VII. A.

19          Evaluations shall be conducted in accordance with the timetable in Article VII. F.
20
21          In the faculty member’s evaluation transmitted to the College Dean shall be a
22          recommendation with substantiation for reappointment or non-reappointment.
23          Each subsequent level shall review all previous evaluations and recommendations
24          and submit its own recommendations to the next recommending level. On the
25          basis of a review of these evaluations and recommendations, the Chancellor will
26          make a decision for reappointment or non-reappointment.

27          1.     Notification of reappointment or non-renewal for the third and fourth
28                 years of service must be given to the faculty member by December 15 of
29                 the second year of service. Recommendation for reappointment or non-
30                 renewal for the third and fourth years of service will be initiated with a
31                 recommendation developed by the Department Faculty Evaluation
32                 Committee, including all tenured members of the department and
33                 processed through the following levels with each level adding its own
34                 recommendation: Department Chairperson, College Academic Council,
35                 College Dean, Provost, and Chancellor. It is advisable that the Department
36                 Chairperson seek the opinions of the non-tenured faculty and the student
37                 majors of the department in developing the Chairperson’s
38                 recommendation. The Department Chairperson shall be responsible for
39                 articulating the basis for the departmental decision.

40          2.     Notification for the fifth and sixth years of service must be given by
41                 September 15 of the fourth year. If a faculty member is being considered


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 1               for tenure at this time, the tenure evaluation procedures as outlined in the
 2               Trustees/Faculty Federation Agreement (Article VII. I.) will be followed.
 3               In effect, this means that the decision on the contract for a fourth year of
 4               service must be made during the latter part of the second year in which the
 5               faculty member has served on the UMass Dartmouth faculty. The
 6               recommendation for renewal for the fifth and sixth years of service will be
 7               initiated by the tenured members of the department and will be processed
 8               through the following levels: Department Chairperson (who is advised to
 9               seek the opinions of the non-tenured faculty and student majors of the
10               department), College Academic Council, College Dean, Provost, and
11               Chancellor. Each level shall send a copy of its recommendation to the
12               individual under consideration for reappointment, to the Department
13               Chairperson, and to the President of the Faculty Federation. If the decision
14               is negative, the faculty member may request reasons for this decision from
15               the Chancellor. The Department Chairperson is responsible for articulating
16               the basis for the departmental decision which shall be determined in each
17               instance by secret ballot. Acceptance of a justified negative
18               recommendation developed by the tenured members of the department
19               may be cited as a reason for each level to recommend non-renewal.

20          3.   A multiple year contract may be offered to a faculty member provided that
21               the individual is considered for renewal of contract at least once utilizing
22               the procedures detailed in paragraph two (2) above prior to being
23               considered for tenure.

24          4.   Notification as referred to in paragraphs 1 and 2, shall mean written
25               notification to the faculty member by the Chancellor of the renewal or
26               non-renewal of the contract by the dates specified.

27     I.   TENURE

28          1.   Definition of Tenure

29               Tenure status is granted only to holders of academic positions and is
30               distinguished from non-tenure status by the fact that the University must
31               stipulate reasons for termination of employment other than by retirement
32               mandated by law. Faculty members enjoying tenure may not be
33               discharged except following a hearing as provided herein and for just
34               cause.

35               Examples of just cause for discipline include, but are not limited to,
36               substantial and manifest neglect of professional duties or refusal to carry
37               out properly assigned duties; demonstrated incompetence or dishonesty in
38               the performance of duties related to teaching, research, publication, other
39               creative endeavors, or service to the university community;
40               misrepresentation of academic credentials or misrepresentation in securing
41               an appointment, promotion or tenure at the university; conduct in willful


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 1               disregard of the interests of the university, such as repeated or serious
 2               violations of the university’s policies, rules and regulations, depending
 3               upon the gravity of the offense, its repetition, or its negative impact upon
 4               others; conviction of a felony or admission to facts sufficient to constitute
 5               a felony; or the inability to perform assigned and essential duties due to
 6               physical or mental incapacity.

 7               The University may relieve a unit member of his or her duties if, in the
 8               judgment of the University, the continued service of the unit member
 9               would do serious harm to the University. The University may suspend a
10               unit member with or without pay as provided by law.

11               A unit member who is terminated by the decision of the Chancellor shall
12               be entitled to no further compensation beyond the date of such decision.

13               a)     Hearing for Dismissal of a Tenured Member of the Faculty
14
15                      (1)     Cause for dismissal will be related to the performance of
16                              the faculty member. If circumstances arise that cause the
17                              Provost to anticipate the reasonable possibility of
18                              recommending the dismissal of a faculty member with
19                              tenure, the Provost or his/her representative will initiate
20                              discussion of the matter with the faculty member to
21                              consider a mutually acceptable resolution. Dismissal
22                              procedures will not be used to restrain faculty members in
23                              the exercise of their academic freedom.

24                      (2)     If such resolution is not reached, the Provost shall frame
25                              with reasonable particularity a statement of charges that
26                              will provide the basis for the university’s contemplated
27                              discipline of the faculty member. The statement will be
28                              provided to the concerned faculty member.

29                      (3)     Within seven days of the Provost’s providing the statement
30                              to the faculty member, the Provost or his/her designee and
31                              the faculty member, with or without the member’s
32                              Federation representative as the faculty member may elect,
33                              shall meet to determine the composition of a hearing
34                              committee. The Provost and/or his/her designee, in the
35                              presence of the faculty member or his/her representative,
36                              shall draw at random the names of seven tenured members
37                              of the faculty from a pool of all members of the faculty not
38                              on sabbatical or approved leave in that or the subsequent
39                              semester, providing no name will be included among the
40                              names to be drawn of a person who is involved in the
41                              matter being presented to the committee, and provided
42                              further that no two members whose names are drawn shall


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 1                           be from the same academic department of the university.
 2                           Within four days of the names being drawn, either the
 3                           Provost or his/her designee and the faculty member or
 4                           his/her designee each may strike not more than two names.
 5                           In the event more than three names remain after the
 6                           completion of this process, the three faculty members with
 7                           the longest periods of service to the university in
 8                           Dartmouth shall constitute the committee. The Provost or
 9                           his/her designee shall inform these faculty members of the
10                           constituting of the committee and their appointment to it.

11                     (4)   The essential functions of the hearing committee are to hear
12                           evidence, review pertinent information and to make
13                           recommendations. The hearing committee shall, within
14                           seven days after its being constituted, select a chairperson
15                           and promptly notify the Provost and the faculty member of
16                           the name of the chairperson and the date of his or her
17                           selection.

18                     (5)   Within seven days of the constitution of the hearing
19                           committee, the Provost or his/her designee shall provide to
20                           the committee written notice of specific charges concerning
21                           the faculty member. The faculty member shall deliver a
22                           written response to the charges to the Provost and the
23                           hearing committee within seven days of the date of the
24                           notice.

25                     (6)   The committee shall set a date(s) for the hearing after the
26                           faculty member has responded to the charges or the time
27                           limit for such response has expired. The hearing shall be
28                           convened no sooner than fourteen days nor longer than
29                           twenty-one days from the date the faculty member
30                           responded to, or should have responded to the statement of
31                           charges. If the faculty member waives his/her right to
32                           appear, or fails or refuses to participate in the hearing in
33                           person or in writing, the hearing committee will evaluate all
34                           available evidence that may then be provided by the
35                           Provost or his/her designee and base its recommendation
36                           upon the evidence in the record. If the Provost or his/her
37                           designee fails or refuses to participate as required by this
38                           procedure, the hearing committee may make such
39                           recommendation to the Chancellor it deems appropriate.

40                     (7)   During the hearing the faculty member will be permitted to
41                           be represented by or to have with him/her an academic
42                           adviser and/or legal counsel of his/her own choosing. Only
43                           one representative will speak for the university and only

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 1                            one representative shall speak for the faculty member
 2                            during the hearing. The faculty member will be responsible
 3                            for any fees he/she incur may incur for counsel, expert
 4                            witnesses, and other defense expenses, and for the expense
 5                            of any witness provided for the faculty member by the
 6                            university. The hearing shall be closed to the general
 7                            public.

 8                     (8)    An audio recording of the hearing will be taken and will be
 9                            made available to the faculty member, the university and
10                            the hearing committee. The requirement of an audio record
11                            may be waived by mutual consent of the hearing committee
12                            and both parties.

13                     (9)    The faculty member will be afforded an opportunity to
14                            present relevant witnesses and documentary or other
15                            evidence, and the university will, insofar as it is reasonably
16                            possible for it to do so, secure the cooperation of such
17                            witnesses and make available such relevant documents and
18                            other evidence within its control. The hearing committee
19                            will not be bound by strict rules of legal evidence and may
20                            admit any evidence which is of probative value in
21                            determining the issues involved. Every reasonable effort
22                            will be made to obtain the most reliable evidence available.

23                     (10)   The faculty member and the university will have the right
24                            to confront and cross-examine all witnesses. Where the
25                            witness cannot or will not appear, but the committee
26                            determines that the interest of justice requires admission of
27                            his/her statement, the committee will identify the witness,
28                            disclose his/her statement, and if possible, provide for
29                            written interrogation. The hearing committee may grant
30                            temporary adjournment to enable either party to investigate
31                            evidence as to which a valid claim of surprise is made.

32                     (11)   Except for such simple announcements as may be required
33                            covering the time of hearing and similar matters, public
34                            statements and publicity about the hearing by the hearing
35                            committee, the faculty member, and the administrative
36                            officers will not be made by any party until the proceedings
37                            have been completed, including consideration by the
38                            President and Board of Trustees, if required.

39                     (12)   The hearing committee shall endeavor to conclude the
40                            hearing within seven days of initiating it, shall prepare
41                            findings of fact and develop conclusions concerning the
42                            charges, and shall report to the Chancellor within ten days


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 1                            after the conclusion of the hearing. The committee may
 2                            conclude, and shall report to the Chancellor, that the
 3                            conduct with which the faculty member is charged (a)
 4                            merits dismissal or (b) does not merit dismissal. If the
 5                            committee concludes that the conduct does merit dismissal,
 6                            but that there are circumstances that warrant clemency, it
 7                            will so recommend, with supporting reasons. If the
 8                            committee concludes that the conduct does not merit
 9                            dismissal, (a) it may recommend that the conduct does not
10                            merit any disciplinary action or (b) it may recommend a
11                            penalty short of dismissal. The findings of fact shall be
12                            based upon the record before the committee.

13                     (13)   If the Chancellor does not accept the findings of fact or the
14                            recommendation of the hearing committee, he/she will state
15                            in writing the complete reasons therefore to the hearing
16                            committee and to the faculty member within fourteen days
17                            after receiving the report of the hearing committee. If the
18                            Chancellor elects to impose a penalty that differs from that
19                            recommended by the committee, the Chancellor shall state
20                            clearly the reasons therefor and inform the faculty member,
21                            the hearing committee and the Faculty Federation.

22                     (14)   The Chancellor shall report to the President, who shall so
23                            inform the Board of Trustees, of any action taken and the
24                            discipline imposed. The faculty member may within ten
25                            days of being informed the decision of the Chancellor
26                            appeal in writing the Chancellor’s decision to the Board of
27                            Trustees. The faculty member shall state in writing the
28                            reasons for the appeal, and may provide written argument
29                            supporting the appeal. The Chancellor shall then within ten
30                            days transmit to the Board of Trustees the record of the
31                            case and a rebuttal, if any, to the member’s appeal. In the
32                            event of an appeal, the Board's review will be based on the
33                            record of the committee hearing, the correspondence
34                            between the hearing committee and the Chancellor and the
35                            statement of appeal and the rebuttal. The Board or its
36                            designee will make a decision promptly thereafter.

37                     (15)   Expeditious completion of these procedures is in the best
38                            interests of all parties concerned. The time limits specified
39                            are calendar days, and are the maximum periods that will
40                            be allowed except for extenuating circumstances as
41                            accepted by the Provost, the hearing committee, the
42                            Chancellor or by the agreement of the faculty member and
43                            the university.


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1                       (16)    All communications required to be given pursuant to this
2                               procedure shall be sent to the University e-mail address of
3                               the officer or employee involved. Communications shall
4                               be deemed to be received the date following the date the
5                               communication was sent.

6                       (17)    The unit member may grieve the application of this process
7                               to him as well as the ultimate disposition by the University
8                               of the charges made against the unit member.

 9         2.    No person who, at the expiration of the current appointment, will have
10               held full-time appointments without tenure to academic positions in the
11               University for seven (7) consecutive academic years, shall be considered
12               by the Board of Trustees for further appointment to an academic position
13               without tenure. In the initial appointment, each person who has taught full-
14               time at another accredited institution of higher learning may be offered
15               credit toward tenure at UMass Dartmouth for each year of full-time
16               teaching up to a maximum of three (3) years. Service as a full-time
17               lecturer, or any full-time non-tenure-track faculty position at UMass
18               Dartmouth may be counted for credit toward tenure for each year of
19               teaching up to a maximum of three (3) years. The number of years to be
20               credited shall be stipulated in the faculty member’s initial contract.
21               Nothing in these rules on maximum probationary years shall prevent
22               consideration for tenure at an earlier date.

23         3.    The Chairperson of each department shall have the responsibility of
24               bringing to the notice of the tenured department members the names of
25               colleagues ready for consideration for tenure within the department by
26               September 15 of their tenure-decision year.

27         4.    The recommendation on tenure shall be determined by a majority vote by
28               secret ballot of all the tenured faculty members of the department by
29               October 15 of the year preceding the last probationary year. In order that at
30               least three (3) opinions be considered, exclusive of the Department
31               Chairperson, departments with fewer than three (3) tenured faculty
32               members must supplement the tenured faculty opinions with opinions of
33               faculty members who are tenured from other departments within the
34               College Academic Council. The additional tenured faculty members will
35               be selected by the College Academic Council from a list of individuals
36               submitted by the faculty member being considered for tenure which are
37               acceptable to the Department Chairperson and the Dean of the appropriate
38               College. The faculty member will submit the list of individuals on or
39               before September 15 and the College Academic Council will make its
40               selection on or before October 1, of the year preceding the last
41               probationary year. Included shall be the results of the student evaluations
42               of teaching effectiveness. The candidate for tenure will be given



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 1               substantiation in writing according to the evaluation categories in Article
 2               VII. A., and ratings in Article VII. E.

 3         5.    On or before November 15 of the candidate’s tenure-decision year, the
 4               Department Chairperson will forward to the appropriate College Academic
 5               Council the faculty member’s recommendation, copies of the tenure
 6               evaluation documentation, and the Chairperson’s own recommendation
 7               and substantiation in writing. A copy of the recommendations shall be sent
 8               to the President of the Faculty Federation. Prior to the transmission to the
 9               College Academic Council, the individual shall be notified of the
10               department’s decision and be permitted the opportunity to submit
11               additional materials on the recommendation.

12         6.    The College Academic Council shall review these recommendations,
13               documentation and evaluations and make a recommendation on tenure
14               with written justification with respect to each of the evaluative criteria.
15               Where recommendations of the Department Chairperson and the
16               department tenured members are in agreement, the College Academic
17               Council shall give this substantial weight during deliberations and shall
18               not ordinarily make a contrary recommendation. A copy of the Academic
19               Council’s recommendation with written substantiation based on the
20               applicable criteria contained in the Trustees/Faculty Federation Agreement
21               shall be given to the individual prior to being sent to the next level. The
22               individual shall have the right to submit additional materials to the College
23               Academic Council for transmittal to the College Dean within seven (7)
24               days of receipt of the recommendation. The individual, whether
25               submitting additional materials or not, shall sign a statement within this
26               seven (7) day period and return it to the College Academic Council
27               indicating receipt of this recommendation and awareness of the
28               opportunity to submit additional materials. The College Academic Council
29               will also send a copy of the recommendation to the Department
30               Chairperson and to the President of the Faculty Federation for their
31               information. Failure of the individual to sign a statement of receipt when
32               the document has been received will not prevent the documentation from
33               being forwarded to the next level.

34         7.    A copy of the College Dean’s recommendation with written substantiation
35               based upon the applicable criteria contained in the Trustees/Faculty
36               Federation Agreement shall be given to the individual prior to being sent
37               to the Provost. The individual shall have the right to submit additional
38               materials to the College Dean for transmittal to the Provost within seven
39               (7) days of receipt of the recommendation. The individual, whether
40               submitting additional materials or not, shall sign a statement indicating
41               receipt of this recommendation and awareness of the opportunity to submit
42               additional materials within this seven (7) day period and return it to the
43               College Dean. Failure of the individual to sign a statement of receipt of the
44               recommendation when the recommendation has been received will not

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 1               prevent the documentation from being forwarded to the next level. The
 2               College Dean will also prepare a recommendation and send a copy to the
 3               Department Chairperson and to the President of the Faculty Federation for
 4               their information. The College Dean shall transmit to the Provost the
 5               recommendations, evaluations and documents of the Department
 6               Chairperson, the department tenured members, the College Academic
 7               Council, together with the Dean’s own recommendation and substantiation
 8               and all additional materials (if any) submitted by the individual.

 9         8.    A copy of the Provost’s recommendation with written substantiation based
10               upon the applicable criteria contained in the Trustees/Faculty Federation
11               Agreement shall be given to the individual prior to being sent to the
12               Chancellor. The individual shall have the right to submit additional
13               materials within seven (7) days of receipt of the recommendation of the
14               Provost. The individual, whether or not submitting additional materials,
15               shall sign a statement indicating receipt of a copy of this recommendation
16               and awareness of the opportunity to submit additional materials within this
17               seven (7) day period and return it to the Provost. Failure of the individual
18               to sign a statement of receipt of this recommendation will not prevent the
19               documentation from being forwarded to the next level. The Provost will
20               also send a copy of this recommendation to the Department Chairperson
21               and to the President of the Faculty Federation for their information. The
22               Provost shall transmit to the Chancellor, the evaluations, recommendations
23               and documents of the department tenured members, the Department
24               Chairperson, the College Academic Council, the Dean of the College, and
25               the Provost’s own recommendation and substantiation and all additional
26               materials (if any) submitted by the individual.

27         9.    The President shall review the recommendations of the Chancellor,
28               Provost, the Dean of College, the College Academic Council, the
29               Department Chairperson and the department tenured members, and
30               forward these with the President’s own recommendation to the
31               Chairperson of the Board of Trustees no later than ten (10) days prior to
32               the established June meeting date of the Board of Trustees for its decision
33               by formal action to grant or not grant tenure.

34         10.   The awarding of tenure shall be only by a vote of the Board of Trustees.

35         11.   Service as an Instructor at the University of Massachusetts Dartmouth
36               shall be counted for tenure credit.

37         12.   Tenure shall be effective on the date it is voted to take effect by the Board
38               of Trustees.

39         13.   Candidates not awarded tenure during the sixth year shall receive a
40               terminal seventh year contract.



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 1     J.   PERIODIC MULTI-YEAR REVIEW

 2          Every tenured faculty member and librarian shall undergo a periodic multi-year
 3          review every 7 years with the exceptions noted below:

 4          1.     Promotion to Professor, Chancellor Professor, or Librarian shall be
 5                 deemed to constitute periodic multi-year review.

 6          2.     Promotion to Professor, Chancellor Professor, or Librarian shall, as of the
 7                 effective date of the promotion, begin a new cycle for multi-year review.

 8          3.     Persons who have indicated, in writing, their intention to retire within a
 9                 three-year period shall not be subject to multi-year review. If the intention
10                 to retire is rescinded, the person shall immediately undergo a multiyear
11                 review.

12          4.     The time of the PMYR may be altered, upon written agreement between
13                 the individual and the appropriate Dean, in the following circumstances:

14                 a)     When the individual is named to a full-time administrative
15                        position.

16                 b)     When the individual is granted a leave without pay for an
17                        academic year.

18                 c)     A bargaining unit member subject to review may be temporarily
19                        exempted due to extenuating circumstances (e.g., significant health
20                        problems, significant responsibilities for elder or dependent care,
21                        or circumstances beyond the member’s control). Documentation of
22                        extenuating circumstances must be presented in writing to the
23                        Dean and will become part of the member’s permanent file.

24          5.     Those participating in PMYR in any given year shall be considered to
25                 have completed an annual evaluation for that year. Deficient performance
26                 in a PMYR shall disqualify the individual for any merit increase for that
27                 year. In subsequent years progress toward the fulfillment of a development
28                 plan shall be considered during the annual evaluation.

29          Individuals participating in PMYR shall submit the following to the Department
30          Faculty (Library) Evaluation Committee by January 31:

31          1.     A complete and up-to-date vita.

32          2.     Annual activity reports and annual evaluations including, where
33                 applicable, student ratings of teaching as contained in the annual reviews,
34                 for the years since the granting of tenure, last promotion, or previous
35                 PMYR.



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 1         3.     A brief narrative commentary (not to exceed 3 pages)addressing their
 2                major accomplishments during the period under review and outlining their
 3                long-range plans (for the next 6 years) and their relation to departmental
 4                and institutional plans and needs.

 5         The dossier submitted shall be evaluated, in writing with copies to the individual
 6         being evaluated, to the Department Chairperson, and to the President of the
 7         Faculty Federation, by the Evaluation Committee, consisting of the tenured
 8         members of the department or constituted under the provisions of Article VII, I, 4,
 9         the Department Chair (Head), the College Academic Council, the College Dean
10         and the Provost. At each level of evaluation, the individual being evaluated will
11         have seven (7) days to submit to the evaluator any statement, evidence or other
12         documentation which he/she believes would represent a more valid view. The
13         individual’s submission will be transmitted with the dossier and the evaluation to
14         the next step of the process.

15         Each faculty member shall be evaluated in the categories of 1. Teaching
16         Effectiveness and Advising; 2. Scholarship and Professional Activities; and 3.
17         University Service; or 4. Public Service; or both. The rating for each category of
18         evaluation shall be Excellent, or Very Good, or Satisfactory, or Unsatisfactory.
19         Summary rating of Excellent Sustained Performance or Generally Satisfactory
20         Sustained Performance or Deficient Performance shall be determined at each level
21         of review. These summary ratings shall be determined as follows:

22         Excellent Sustained Performance

23                Excellent in Teaching Effectiveness and Advising and at least Very Good
24                performance in one other category, or

25                Very Good in Teaching Effectiveness and Advising and at least Excellent
26                performance in one other category, or

27                Very Good in Teaching Effectiveness and Advising and at least Very
28                Good performance in two other categories

29         Generally Satisfactory Sustained Performance

30                Excellent in Teaching Effectiveness and Advising and Satisfactory
31                performance in one other category, or

32                Very Good in Teaching Effectiveness and Advising and Very Good
33                performance in one other category, or

34                Satisfactory in Teaching Effectiveness and Advising and Very Good
35                performance in two other categories




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 1         Deficient Performance

 2                Failure to meet the standards for generally satisfactory sustained
 3                performance

 4         Faculty found to have Excellent Sustained Performance by four (4) or more levels
 5         of review; and for law faculty two (2) or more levels of review, shall be deemed
 6         to have successfully completed the PMYR.

 7         Faculty found to have Generally Satisfactory Sustained Performance with no need
 8         for improvement by four (4) or more levels; two (2) in the case of law faculty
 9         members; shall be deemed to have successfully completed the PMYR.
10
11         Those deemed by four (4) or more levels; two (2) in the case of law faculty
12         members; to have generally satisfactory sustained performance but to be in need
13         of some improvement shall be so notified in writing by the Dean. They shall, with
14         the written approval of the Department Chairperson, and the Evaluation
15         Committee, develop a plan for professional development. This plan will indicate
16         specific areas in which improvement or change is planned and how the faculty
17         member intends to improve/change in those areas. The campus shall be
18         responsible for all reasonable expenses. Progress toward fulfillment of the plan
19         shall be considered in their annual evaluations.
20
21         Those found to be deficient by four (4) or more levels; two (2) in the case of Law
22         faculty members; shall prepare a plan, with approval as above, which will address
23         specific areas in need of immediate improvement. The campus shall be
24         responsible for all reasonable expenses. Their progress will be reviewed each
25         semester by the Provost, the Department Chairperson and the Dean. If
26         improvement has not taken place within a reasonable period of time, or if the
27         individual refuses to participate in the process or fails to make a good faith effort
28         to execute the plan, the Provost, in consultation with the Dean and the Department
29         Chairperson, shall determine whether or not grounds exist to invoke the
30         provisions of Article VII, I.
31
32         PMYR is not a step in any disciplinary action and no materials developed in this
33         process shall be introduced into evidence in any disciplinary action. This
34         exclusion does not apply to any document or record originally intended for use
35         other than PMYR, e.g., annual evaluation, nor to any aspect of a faculty member’s
36         performance which may have been considered in the PMYR process and may be
37         considered separately in a disciplinary process.

38




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 1     K.   PROMOTION
 2          PREAMBLE

 3          For recommendations on promotion, the individual being considered shall be
 4          responsible for assembling all pertinent materials in a dossier and shall be
 5          responsible for delivering it to the Department Faculty Evaluation Committee no
 6          later than November 15.

 7          1.     General

 8                 Any faculty member in the rank of Assistant Professor shall be promoted
 9                 to the rank of Associate Professor upon achieving tenure at the University
10                 of Massachusetts Dartmouth.

11          2.     While length of service alone is not cause for promotion, the following
12                 shall be considered the normal period of time to be spent in rank:

13                 a)     Instructor, not more than five (5) years.

14                 b)     Assistant Professor, six (6) to seven (7) years.

15                 c)     Associate Professor, six (6) or more years.

16                 d)     Professor, six (6) or more years (total years teaching shall
17                        ordinarily be eighteen (18) or more)

18                 Nothing in these rules on the normal period of time to be spent in rank
19                 shall prevent consideration for promotion at an earlier date. Promotion
20                 before the normal time spent in rank will be recommended only upon
21                 evidence of extraordinary achievement and experience in one’s
22                 professional career.

23          3.     For purposes of promotion, faculty shall be evaluated by the Department
24                 Faculty Evaluation Committee and the Department Chairperson. The
25                 Department Faculty Evaluation Committee shall judge each candidate for
26                 promotion on the basis of the four (4) categories of Article VII. A., and
27                 shall classify each candidate using the ratings of Article VII. E. The
28                 Committee’s recommendations shall be substantiated in writing by
29                 referring to the categories of Article VII. A., and ratings of Article VII. E.
30                 The Department Chairperson shall review the candidate’s dossier and the
31                 recommendations of the Department Faculty Evaluation Committee. The
32                 Department Chairperson shall evaluate each candidate in terms of the
33                 categories of Article VII. A., shall make a recommendation according to
34                 the ratings of Article VII. E., and shall substantiate this recommendation in
35                 writing. The candidate for promotion shall have the right to read the
36                 recommendations of the Department Faculty Evaluation Committee and
37                 the recommendation of the Department Chairperson, and may add to the

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 1               file any statement, evidence, or documentation which the candidate
 2               believes to present a more valid view. The candidate shall have the right to
 3               grieve the recommendation of the Department Faculty Evaluation
 4               Committee or the recommendation of the Department Chairperson,
 5               according to the grievance procedures of Article XVII. Whether or not the
 6               candidate grieves, the candidate shall have the right to add to the file any
 7               additional material within seven (7) days of receipt of the recommendation
 8               of the Department Chairperson for transmittal to the College Academic
 9               Council and shall sign, within this seven (7) day period, a statement
10               indicating that the recommendations have been read. Failure to sign will
11               not prevent forwarding of the documentation to the College Academic
12               Council. The Department Chairperson shall forward to the College
13               Academic Council by December 30 the candidate’s complete file
14               including the dossier, the recommendation of the Department Faculty
15               Evaluation Committee, the Department Chairperson’s recommendation,
16               and any additional material submitted by the candidate. Copies of the
17               recommendations shall be sent to the President of the Faculty Federation
18               for informational purposes.

19         4.    The College Academic Council shall review the complete file, shall
20               evaluate the candidate in terms of the categories of Article VII. A., and
21               shall make a recommendation in terms of the ratings of Article VII.E. The
22               College Academic Council shall substantiate in writing the
23               recommendations for each candidate in terms of Article VII. A. and E.
24               Copies shall be given to the candidate, to the candidate’s Department
25               Chairperson and to the President of the Faculty Federation prior to being
26               sent to the next level. The candidate shall have the right to submit
27               additional materials within seven (7) days from receipt of the
28               recommendation of the College Academic Council. The candidate shall
29               sign, within this seven (7) day period, a statement indicating that the
30               recommendation has been read and that the option of submitting additional
31               materials was available. Failure to sign shall not prevent forwarding the
32               file to the next level. The College Academic Council shall transmit to the
33               College Dean the complete file, including the dossier, the recommendation
34               of the Department Faculty Evaluation Committee, the recommendation of
35               the Department Chairperson, the Academic Council’s own
36               recommendation, and any additional material submitted by the candidate
37               by January 30.

38         5.    The College Dean shall review the complete file, shall evaluate the
39               candidate according to the categories of Article VII. A., and shall make a
40               recommendation in terms of Article VII. E. A copy of the recommendation
41               with written substantiation shall be given to the candidate, the candidate’s
42               Department Chairperson, and the President of the Faculty Federation
43               before being sent to the Provost. The individual shall have the right to
44               submit additional materials within seven (7) days from receipt of the
45               recommendation to the College Dean. The individual, whether submitting

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 1               additional materials or not, shall sign, within this seven (7) day period, a
 2               statement indicating receipt of this recommendation and awareness of the
 3               opportunity to submit additional materials within this seven (7) day period
 4               and return it to the College Dean. Failure of the individual to sign a
 5               statement of receipt of the recommendation when the recommendation has
 6               been received will not prevent the documentation from being forwarded to
 7               the next level. The College Dean shall transmit to the Provost the
 8               complete file including the dossier, the recommendation of the
 9               Department Faculty Evaluation Committee, the recommendation of the
10               Department Chairperson, the recommendation of the College Academic
11               Council, the Dean’s own recommendation, and any additional materials
12               submitted by the candidate by February 20.

13         6.    The Provost shall review the complete file, shall evaluate the candidate
14               according to the categories of Article VII. A. and shall make a
15               recommendation in terms of the ratings of Article VII. E. A copy of the
16               recommendation with written substantiation shall be given to the
17               candidate, the candidate’s Department Chairperson, and the President of
18               the Faculty Federation prior to being sent to the Chancellor. The candidate
19               shall have the right to submit additional materials within seven (7) days
20               from receipt of the recommendation of the Provost. The candidate shall
21               sign, within this seven (7) day period, a statement indicating that the
22               recommendation has been read and that the option of submitting additional
23               materials was available. Failure to sign shall not prevent forwarding the
24               file to the next level. The Provost shall transmit to the Chancellor the
25               complete file, including the dossier, the recommendation of the
26               Department Faculty Evaluation Committee, the recommendation of the
27               Department Chairperson, the recommendation of the College Academic
28               Council, the recommendation of the College Dean, the recommendation of
29               the Provost, and any additional materials submitted by the candidate.

30         7.    The Chancellor shall make a decision on promotion for each candidate by
31               May 15. The Chancellor’s decision and any subsequent action taken by the
32               Board thereon shall be conveyed in writing to the candidate and a copy
33               shall be sent to the candidate’s Department Chairperson.

34         8.    Promotion to Chancellor Professor

35               a)     Criteria for Promotion: A full-time tenured faculty member shall be
36                      eligible for promotion to the rank of Chancellor Professor if the
37                      faculty member meets all of the following criteria:

38                      (1)     The individual has a minimum of eighteen (18) years’ full-
39                              time teaching experience at an accredited institution of
40                              higher education.




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 1                       (2)    The individual has received the highest rating in any five
 2                              annual evaluations conducted during the six years
 3                              preceding an application for promotion.

 4                       (3)    The individual has been in rank as a Full Professor for a
 5                              minimum of six years at the time of application.

 6                       (4)    The individual has demonstrated excellence in the art and
 7                              practice of teaching, has a record of scholarship that
 8                              contributes to the advancement of knowledge in the
 9                              applicant’s field, and has made an outstanding contribution
10                              to the University or to his/her profession.

11                b)     At no time will the number of persons at the rank of Chancellor
12                       Professor be more than ten percent (10%) of the total faculty
13                       holding the rank of Professor, Chancellor Professor and
14                       Commonwealth Professor.

15                c)     Promotion to Chancellor Professor shall follow the schedule
16                       contained in Article VII. K. of the Agreement.

17                d)     Faculty applying for Chancellor Professor shall not evaluate any
18                       candidates for Chancellor Professor.

19     L.   LAW SCHOOL PERSONNEL RECOMMENDATIONS

20          For all decisions by the Law Academic Council (LAC) on contract renewals,
21          promotions, tenure applications and PMYR, only those members of the LAC who
22          have tenure shall participate in the meeting and have a vote.




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 1                                    ARTICLE VIII
 2                                 WORKING CONDITIONS

 3     A.   TEACHING ASSIGNMENT

 4          1.     Except in the School of Law (14 units per academic year), the maximum
 5                 assignment per academic year shall be twenty-four (24) units. The
 6                 standard teaching assignment per academic year shall be 18 units except in
 7                 the case of faculty in the College of Visual & Performing Arts teaching
 8                 only studio courses, where the standard teaching assignment shall be 30
 9                 units per academic year and in the School of Law fourteen (14) units per
10                 academic year. Adjustments upward or downward from this standard
11                 assignment are possible with written justification and approval by the
12                 faculty member, the Chairperson (or the Program Chair in the School of
13                 Law) and the Dean. It is understood and agreed that on occasion a
14                 department chair may assign more than 18 units in one academic year
15                 without the approval of a faculty member. The faculty member’s teaching
16                 assignment will be appropriately adjusted in the succeeding academic
17                 year.
18
19          2.     Faculty teaching assignments shall be decided by the Department
20                 Chairperson in consultation with members of the department and must be
21                 acceptable to the Dean of the College or School. In the Law School,
22                 faculty teaching assignments shall be decided by the Dean or Dean’s
23                 designee in consultation with members of the department and must be
24                 acceptable to the Law Academic Council.
25
26          3.     Faculty may be assigned to teach classes between the hours of 8:00 a.m.
27                 and 10:00 p.m. Until June 30, 2012, teaching assignments after 7:00 p.m.
28                 shall be made only with the written agreement of the faculty member
29                 involved. In no case will faculty be required to teach a class that ends
30                 more than eight (8) hours after the beginning of their first class of the day.
31
32          4.     School of Law faculty may be assigned to teach classes between the hours
33                 of 9:00 a.m. and 10:00 p.m. In no case, will faculty be required (1) to
34                 teach a class that ends more than eight (8) hours after the beginning of
35                 their first class of the day, or (2) to teach classes on more than five days in
36                 a week.
37
38     B.   DETERMINATION OF TEACHING LOAD

39          Teaching load shall be computed according to the following scale:

40          1.     One (1) lecture, recitation or laboratory/studio/clinical class hour per week
41                 equals one (1) unit. In the College of Nursing, for purposes of Part-Time
42                 Lecturers teaching only clinical practicum sections, a unit will be defined
43                 as two (2) clock hours of clinical practicum instruction per week.

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 1         2.    In laboratory and studio courses, every effort will be made to assign
 2               technicians to prepare equipment for experiments, to assist in conducting
 3               experiments and to process student reports in order to provide faculty
 4               members more equitable teaching loads. For the duration of this
 5               agreement, the incremental amount of support for a CVPA professional
 6               technician(s) agreed to in the MOU of March 30,1999 shall be maintained.

 7         3.    Advising for master’s theses and doctoral dissertations equals two (2)
 8               units for the first student and one (1) unit each for subsequent students for
 9               a maximum of four (4) units per semester. Advising for graduate projects
10               equals one (1) unit for the first student and one-half (1/2) unit for each
11               subsequent student to a maximum of three (3) units per semester. Advising
12               credit cannot be accrued for a given individual student for more than four
13               (4) semesters for master’s thesis and project and eight (8) semesters for
14               doctoral dissertation.

15         4.    Every effort shall be made to distribute equitably the number of students
16               per faculty member in a given discipline. A faculty member who has extra
17               large sections for two (2) semesters in succession, shall, where feasible, be
18               given a reduced number of course assignments in the following semester.

19         5.    Whenever possible, the number of preparations for an individual faculty
20               member shall not exceed two (2) without consent of the faculty member
21               involved.

22         6.    The goals of the University require that the average workload for faculty
23               members consist of four basic elements:

24               a)     The basic instructional workload,

25               b)     Research, creative or professional activity,

26               c)     Academic service, and

27               d)     Public Service

28         7.    Subject to the provisions of this Agreement and to budgetary constraints,
29               the Employer/University Administration shall, as a high academic priority,
30               maintain the goal of achieving a student-faculty ratio appropriate to a high
31               quality of education and fulfilling the mission of the University.

32         8.    Instructional workload assignments to faculty members shall reflect (a) the
33               academic needs of the department or program, (b) the faculty member’s
34               qualifications and expertise and (c) the faculty member’s professional
35               interests.

36         9.    In determining workload assignments, the faculty member’s research
37               commitment, service contributions and prior instructional workload shall

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 1               be taken into account to determine whether these warrant adjustments of
 2               instructional workload.

 3     C.   DEPARTMENT CHAIRPERSONS

 4          1.   Department Chairpersons shall have a maximum teaching load of twelve
 5               (12) units per academic year.

 6          2.   Department Chairpersons shall be responsible for up to fifteen (15) days
 7               of service during the period June 1 through August 31. Specific days shall
 8               be determined by the Chancellor or the Chancellor’s designee.

 9          3.   Department Chairpersons or the Program Chairperson of SMAST shall
10               receive a stipend. The stipend is in addition to regular faculty
11               compensation and is part of the individual's base salary. The stipend is
12               included as part of the base salary for purposes of determining the salary
13               rate increments for percentage increases. When the individual ceases to
14               carry out the duties of the Department Chairperson, that person no longer
15               receives the stipend. In the event that Department Chairperson duties are
16               carried out by an Acting Department Chairperson or an Acting Program
17               Chairperson, the stipend shall be paid to the Acting Chairperson.

18          4.   Department Chairpersons shall submit proposed course schedules to the
19               appropriate Dean no later than December 1 for the following fall semester
20               and no later than March 1 for the following spring semester.

21     D.   OTHER FACULTY RESPONSIBILITIES

22          1.   Although not considered as part of the normal teaching load, the full-time,
23               benefited faculty is to participate in and contribute to these activities:

24               a)     Scheduled academic functions and meetings of the department,
25                      college and university.

26               b)     Regular student advising or advising other than thesis.

27          2.   Office Hours

28               a)     For non-law faculty, there shall be at least four (4) scheduled office
29                      hours per week, not less than one hour per day on three separate
30                      days, per full-time faculty member. Additional office hours may be
31                      required when the Department Chairperson and Dean agree on the
32                      necessity. (Flexible enforcement to be devised). Scheduled office
33                      hours will be posted on office doors and in course syllabi.

34               b)     For law faculty, there shall be at least four (4) scheduled office
35                      hours per week per full-time faculty member. These hours shall be
36                      scheduled at times that are convenient for the students in the

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 1                       faculty member’s classes. Additional office hours may be required
 2                       when the Law Academic Council and the Dean agree on the
 3                       necessity.
 4
 5          3.    Faculty members are required to submit their grades to the Office of
 6                University Records by the date specified by that office. In cases where this
 7                responsibility is not fulfilled, the Registrar will notify the faculty member
 8                on the seventh (7th) day following the due date. On the fourteenth (14th)
 9                day following the due date, the Administration will be empowered to
10                withhold salary checks until the grade(s) in question are submitted.
11                Extenuating circumstances that prevent the withholding of salary checks
12                will be agreed upon on a case by case basis by the Administration and the
13                Faculty Federation.

14                Notwithstanding the above, law faculty members shall have no less than
15                twenty-one Days, subject to variation by the Law Academic Council,
16                following a written examination in which to submit grades.
17
18     E.   TEACHING PROGRAMS

19          1.    Work Schedule

20                a)     All courses are scheduled and all faculty members' assignments are
21                       fitted within a five-day (5) work week except in the School of
22                       Law. Faculty members' written request and justifications for
23                       special consideration will be taken into account by the Department
24                       Chairperson and, if recommended by the Chairperson, must be
25                       submitted to the College Dean for approval.
26
27                b)     In the school of law, faculty members teaching assignments will
28                       normally be on no more than three days, but a faculty member may
29                       be scheduled for more than three days upon good cause and either
30                       the faculty member’s consent, or approval of the Law Academic
31                       Council. Faculty members can be scheduled for both day and
32                       night/weekend courses, but effort will be made to rotate faculty
33                       members so that each faculty member teaches a fair share of the
34                       night/weekend courses. Faculty members' written request and
35                       justifications for special consideration will be taken into account
36                       and may be submitted to the College Dean for approval.
37
38          2.    The assignment of courses shall be determined by the Department
39                Chairperson in consultation with each faculty member of the department
40                and with the approval of the Dean of the College.

41          3.    Teaching loads in a department shall be distributed as evenly as possible
42                among faculty members.



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 1          4.    In scheduling and assigning courses, faculty requests will be taken into
 2                account by the Department Chairperson. Requests shall be in writing.

 3          5.    Seniority will be a factor in consideration of the assignment of courses and
 4                schedules.

 5          6.    Distance Learning.

 6                The administration and Faculty Federation agree to appoint a committee to
 7                study on-line instruction and the impact of on-line instruction on
 8                intellectual property, working conditions, and compensation. Three
 9                members of the committee will be appointed by the Faculty Federation.
10                Three members of the committee will be appointed by the Chancellor. The
11                committee will study the issues associated with incorporating on-line
12                instruction in courses offered as part of the teaching assignment of
13                members of the faculty bargaining unit, and report findings and
14                recommendations to the parties to this negotiation by May 1, 2011.

15                a)     Purpose

16                       (1)     The purpose of teaching with technologies is to enrich and
17                               to increase the availability of the curriculum offerings of
18                               UMass Dartmouth.

19                       (2)     The parties agree that the use of such technology shall
20                               NOT be used to reduce, eliminate or consolidate faculty
21                               positions within UMass Dartmouth.

22                b)     Definitions

23                       (1)     CODEC: These are interactive classes offered via telephone
24                               lines to off-campus sites (such as full motion video, PicTel,
25                               etc.).

26                       (2)     Computer Based Multi-Media: These are courses that use
27                               CD ROMS, videodisc, and telecommunication link
28                               between the student and the faculty member (e-mail,
29                               Internet).

30                       (3)     Print Based Only: These are traditional independent
31                               courses. Materials are all print-based such as textbook and
32                               study guide.

33                       (4)     Print Based plus Multi-Media: Same as print based only,
34                               except that additional types of non-print materials
35                               constitute a substantial part of the instructional
36                               materials/activities.


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1                       (5)    Satellite: These are courses delivered to remote sites by
2                              satellite uplink.

3                       (6)    Site: A site is defined as a location with an enrollment of
4                              six (6) or more students.

5                       (7)    Teleclass: These are courses developed under contract with
6                              UMass Dartmouth by faculty members. They may be
7                              developed for commercial use and utilize video
8                              technologies.

 9                      (8)    Telecourse: Video, print, and other materials for the course
10                             are purchased from vendors. Faculty do not have to
11                             develop their own materials to teach the course.

12                c)    Course Offering Approval

13                      Courses to be offered by utilization of technology must meet
14                      quality standards maintained at UMass Dartmouth. All such
15                      courses shall be created as the result of the standard course
16                      emergence process as stipulated in the Agreement (Article V.E. pg.
17                      31).

18                d)    eLearning Committee

19                      (1)    A standing committee will be created to study and make
20                             recommendations regarding workload and compensation
21                             issues for teaching of distance learning courses. These
22                             recommendations will be the basis for future negotiations
23                             regarding distance learning workload and compensation.
24                             The committee will consist of three members selected by
25                             the Faculty Federation and three members selected by the
26                             Chancellor and will report at least annually to the parties to
27                             the Agreement and the Faculty Senate.

28                      (2)    The Committee will routinely assess whether:

29                             Distance learning offerings provide for timely and
30                             appropriate interaction between students and faculty and
31                             among students.

32                             The institution’s faculty assumes responsibility for and
33                             exercises oversight over distance education, ensuring both
34                             the rigor of programs and the quality of instruction.

35                             The institution ensures that the technology used is
36                             appropriate to the nature and objectives of the programs.


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 1                           The academic department ensures the currency of
 2                           materials, programs and courses.

 3                           The institution’s distance education policies are clear
 4                           concerning ownership of materials, faculty compensation,
 5                           copyright issues, and the utilization of revenue derived
 6                           from the creation and production of software, telecourses,
 7                           or other media products.

 8                           The institution provides appropriate faculty support
 9                           services specifically related to distance education.

10                           The institution provides appropriate training for faculty
11                           who teach in distance education programs.

12                           Evaluation and Assessment

13                           The institution assesses student capability (except in the
14                           case of the University Extension) to succeed in distance
15                           education programs and applies this information to
16                           admission and recruiting policies and decisions.

17                           The institution evaluates the educational effectiveness of its
18                           distance education programs (including assessments of
19                           student based learning outcomes, student retention, and
20                           student satisfaction) to ensure comparability to campus-
21                           based programs.

22                           The institution ensures the integrity of student work and the
23                           credibility of the degrees and credits it awards.

24                           Library and Learning Resources

25                           The institution ensures that students have access to and can
26                           effectively use appropriate library resources.

27                           The institution monitors whether students make appropriate
28                           use of learning resources.

29                           The institution provides laboratories, facilities, and
30                           equipment appropriate to the courses or programs.

31                           Student Services

32                           The institution provides adequate access to the range of
33                           student services appropriate to support the programs,
34                           including admissions, financial aid, academic advising,
35                           delivery of course materials, and placement and counseling.


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 1                             The institution provides an adequate means for resolving
 2                             student complaints.

 3                             The institution provides to students advertising, recruiting,
 4                             and admissions information that adequately and accurately
 5                             represents the programs, requirements, and services
 6                             available.

 7                             The institution ensures that students admitted possess the
 8                             knowledge and equipment necessary to use the technology
 9                             employed by the program, and provides aid to students who
10                             are experiencing difficulty using the required technology.

11                             Facilities and Finance

12                             The institution possesses the equipment and technical
13                             expertise required for distance education.

14                             The institution’s long-range planning, budgeting, and
15                             policy development processes reflect the facilities, staffing,
16                             equipment and other resources essential to the viability and
17                             effectiveness of the distance education program.

18                e)    Workload

19                      The following considerations apply to all distance learning classes:

20                             No faculty member shall be assigned to teach a distance
21                             learning course that involves learning new technologies
22                             without the opportunity to be trained in those technologies.
23                             Faculty willingness to teach these courses shall be
24                             considered but program needs will be given higher priority.

25                             No faculty member shall be assigned to teach a distance
26                             learning course using new technologies without adequate
27                             prior opportunity to prepare materials required to use those
28                             technologies, except in emergencies.

29                             Faculty members assigned to teach a distance learning
30                             course will receive appropriate clerical, logistical,
31                             instructional, and technical support.

32                      (1)    Preparation

33                             A faculty member teaching a distance learning course for
34                             the first time, which requires substantial time and effort to
35                             learn new technologies and/or develop or adapt new
36                             materials, will be awarded additional units up to twice the

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 1                             number given for a regular course. In subsequent offerings
 2                             where classroom attendance by the faculty member is
 3                             needed, workload units will be calculated at 1.5 units/credit
 4                             hour. When workload is adjusted to reflect the additional
 5                             effort for training and/or course preparation, the faculty
 6                             member will provide a brief written report on training
 7                             received and materials developed.

 8                      (2)    Sites

 9                             When a course is delivered via CODEC or satellite, in
10                             which there is continuous interaction among sites, a
11                             workload adjustment will be made for any site with six or
12                             more students. For a three semester hour course with up to
13                             three off-campus sites, .25 additional units per off-campus
14                             site shall be awarded. For four (4) to six (6) off-campus
15                             sites, up to 1.0 additional units shall be awarded for a three
16                             semester hour course.

17                      (3)    Enrollment

18                             For both CODEC and satellite delivery, total enrollment for
19                             all sites, including the on-campus site, will be capped at the
20                             same enrollment levels as the equivalent on-campus class.
21                             If total enrollments at all sites exceed the above cap, an
22                             additional one-fourth unit per semester hour will be
23                             assigned for every 25 percent by which enrollments exceed
24                             the cap.

25                f)    Intellectual Property

26                      This section applies when a regular class is video-taped for use at a
27                      future time or date by either the department or the faculty member.

28                      (1)    Prior to the video-taping of a course, an agreement
29                             consistent with the University of Massachusetts Dartmouth
30                             Intellectual Property Agreement must be completed.

31                      (2)    Both a faculty member using video tapes and materials
32                             produced by another faculty member, and a faculty member
33                             using their own tapes and materials, shall receive no more
34                             than one-half the workload equivalent for the course unless
35                             they are present when all tapes are shown, in which case
36                             the regular workload equivalent for the course shall be
37                             assigned.




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 1                 g)      Limitations

 2                         A live, interactive distance learning course transmitted by another
 3                         institution may not be offered at a University of Massachusetts
 4                         Dartmouth site if the same course is being taught that same
 5                         semester at any University of Massachusetts Dartmouth site
 6                         without the prior approval of the chair of the academic department
 7                         in which that subject matter would be given credit.

 8          The administration and Faculty Federation agree to appoint a committee to study
 9          on-line instruction and the impact of on-line instruction on intellectual property,
10          working conditions, and compensation. Three members of the committee will be
11          appointed by the Faculty Federation. Three members of the committee will be
12          appointed by the Chancellor. The committee will study the issues associated with
13          incorporating on-line instruction in courses offered as part of the teaching
14          assignment of members of the faculty bargaining unit, and report findings and
15          recommendations to the parties to this negotiation by May 1, 2011.

16     F.   TRANSFER

17          Faculty may be transferred from one department to another within one college, or
18          between colleges. Such transfers shall be made without loss of seniority or any
19          other rights or perquisites. Transfers must be approved by the Dean or Deans
20          involved, but only with the written consent of the faculty member involved, and
21          only with the prior approval of a majority of the tenured members of the
22          department to which the transfer is requested.

23     G.   ACADEMIC YEAR AND CALENDAR

24          1.     Academic Year

25                 a)      The academic year for the School of Law shall begin on August
26                         15, of each year and end on May 15, of the next year, subject to
27                         variation by the Law Academic Council to ensure complete fall
28                         and spring semesters over a period not less than nine months and
29                         not more than 40 weeks. Faculty serving under a teaching contract
30                         are expected to be available each day within this period excepting
31                         Sundays and holidays unless explicitly relieved of this
32                         responsibility in writing by the Dean of the School. Any
33                         restructuring of the academic semester system shall be subject to
34                         negotiation. Faculty will be available to attend graduation
35                         exercises scheduled before June 1.
36
37                 b)      The academic year in all other regards shall begin on September 1,
38                         of each year and end on May 31, of the next year. Faculty serving
39                         under a teaching contract are expected to be available each day
40                         within this period excepting Saturdays, Sundays and holidays


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 1                       unless explicitly relieved of this responsibility in writing by the
 2                       Dean of the College.
 3
 4          2.    University Calendar

 5                The University calendar for each year shall be determined at least two (2)
 6                years in advance by the administration in consultation with the Faculty
 7                Federation.

 8     H.   FACILITIES

 9          1.    Office space will be allocated by the administration to each department
10                and it will be the responsibility of the Department Chairperson to allocate
11                individual office assignments. This action must be taken prior to June 30
12                of each year.

13          2.    Suitable office space with appropriate office equipment shall be provided
14                for each faculty member. Whenever feasible, office spaces will be
15                assigned to faculty members on a continuing basis, from year to year and
16                for non-law faculty with no more than two (2) full-time faculty assigned to
17                any office. Where possible, each full-time, tenure track law professor shall
18                be provided with a private office.

19          3.    Faculty members shall have access to their offices and/or related
20                laboratory facilities twenty-four (24) hours a day, seven (7) days a week
21                without jeopardizing security.

22          4.    Suitable faculty lounge areas will be provided in each building containing
23                ten (10) or more faculty offices.

24          5.    Where feasible, each department shall be allocated at least one (1) full-
25                time secretary. Departments having more than fifteen (15) full-time faculty
26                shall be allocated an additional secretary.

27          6.    Department Chairpersons shall have first priority in the assignment of
28                single-person offices in the department.

29          7.    Whenever the temperature inside any work location reaches 85 degrees or
30                above or drops below 65 degrees whereby employees are required to wear
31                coats or heavy sweaters in order to remain in the work location, the person
32                in charge of such work location shall immediately contact the person
33                responsible for heating/cooling the building to determine the cause and
34                probable length of time necessary to correct the problem. The person
35                responsible for heating/cooling the building shall immediately relay such
36                information to the Chancellor who shall have the right to dismiss members
37                of the staff until such time as the situation is to be corrected within the
38                workday.


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1      I.   FULL-TIME SERVICE REQUIREMENTS

 2          Appointment to the faculty of the University on a full-time basis obligates the
 3          appointee to render full-time service to the University unless otherwise
 4          specifically exempted by the Chancellor.

 5     J.   DUES CHECK-OFF

 6          The Faculty Federation may secure authorization for payroll deduction for dues.
 7          Once authorized, deductions must continue unless specified in writing by the
 8          employee rescinding the authorization.

 9     K.   WEATHER CONDITIONS

10          All members of the bargaining unit shall be treated equally with regard to adverse
11          weather conditions.

12     L.   AGENCY FEE

13          Persons covered by this Agreement who are not Federation members shall be
14          required, as a condition of employment, within thirty (30) days of employment or
15          within thirty (30) days of the execution of this Agreement, whichever comes last,
16          to pay to the Federation an Agency Service Fee proportionately commensurate
17          with the cost of collective bargaining and contract administration. The amount of
18          the fee shall be no more than the Federation dues.

19     M.   THE UNIVERSITY OF MASSACHUSETTS POLICY ON FACULTY
20          CONSULTING AND OUTSIDE ACTIVITIES

21          Full-time faculty members are expected to devote to the University their primary
22          professional loyalty and to direct to the University their time and energy. They are
23          considered “special state employees” for purposes of the Massachusetts law
24          governing the conduct of public officials and employees (Massachusetts General
25          Laws Ch. 268A), however, they are permitted to engage in limited activities
26          outside of the University during normal working hours, provided such outside
27          activities do not interfere with their primary obligations. The University
28          recognizes that outside activities can be of value to faculty and the University.
29          This Policy is intended to further the mission of the University and to enrich the
30          experiences of the faculty by facilitating appropriately limited outside activities
31          for faculty.

32          1.     Definitions

33                 As used in this Policy, the following words shall have the following
34                 meanings:

35                 a)      Academic Week - The period of Monday through Friday in each
36                         week.

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 1                b)       Outside Activities - Non-academic activities undertaken by a
 2                         Faculty Member in the faculty member’s area of expertise in
 3                         association with individuals or entities outside the University. Such
 4                         activities include for example, working as an employee or
 5                         consultant, or serving as an executive, trustee or director for a
 6                         company or non-profit organization. Such activities do not include,
 7                         for example, short-term academic activities undertaken for
 8                         professional development, such as lectures, participation on
 9                         governmental or professional society advisory panels or scholarly
10                         events, or membership on editorial boards.

11                c)       CVIP - The University Office of Commercial Ventures and
12                         Intellectual Property.

13                d)       Faculty Member - A full-time employee of the University whose
14                         principal title is Lecturer, Instructor, Assistant Professor, Associate
15                         Professor, or Professor, or any other University employee whose
16                         principal duties consist of teaching and conducting academic
17                         research.

18                e)       Associate Provost for Research and Economic Development - The
19                         Associate Provost for Research and Economic Development at
20                         each campus, or where no such position exists, the Provost (or their
21                         designees).
22
23          2.    Policy

24                a)       Scope of Policy

25                         This Policy applies only to Faculty Members.

26                b)       Allowable Activities

27                         The University ordinarily permits full-time Faculty Members to
28                         devote the equivalent of one day within the Academic Week to the
29                         performance of Outside Activities. The University ordinarily does
30                         not place a specific limit on the amount of time that part-time
31                         Faculty Members may devote to the performance of Outside
32                         Activities. The time commitment devoted by any Faculty Member
33                         to Outside Activities may not interfere with the Faculty Member’s
34                         professional commitment to the University.

35                c)       Prohibited or Restricted Activities

36                         (1)    Use of Students or University Resources - Faculty
37                                Members are ordinarily prohibited from performing
38                                Outside Activities that involve the use of University-
39                                administered funds, facilities, or equipment, and must

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 1                             obtain approval to involve students in connection with
 2                             Outside Activities in accordance with the University Policy
 3                             on Conflicts of Interest Relating to Intellectual Property
 4                             and Commercial Ventures.

 5                      (2)    Activities Involving a Conflict of Interest - In the event a
 6                             Faculty Member is considering undertaking an Outside
 7                             Activity that poses an actual or potential Conflict of
 8                             Interest, as defined by the University Policy on Conflicts of
 9                             Interest Relating to Intellectual Property and Commercial
10                             Ventures, the Faculty member should disclose all relevant
11                             information as required by that Policy.

12                      (3)    Use of University’s Name - The University’s name shall
13                             not be used in relation to any Outside Activities, except in
14                             describing an individual’s credentials, and except in
15                             accordance with University policy.

16                d)    Administrative Procedures

17                      (1)    Disclosure and Approval of Outside Activities - Before the
18                             commencement of any Outside Activity subject to this
19                             Policy, the University requires a Faculty Member to
20                             disclose the proposed Outside Activity to the member’s
21                             Dean and Provost, and to receive approval of such Outside
22                             Activity. The University shall make available appropriate
23                             forms. The University also requires prompt disclosure of
24                             material changes in previously disclosed Outside Activities.
25                             Each Dean shall periodically provide to the Provost a report
26                             on the Outside Activities of Faculty Members within
27                             his/her college, and the Provost shall provide this report to
28                             the Director of the University Office for Commercial
29                             Ventures and Intellectual Property and to the Conflicts
30                             Committee.

31                             When Faculty Members are negotiating consulting
32                             arrangements with non-University entities they should keep
33                             in mind that under the University Intellectual Property
34                             Policy, the University will be the presumed owner of any
35                             patent or other intellectual property rights that arise in the
36                             course of consulting work or other Outside Activities if that
37                             work is the same as, is directly related to, or is substantially
38                             similar to a research project in which that Faculty Member
39                             is engaged at the University. In order to avoid potential
40                             ownership disputes and liability, Faculty Members are
41                             strongly encouraged to consult with the Associate Provost
42                             for Research and Economic Development to ensure that


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 1                                 Outside Activities are outside the scope of the University
 2                                 Intellectual Property Policy.

 3                       (2)       Standard Form Rider - The CVIP will make available
 4                                 standard form riders, to be attached to all written
 5                                 agreements to undertake Outside Activities entered into by
 6                                 a Faculty Member, which will describe the intellectual
 7                                 property rights of the University, and which will contain an
 8                                 acknowledgment of such rights by the non-University
 9                                 entity. This rider is intended to avoid potential
10                                 misunderstandings and disputes regarding ownership of
11                                 intellectual property developed by the Faculty Member.
12                                 The University strongly encourages use of this standard
13                                 form rider.

14          3.    Interpretation and Evaluation

15                The President or the President’s designee will have authority to interpret
16                this Policy. Periodically, but at least every three (3) years, the President or
17                the President’s designee will conduct an evaluation of this Policy and
18                formulate amendments for the consideration of the Trustees of the
19                University.

20          4.    Enforcement

21                The Associate Provost for Research and Economic Development may
22                refer any matter to the appropriate University official for disciplinary or
23                other appropriate action. If a matter involves a Conflict of Interest under
24                the University Policy on Conflicts of Interest Relating to Intellectual
25                Property and Commercial Ventures, the Associate Provost for Research
26                and Economic Development shall refer the matter to the Conflicts
27                Committee.

28          5.    Appeals

29                A Faculty Member may request that the Associate Provost for Research
30                and Economic Development review any decision of the member’s
31                Department Chair concerning Outside Activities. A Faculty Member may
32                appeal any decision of the Associate Provost for Research and Economic
33                Development by requesting a review of the decision by the President or
34                the President’s designee. The decision of the President shall be final.

35          6.    Other Policies

36                As noted above, Outside Activities may involve other University policies,
37                such as the Intellectual Property Policy, the Policy on Conflicts of Interest
38                Relating to Intellectual Property and Commercial Ventures, and the Policy
39                on Compensation for Certain Additional Professional Services (to the

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 1                 extent not superseded by this Policy). Faculty Members should refer to
 2                 these other policies as necessary.

 3          7.     The University acknowledges that the Outside Activities of law faculty
 4                 members may involve confidential information that is protected by the
 5                 attorney-client privilege. The Rules of Professional Conduct may prohibit
 6                 the disclosure of this information to the University in the furtherance of
 7                 the Outside Activities policy. Should the University claim that the
 8                 assertion of a privilege by a faculty member is improper, both parties shall
 9                 exercise good faith towards each other and shall seek a resolution of the
10                 question through the Board of Bar Overseers and, if necessary, appropriate
11                 judicial action. A law faculty member shall not be penalized in any
12                 manner for the assertion of privilege unless the University shows that the
13                 assertion was unsubstantiated by the law and was raised in bad faith.
14
15     N.   THE UNIVERSITY OF MASSACHUSETTS POLICY ON CONFLICTS OF
16          INTEREST

17          Under most circumstances, conflicts of interest involving individuals associated
18          with the University are addressed by Chapter 268A of the Massachusetts General
19          Laws, which governs the conduct of public officials and employees. However,
20          pursuant to Massachusetts General Laws Ch. 75 §14A, in the area of intellectual
21          property and technology transfer this policy is controlling. In matters not
22          addressed by this policy, the provisions of Chapter 268A apply.

23          1.     Definitions

24                 As used in this Policy, the following words shall have the following
25                 meanings:

26                 a)     Chair - The Chairperson of the Conflicts Committee, as described
27                        in detail below.

28                 b)     Clinical Research - Research involving human subjects.

29                 c)     Company - Any corporation, partnership, association, or other
30                        legal entity, excluding entities controlled by the United States
31                        government, the Commonwealth of Massachusetts, and the
32                        University. A Company shall include all affiliates and other
33                        associated entities.

34                 d)     Conflict of Interest - (i) An actual or potential conflict between the
35                        personal interests of a Covered Individual and the interests of the
36                        University or the public or (ii) the reasonable appearance of such a
37                        conflict to the public. The University recognizes that the mere
38                        existence of a conflict of interest is not improper, but could lead to
39                        apparent or actual improper behavior. This Policy seeks to manage
40                        conflicts of interest to minimize both the appearance of improper

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 1                      behavior and the harm that could result from actual improper
 2                      behavior. The University does not require disclosure and review of
 3                      every Conflict of Interest, but only those involving a Financial
 4                      Interest and certain situations, as described below.

 5                e)    Conflicts Committee - A five-campus committee that reviews and
 6                      manages conflicts of interest, as further described in paragraph 2
 7                      below.

 8                f)    Covered Individual - Any individual associated with the
 9                      University, including without limitation faculty, staff, and students,
10                      but excluding members of the CVIP and Vice Chancellors for
11                      Research. Anyone who is not a Covered Individual remains subject
12                      to the more restrictive provisions of Mass. Gen. Laws Ch. 268A.

13                g)    CVIP - The University Office of Commercial Ventures and
14                      Intellectual Property.

15                h)    Director - The Executive Director of the CVIP.

16                i)    Equity - All ownership interests in a Company and all rights to
17                      obtain ownership interests in a Company, including without
18                      limitation common or preferred stock, warrants, options, and
19                      partnership units, and also including compensation arrangements
20                      based on equity performance (e.g., phantom stock). “Equity” does
21                      not include ownership interests that are held through publicly-
22                      traded mutual funds.

23                j)    Financial Interest - A Significant Financial Interest or Substantial
24                      Financial Interest, both as defined below.

25                k)    Non-Equity Compensation - All compensation other than Equity
26                      that is provided by a Company or contractually promised by a
27                      Company, including without limitation salary, gifts, royalties,
28                      consulting fees, honoraria, goods, services, and travel expenses.
                        “
29                        Non-Equity Compensation” does not include compensation that is
30                      provided by the University pursuant to (i) its Intellectual Property
31                      Policy or by another educational or research institution pursuant to
32                      a similar policy or (ii) University-approved research funding.

33                l)    Significant Financial Interest - Has either of the following
34                      meanings.

35                      (1)    Clinical Research - In relation to Clinical Research that is
36                             performed or directed by a Covered Individual, “Significant
37                             Financial Interest” means (i) any Equity in a Company that
38                             is directly owned by, or is under the control of, a Covered
39                             Individual or a member of the individual’s immediate

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 1                             family or (ii) Non-Equity Compensation from a Company
 2                             in an aggregate amount greater than $1,000 within the prior
 3                             twelve-month period that is directly or indirectly received
 4                             by or contractually promised to a Covered Individual or a
 5                             member of the individual’s immediate family.

 6                      (2)    Non-Clinical Research - In relation to research other than
 7                             Clinical Research that is performed or directed by a
 8                             Covered Individual, 1”Significant Financial Interest1” means
 9                             either (i) Equity that represents more than one percent (1%)
10                             of the total equity in a Company or has a total current value
11                             of more than $10,000 that is directly owned by, or is under
12                             the control of, such Covered Individual or a member of the
13                             individual’s immediate family or (ii) Non-Equity
14                             Compensation in an aggregate amount greater than $10,000
15                             within the prior twelve-month period that is received by or
16                             contractually promised to a Covered Individual or a
17                             member of the individual’s immediate family.

18                m)    Substantial Financial Interest - Has either of the following
19                      meanings.

20                      (1)    Clinical Research - In relation to Clinical Research that is
21                             performed or directed by a Covered Individual, ”Substantial
22                             Financial Interest” has the same meaning as ”Significant
23                             Financial Interest.”

24                      (2)    Non-Clinical Research - In relation to research other than
25                             Clinical Research that is performed or directed by a
26                             Covered Individual, ”Substantial Interest” means either (i)
27                             Equity that represents more than five percent (5%) of the
28                             total equity in a Company or has a total current value of
29                             more than $100,000 that is directly owned by, or is under
30                             the control of, such Covered Individual or a member of the
31                             individual’s immediate family or (ii) Non-Equity
32                             Compensation in an aggregate amount greater than
33                             $100,000 within the prior twelve-month period that is
34                             received by or contractually promised to a Covered
35                             Individual or a member of the individual’s immediate
36                             family.

37                n)    Associate Provost for Research and Economic Development - The
38                      Associate Provost for Research and Economic Development at
39                      each campus, or where no such position exists, the Provost (or
40                      their designees).




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 1          2.    Administration of Policy

 2                a)     Philosophy and Authority of Conflicts Committee

 3                       The University assumes that its faculty and staff act with the
 4                       highest level of personal responsibility, integrity and commitment
 5                       to the University. Nevertheless, complex situations can arise
 6                       involving Conflicts of Interest that require specialized knowledge
 7                       and a multi-disciplinary, problem-solving approach. Therefore, the
 8                       Committee will have the authority on behalf of the University to
 9                       review conflicts disclosures and to dispose of conflicts involving
10                       Financial Interests in a fair and objective manner, utilizing the
11                       knowledge and judgment of Committee members and other
12                       resources the Committee desires to access. The Committee will
13                       have broad discretion in resolving Conflicts of Interest. Over time,
14                       decisions made by the Committee may become precedents that will
15                       be used for guidance by the Committee to assure continued
16                       principled decision making. Some decisions may periodically be
17                       communicated (in a non-identified fashion) to faculty and staff in
18                       the form of advisories or guidelines. It is anticipated, for example,
19                       that promptly after its formation the Committee will establish and
20                       distribute advisories regarding typical Conflict of Interest
21                       situations with their appropriate resolution.

22                       The Committee has no authority with regard to Conflicts of
23                       Interest that do not involve a Significant Financial Interest or
24                       Substantial Financial Interest. All Conflicts of Interest outside the
25                       authority of the Committee are left entirely to campus-based
26                       procedures (if any).

27                b)     The Conflicts Committee

28                       This Policy will be administered by a thirteen-member, University-
29                       wide Committee consisting of one member of the faculty at each
30                       campus appointed under procedures established by the campus; the
31                       Associate Provost for Research and Economic Development or the
32                       Vice Chancellor’s designee at each campus; the President or the
33                       President’s designee; and two non-voting members who the
34                       President may appoint from outside the University. The Provost
35                       will appoint the UMass Dartmouth faculty member to the Conflicts
36                       Committee. The appointed faculty member will ordinarily come
37                       from either the Science or Engineering Academic Council,
38                       depending on the overall composition of the Conflicts Committee,
39                       and the nature of the cases being considered. The President shall
40                       annually select the Chair of the Committee from among the voting
41                       members. The faculty members of the Committee shall serve three
42                       year terms and may not serve more than two consecutive terms.


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 1                         The Committee shall meet on a regular basis. The Associate
 2                         Provost for Research and Economic Development shall collect
 3                         disclosures on each campus, and the Chair shall be responsible for
 4                         collecting disclosure forms from the Vice Chancellors of Research,
 5                         distributing forms in advance of meetings, scheduling meetings,
 6                         and setting the agenda. Members may participate in meetings using
 7                         voice or video-conferencing technology, provided that all members
 8                         shall receive advance notice of all meetings. Decisions of the
 9                         Committee will be made by a majority of the Committee’s voting
10                         members in as expeditious a manner as possible and will be
11                         recorded in written minutes.

12                         The Director and the General Counsel or their respective designees
13                         may attend all meetings of the Committee. The Director and the
14                         General Counsel shall be informed of the date, time and place of
15                         all meetings in the same fashion as Committee members and shall
16                         be furnished with all information provided to Committee members.

17          3.    Policy

18                a)       Disclosure of Financial Interests

19                         All Covered Individuals must disclose a Significant or Substantial
20                         Financial Interest to the Associate Provost for Research and
21                         Economic Development or the Vice Chancellor’s designee in
22                         situations in which the Financial Interest may present a Conflict of
23                         Interest involving the use of students, technology transfer activities
24                         or the outcome of research that is performed or directed by that
25                         Covered Individual with significant use of University funds,
26                         facilities or equipment. In addition, some federal agencies and non-
27                         profit organizations may require disclosure of a Financial Interest
28                         under certain circumstances. The CVIP will prepare appropriate
29                         disclosure forms and make them available on campus.

30                         The following situations require disclosure at the time noted in
31                         each paragraph:

32                         (1)    Company-Sponsored Research Proposals - If a Covered
33                                Individual intends to perform or direct Company-sponsored
34                                research at the University, and if the Covered Individual
35                                has a Financial Interest in that Company, or has received a
36                                Financial Interest from that Company, then the Financial
37                                Interest should be disclosed to the Associate Provost for
38                                Research and Economic Development and allowed in
39                                accordance with this Policy before the Covered Individual
40                                submits to the University a proposal relating to such
41                                research.


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 1                      (2)   Company-Sponsored Research - If a Covered Individual
 2                            performs or directs Company-sponsored research at the
 3                            University, and if the Covered Individual intends to receive
 4                            or actually receives a Financial Interest in that Company or
 5                            from that Company at any time (i) during the conduct of
 6                            the research or (ii) within one year after cessation of the
 7                            research, then the Financial Interest must be disclosed to
 8                            the Associate Provost for Research and Economic
 9                            Development and allowed in accordance with this Policy
10                            before it is received, if possible, or immediately after it is
11                            received, if prior disclosure is impossible.

12                      (3)   Government and Non-Profit Institution Grant Applications
13                            - In general, if a Covered Individual intends to submit an
14                            application for research funding from a U.S. Government
15                            agency or a non-profit institution, then the Covered
16                            Individual must comply with any disclosure and approval
17                            procedures required by the agency or institution in
18                            connection with such application. For example, in order to
19                            comply with Public Health Service and National Science
20                            Foundation requirements, the University requires that a
21                            Covered Individual first disclose to the Associate Provost
22                            for Research and Economic Development and obtain
23                            approval of (i) certain of the individual’s Financial Interests
24                            that would reasonably appear to be affected by the
25                            proposed research and (ii) certain of the individual’s
26                            Financial Interests in any Company whose financial
27                            interests would reasonably appear to be affected by the
28                            proposed research.

29                      (4)   Government and Non-Profit Institution-Funded Research -
30                            If a Covered Individual performs or directs research that is
31                            funded directly or indirectly by a U.S. Government agency
32                            or a non-profit institution, the Covered Individual must
33                            comply with any disclosure and approval procedures
34                            required by the agency or institution in connection with
35                            such funding. For example, in order to comply with Public
36                            Health Service and National Science Foundation
37                            requirements, the University requires that if a Covered
38                            Individual intends to receive or actually receives (i) a
39                            Financial Interest that would reasonably appear to be
40                            affected by the proposed research or (ii) a Financial Interest
41                            in any Company whose financial interests would
42                            reasonably appear to be affected by the proposed research,
43                            then the Financial Interest must be disclosed to the
44                            Associate Provost for Research and Economic
45                            Development and allowed in accordance with this Policy

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 1                            before it is received, if possible, or immediately after it is
 2                            received, if prior disclosure is impossible.

 3                      (5)   Licensing to Certain Companies - If a Company intends to
 4                            obtain a license to University-owned intellectual property,
 5                            directly or indirectly, and if the Covered Individual who
 6                            developed, discovered, or created that intellectual property
 7                            or who is involved in negotiating the license (i) becomes
 8                            aware of such intention and (ii) has a Financial Interest in
 9                            that Company, the Financial Interest must be immediately
10                            disclosed to the Associate Provost for Research and
11                            Economic Development, who shall notify the CVIP. If the
12                            Director or a member of the CVIP staff or the Associate
13                            Provost for Research and Economic Development has such
14                            a Financial Interest, it must be disclosed to the President or
15                            the President’s designee.

16                      (6)   Involvement of Students - Although involvement of
17                            students in the outside professional activities of faculty
18                            under certain circumstances may enrich the students’
19                            educational experience, such activities have the potential to
20                            create a Conflict of Interest when the faculty member has a
21                            role in supervising the student’s research, classes, or
22                            graduate teaching work. Therefore, involvement of a
23                            student in the outside professional activities of a faculty
24                            member who has any role with respect to the academic
25                            progress of the student may only be undertaken after
26                            disclosure to and approval of the Department Chair. In
27                            addition, if a faculty member intends to receive or actually
28                            receives a Financial Interest in a Company, and if the
29                            Covered Individual supervises or otherwise has control
30                            over students who will be involved in work for the
31                            Company, then the Covered Individual must disclose the
32                            Financial Interest and planned student involvement to the
33                            Associate Provost for Research and Economic
34                            Development and receive allowance in accordance with
35                            this Policy before the assistance of students in such work
36                            commences, even if approved by the Department Chair.

37                      (7)   Changes to a Financial Interest - All Covered Individuals
38                            must disclose significant changes in previously disclosed
39                            Financial Interests. A Financial Interest that becomes a
40                            Substantial Interest is always considered a significant
41                            change.

42                b)    Management of Conflicts



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 1                      Covered Individuals are generally prohibited from having a
 2                      Conflict of Interest that is discloseable under Section IV A unless
 3                      the University has reviewed and allowed both the activity and the
 4                      Financial Interest. There are two different procedures for review
 5                      and allowance of these Conflicts of Interest, as set forth below. If a
 6                      Conflict of Interest involves a Substantial Financial Interest, it
 7                      necessitates rigorous review that may result in prohibition or
 8                      allowance accompanied by conditions. On the other hand, if a
 9                      Conflict of Interest involves a Significant Financial Interest and
10                      not a Substantial Financial Interest, then the Conflict of Interest
11                      ordinarily requires a less rigorous review process and ordinarily
12                      will be allowed.

13                      (1)    Expedited Review and Allowance of Conflicts - If a
14                             Conflict of Interest does not involve a Substantial Financial
15                             Interest, then the Conflict of Interest will ordinarily receive
16                             expedited review and allowance. Under this expedited
17                             procedure, the Associate Provost for Research and
18                             Economic Development member of the Committee will
19                             review the disclosures submitted by Covered Individuals at
20                             the Vice Chancellor’s campus and either grant preliminary
21                             allowance or recommend review by the full Committee. All
22                             Conflicts of Interest that are granted preliminary allowance
23                             will be placed on a list that is provided to the full
24                             Committee. The Chair of the Committee may select
25                             disclosures on the list for review by the full Committee on
26                             the regular agenda; all disclosures not selected will be
27                             finally allowed at the conclusion of the meeting. The
28                             Committee may establish conditions to manage certain
29                             categories of these Conflicts of Interest under special or
30                             unusual circumstances.

31                      (2)    Full Review and Allowance of Conflicts - If a Conflict of
32                             Interest involves a Substantial Financial Interest, the
33                             Associate Provost for Research and Economic
34                             Development member of the Committee will forward the
35                             disclosure to the Chair for inclusion on a Committee
36                             meeting agenda. The Chair will also include on the meeting
37                             agenda any other disclosures that have been selected by the
38                             Associate Provost for Research and Economic
39                             Development as appropriate for full review. The Conflicts
40                             Committee will regularly review and dispose of all such
41                             Conflicts of Interest as described in detail below, as
42                             expeditiously as possible.

43                             (a)     Interim Measures - The Conflicts Committee or its
44                                     Chair, in consultation with the Associate Provost for

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 1                                 Research and Economic Development of the
 2                                 campus, may impose any measures that it finds
 3                                 necessary or desirable to preserve the existing
 4                                 situation until a formal review is completed. Such
 5                                 measures may allow a Conflict of Interest to exist,
 6                                 with or without conditions, while a formal review is
 7                                 pending.

 8                           (b)   Review of Conflicts - The Conflicts Committee will
 9                                 formally review all conflicts disclosures that (i)
10                                 involve a Substantial Financial Interest, (ii) are
11                                 recommended for full review by the Associate
12                                 Provost for Research and Economic Development,
13                                 or (iii) are selected by the Chair from the list of
14                                 other disclosures for expedited review. In the case
15                                 of a Conflict of Interest involving a Substantial
16                                 Financial Interest, the Conflicts Committee will
17                                 ordinarily permit such a Conflict of Interest to exist
18                                 only under certain conditions, which are intended to
19                                 minimize any harm that could result from the
20                                 Conflict of Interest.

21                           (c)   Disposition of Conflicts - After completing the
22                                 formal review, the Conflicts Committee may decide
23                                 upon one or more of the following dispositions:

24                                 (1)    postpone consideration of the matter
25                                        pending further information or investigation;

26                                 (2)    allow a Conflict of Interest because the
27                                        circumstances require no action;

28                                 (3)    allow a Conflict of Interest with conditions,
29                                        such as

30                                        •    public disclosure of the Financial
31                                             Interest in publications describing the
32                                             research results;

33                                        •    independent monitoring of the research;

34                                        •    modification of the research plan;

35                                        •    imposition of a holding period on the
36                                             stock or other security in the case of a
37                                             Financial Interest consisting of Equity,
38                                             which will minimize the appearance of


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 1                                                    influence on the outcome of the
 2                                                    research; or

 3                                        (4)     prohibit a Conflict of Interest with
 4                                                compliance steps to remove the conflict,
 5                                                such as

 6                                                •   divestiture of the Financial Interest;

 7                                                •   disqualification of the Covered
 8                                                    Individual from the research.

 9                                                In addition to the above, the Committee may
10                                                refer the matter to the appropriate University
11                                                official or committee for disciplinary action
12                                                or other appropriate action.

13          4.    Public Statements

14                A number of problems may be posed when statements are made by
15                scientists about research before the research has been publicized in
16                scholarly journals or symposia, when the scientist has a Financial Interest
17                in a Company that stands to benefit from the research. In order to avoid
18                any such occurrences at the University, all Covered Individuals who
19                perform or direct research for a Company in which they have a Financial
20                Interest must refrain from making public statements about the results of
21                any research relating to that disclosure prior to (i) publication of the results
22                in a recognized scholarly journal or (ii) presentation of the results at a
23                recognized scholarly meeting. The Associate Provost for Research and
24                Economic Development may make exceptions to this rule in appropriate
25                cases. This restriction applies whether or not the University allows an
26                activity that presents a Conflict of Interest to continue after review.

27          5.    Appeals

28                A Covered Individual may appeal an initial decision of the Committee by
29                requesting a rehearing of the matter. The rehearing shall occur at the next
30                regularly scheduled meeting of the Conflicts Committee. At the rehearing,
31                the Covered Individual may personally appear before the Committee and
32                shall have the right to be accompanied by counsel or a union
33                representative. The Committee shall establish written procedures for the
34                conduct of rehearings. The Committee shall issue a reconsidered decision
35                promptly after the conclusion of the rehearing.

36                A Covered Individual may appeal an initial decision of the Committee or a
37                decision made by the Committee after a rehearing, in each case by
38                requesting a review of the decision by the President or the President’s
39                designee. At the President’s discretion, such appeal may be a review of the

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1                    documentary record of the decision or may include a meeting with the
2                    Covered Individual and member(s) of the Committee. The decision of the
3                    President shall be final.

4            6.      Periodic Review of Policy

5                    At least every three years following adoption of this Policy, the Conflicts
6                    Committee will conduct an evaluation of this Policy and, if necessary
7                    formulate amendments for consideration by the President of the
8                    University.

 9     The Policy on Conflicts of Interest Relating to Intellectual Property and Commercial
10     Ventures (the “Policy”) attached as Appendix B to this Agreement is hereby adopted at
11     the University of Massachusetts Dartmouth.

12     With respect to conflicts of interest outside the scope of the Policy, such conflicts will
13     continue to be governed by the State Ethics Law, Massachusetts General Laws Chapter
14     268A.

15     O.    PARKING FEE

16     Following execution of this Agreement, at the request of either party, the parties shall
17     meet and negotiate concerning a parking fee for parking of employee vehicles on
18     university property. Such negotiations shall be with all unions representing employees at
19     the University of Massachusetts Dartmouth, or only with the Faculty Federation, at the
20     option of the University.

21     P.    LEGAL MALPRACTICE INSURANCE

22           1.      The University shall provide legal malpractice insurance protection of no
23                   less than $1,000,000.00 per incident coverage for (a) Federation members
24                   who work with any of the legal clinics operated by the Law School, (b)
25                   Federation members who supervise a Field Placement or Coordinated
26                   Field Placement course at the Law School, and (c) Federation members at
27                   the Law School who engage in legal work in furtherance of their
28                   obligations to engage in public service activities pursuant to Article
29                   VII(A)(4).

30           2.      Notwithstanding the above, the University may choose not to provide
31                   coverage if the Federation member receives direct, individual
32                   compensation for legal services rendered in addition to or substitution for
33                   wages paid by the University.

34           3.      If the coverage provided is not in the name of each covered Federation
35                   member, the University shall cause a certificate of insurance in the name
36                   of a covered Federation member to be provided upon request of a covered
37                   individual.


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1                                      ARTICLE IX
2                                   SABBATICAL LEAVE

3      A.   PURPOSE AND GOAL

 4          1.    The University shall award sabbatical leaves for the purpose of supporting
 5                and encouraging scholarship (research or professional activity) on the part
 6                of individual faculty members and librarians in order to strengthen the
 7                academic programs of the University. Or in the case of law faculty
 8                members, a sabbatical leave may also be granted for the purpose of
 9                enhancing clinical skills (such as pro bono trial work, judicial clerkships,
10                etc.).

11          2.    The criteria upon which the merit of sabbatical leaves shall be judged shall
12                be the quality of the proposed scholarship, the capacity of the applicant to
13                conduct the work, reports on previous sabbatical leaves by the applicant,
14                and the likelihood of the completion of the proposed project. The
15                University shall make every effort to approve all meritorious sabbatical
16                leave applications so that faculty/librarians can have a reasonable
17                expectation that they will receive a sabbatical leave every seven years,
18                assuming the submission of a meritorious sabbatical application. In order
19                to facilitate this outcome, it is expected that departments, who have
20                faculty/librarians on sabbatical leave, will normally meet their
21                instructional/work responsibilities without requesting replacement
22                funding. Exceptions would include, but not be limited to, departments
23                with a) a small number of faculty or b) a relatively large proportion of
24                required courses for their degree programs and library divisions providing
25                a relatively large proportion of essential services.

26     B.   APPLICATION PROCEDURES

27          1.    Each applicant for sabbatical leave shall propose a program of scholarship
28                or professional activity, which is capable of being substantially advanced
29                by means of the leave. The applicant shall indicate the nature of the
30                program, its present state of development, and, in some detail, plans for
31                advancing the program during the leave. A standard application form shall
32                be utilized by all applicants who shall also submit (a) their curriculum
33                vitae, (b) detailed information concerning previous reductions in teaching
34                responsibilities in order to engage in research, scholarship or professional
35                activity including all leaves of absence and (c) description of their
36                proposed program of scholarship or professional activity with information
37                concerning arrangements as the place at which their work is to be carried
38                out.

39          2.    Each applicant for sabbatical leave shall, by October 1 in the year prior to
40                the academic year in which the sabbatical is being requested, submit their
41                application to the Chair of the department in which the applicant holds


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 1                rank for review by the department’s faculty evaluation committee (FEC).
 2                In consultation with the Chair, the FEC shall (1) evaluate the merit of each
 3                sabbatical leave application in the department and (2) recommend the
 4                approval or disapproval of each application and forward it the to the
 5                College Dean. The Chair shall prepare a cover letter to accompany the
 6                FEC’s recommendations, which shall contain any request for replacement
 7                funding. Any disagreement between the majority of the FEC and the
 8                Department Chair with respect to recommending or not recommending a
 9                particular application for approval shall be resolved at the department
10                level whenever possible. Otherwise, they shall be reported in detail to the
11                College Dean. The Department Chair shall notify each applicant, in
12                writing, concerning the FEC’s recommendation and the Chair’s
13                recommendation. A notification of negative recommendation shall contain
14                a detailed statement of the reasons. A request for reconsideration of either
15                the FEC’s recommendation or the Chair’s recommendation shall be filed
16                within 10 days of the date that the applicant receives notification from the
17                Chair of the FEC’s and Chair’s recommendations. They shall be heard
18                within the department in accordance with department policies, prior to the
19                start of the review by the College Dean.

20          3.    The department chair shall forward all sabbatical applications to the
21                College Dean by November 1. The College Dean shall evaluate the
22                applications from all departments in the college, taking into account the
23                FEC and Chair recommendations. The Dean shall review any differences
24                of opinion referred to the dean by the departments and act in accordance
25                with her/his own best judgment on the dispute. The College Dean shall
26                notify each applicant, in writing, concerning her/his recommendation. A
27                notification of a negative recommendation shall contain a detailed
28                statement of the reasons. Appeals of the Dean’s recommendation shall be
29                filed within 10 days of the date that the applicant receives notification
30                from the dean. The Dean, prior to the review by the Provost, shall hear all
31                appeals. The Dean shall forward her/his recommendation to the Provost by
32                December 1. The Dean shall prepare a cover letter to accompany the
33                college recommendation, which shall contain any request for replacement
34                funding.

35          4.    Taking into account the recommendations of the FEC, the Department
36                Chair and the College Dean, the Provost shall evaluate all application for
37                sabbatical leave and shall notify each applicant in writing concerning
38                her/his recommendation. A notification of a negative recommendation
39                shall contain a detailed statement of the reasons. Appeals of the Provost’s
40                decision shall be filed within 10 days of the date that the applicant
41                receives notification from the Provost and the Provost shall hear all
42                appeals before forwarding her/his recommendations to the Chancellor by
43                January 1. The Chancellor by the start of the Spring semester will
44                announce the approval of sabbaticals.


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 1     C.   SABBATICAL POLICIES

 2          1.    Sabbatical leaves shall ordinarily be limited to tenured faculty members
 3                and librarians who are members of the bargaining unit.

 4          2.    Sabbatical leaves shall be granted only in connection with proposed or
 5                ongoing programs that promise to enhance the professional competence
 6                and improve the professional standing of the faculty member/librarian.

 7          3.    Sabbatical leaves ordinarily shall not be granted to faculty
 8                member/librarian in order: (a) to revise books designed primarily for use
 9                as texts, (b) to retrain or develop competencies primarily for a different
10                professional position; (c) primarily to visit various locations of general,
11                professional, or academic interest; (d) to perform full-time duties at
12                another institution similar to the duties presently performed at UMass
13                Dartmouth; (e) to complete a doctoral or other terminal degree. Sabbatical
14                leaves for a semester at full pay shall not be granted to a faculty
15                member/librarian if, during the leave, the faculty member is to undertake
16                full-time or part-time employment.

17          4.    Within 60 days following resumption of regular duties at the University,
18                the faculty member/librarian shall submit a written report to the
19                department Chair, to the dean, and to Provost, describing the personal
20                scholarly activities during the sabbatical leave. The report shall become a
21                part of each faculty member/librarian’s service record as a basis for
22                evaluation of subsequent leave requests. An individual granted a sabbatical
23                leave assumes a professional obligation to return to UMass Dartmouth for
24                a period of at least one year subsequent to the leave.

25          5.    Sabbatical leaves shall be for a) one semester at full pay, or b) one
26                academic year at half-pay or c) one semester at half-pay.

27                Sabbatical leaves for librarians shall be for a half year and shall start July
28                1 or January 1.
29
30          6.    A first sabbatical leave shall be granted only to a faculty member/librarian
31                who will have completed six years of full-time service by the time the
32                leave begins. Full-time service on a temporary appointment shall count
33                toward a sabbatical leave. Periods of time on leaves of absence without
34                pay shall normally not count toward a sabbatical leave.

35                Notwithstanding the above, all law faculty members/librarians who began
36                full-time service with the Law School before the beginning of the fall
37                2010 semester shall be split into three groups randomly. Members of the
38                first group may be granted sabbatical leave after four years of full-time
39                service as defined above by the time the leave begins, members of the
40                second group may be granted sabbatical leave after five years of full-time


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1                 service as defined above by the time the leave begins, and members of the
2                 final group may be granted sabbatical leave after six years of full-time
3                 service as defined above by the time the leave begins.
4
5           7.    A subsequent sabbatical leave may not begin before the following
6                 conditions are met for the type of sabbatical leave sought:

7                 a)     One semester at full pay: A faculty member/librarian has
8                        completed full-time service for six years (i.e., 72 months) since the
9                        end of his or her most recent sabbatical leave.

10                b)     One academic year at half-pay: A faculty member/librarian has
11                       completed full-time service for six years (i.e., 72 months) since the
12                       end of his or her most recent sabbatical leave.

13                c)     One semester at half-pay: A faculty member/librarian has
14                       completed full-time service for three years (i.e., 36 months) since
15                       the end of his or her most recent sabbatical leave.

16          8.    Faculty members/librarians may postpone, upon the request of their
17                department and the approval of the dean, an approved sabbatical leave for
18                up to three academic years. Such years will count as full-time service
19                toward the faculty member’s next sabbatical leave.

20          9.    Upon the granting of sabbatical leave, the faculty member/librarian shall
21                enter into a written agreement with the University that upon termination of
22                such leave the individual will return to the service of the University for a
23                period of one (1) year if the individual has been granted either a leave of
24                one (1) year at half pay or a leave one-half (1/2) year at full pay. In default
25                of completing such specified service, the individual will refund to the
26                Commonwealth, unless excused there from by the President, an amount
27                equal to such proportion of the salary received by the individual while on
28                leave as the amount of services not actually rendered as agreed bears to
29                the whole amount of service agreed to be rendered.




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 1                               ARTICLE X
 2                   RETRENCHMENT AND AFFIRMATIVE ACTION

 3     A.   SOLE CONTRACTUAL PROVISION

 4          This retrenchment and affirmative action provision of the Agreement between the
 5          parties constitutes the sole contractual provision covering such matters.

 6     B.   GENERAL PROVISIONS

 7          1.     The term “Retrenchment” as used in this Agreement means the layoff of
 8                 any unit member due to financial exigency and/or substantial declining
 9                 enrollment or declining enrollment in a context of financial exigency, and
10                 does not mean termination.

11          2.     The Chancellor or designee shall meet in advance to discuss with the
12                 Federation any proposed changes, including reduction, curtailment,
13                 modification or discontinuance of programs which will lead to a reduction
14                 in Unit size.

15          3.     Where a demonstrable, bona fide financial exigency requires the
16                 retrenchment of an employed unit member, the Chancellor or designee
17                 shall meet to discuss with the Federation the University’s plan for a
18                 systematic retrenchment of unit members.

19          4.     The Chancellor or designee shall demonstrate financial exigency and shall
20                 provide the Federation with accurate information, statistics or financial
21                 data related to any change or plan. It is understood, however, that this
22                 obligation shall not impose upon the University the requirement to
23                 compile information and statistics in the form requested unless such data
24                 already is compiled in that form.

25          5.     In adopting a plan or policy of retrenchment, the judgment of the Board of
26                 Trustees shall be final, except as otherwise limited by any provision of this
27                 Agreement or by applicable law. The University agrees that it will not
28                 reduce Unit size in an arbitrary, capricious or unreasonable manner.

29          6.     If retrenchment is necessary, members of the bargaining unit over sixty-
30                 five (65) years of age eligible for retirement shall be urged to retire.

31          7.     Before implementing retrenchment under this Article, and where it is
32                 clearly necessary to prevent retrenchment, the University shall (1)
33                 discontinue part-time appointments and (2) incorporate courses then
34                 currently being given under the auspices of the University Extension into
35                 the regular work.




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 1     C.   REASSIGNMENT

 2          1.    General Reassignment

 3                Whenever it shall have been determined to be necessary to retrench any
 4                unit member, such member shall, if possible, first be offered reassignment
 5                to a position with another Department of the University whenever said
 6                member is qualified under Article VIII. F., for such reassignment in terms
 7                of training and/or experience.

 8          2.    Effort to Avoid Future Retrenchment by Reassignment

 9                Whenever current enrollment trends reasonably suggest the strong
10                possibility of future retrenchment due to substantial enrollment declines in
11                the near future, the University shall make every effort to prevent the need
12                for such retrenchment in a given department by transferring faculty
13                members first to another department in the same college, if possible, or to
14                a department in another college provided, however, that said faculty
15                member can be assigned courses which that person is academically
16                qualified to teach and provided that no more senior faculty member in the
17                other department shall be displaced or terminated.

18          3.    Imminent Retrenchment Reassignment Not Under Financial Exigency

19                Should retrenchment become imminent because of substantial enrollment
20                declines that are not occurring in the context of financial exigency, the
21                University not only will follow the above steps leading to possible
22                relocation of member(s) but, within the resources available, will provide
23                reasonable expenses to cover the cost of retraining and will provide
24                reasonable reassignment time to enable the individual to fill the needs that
25                person was previously incapable of providing. Retrained faculty members
26                shall be retained in their new departments or positions only upon the
27                demonstration of competent performance. In situations not involving
28                financial exigency, first priority for relocation and retraining must go to
29                persons, if any, who were transferred to a program under the preventative
30                provisions of the previous paragraph (effort to avoid future retrenchment
31                by reassignment).

32          4.    Retrenchment Reassignment Under Financial Exigency

33                When financial exigency is involved, the Chancellor will upon request of
34                the retrenched unit member, authorize retention of such member where,
35                with limited retraining, the unit member would be able to perform in a
36                vacant position in the University.




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 1     D.   ORDER OF RETRENCHMENT

 2          If all reasonable efforts to find alternatives to retrenchment are exhausted and
 3          retrenchment is required as a last resort, the order of faculty retrenchment shall be
 4          as indicated below. It is understood that this order shall be absolute in any
 5          retrenchment situation, anything to the contrary notwithstanding.

 6          The most senior faculty, librarian or technician, as the case may be, shall be
 7          retained subject to the conditions stated below. There shall be three (3) seniority
 8          lists for members of the bargaining unit, made up as follows:

 9          1.     all persons who are members of the bargaining unit as of June 30, 1976;
10                 and

11          2.     all male non-minority persons who become members of the bargaining
12                 unit July 1, 1976 or later; and

13          3.     all minority persons and women who become members of the bargaining
14                 unit July 1, 1976 or later.

15          In the event of retrenchment, the following order of seniority will be followed:

16          1.     the persons laid off shall be from lists (2) and (3) above, in such a way as
17                 to preserve the same percentage of minorities and women within the
18                 bargaining unit as existed prior to retrenchment, with those persons with
19                 least seniority being the first laid off from each list; and

20          2.     no one from list (1) will be laid off while there are still persons on lists (2)
21                 and (3); and

22          3.     in the event that it is necessary to lay off persons on list (1), except in the
23                 most unusual circumstances, those faculty members having least seniority
24                 would be the first laid off. The most senior faculty, librarian or technician,
25                 as the case may be, shall be retained, except where the more senior faculty
26                 member is not qualified for the available work and is not eligible under
27                 paragraph C. Sections 3. or 4. for retraining.

28     E.   RECALL

29          Whenever during the term of this Agreement, it shall be necessary to fill positions
30          that are vacant in the bargaining unit due to retrenchment pursuant to this Article,
31          the most senior member, in terms of University service, shall be reappointed. Any
32          such member so reappointed shall retain all the rights and privileges accrued
33          during previous employment.




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1      F.   NOTIFICATION

 2          The University will notify the unit member affected as soon as practicable,
 3          recognizing that, when circumstances permit, the effective date of said notice will
 4          be at least one (1) year in advance. The parties further agree that where
 5          retrenchment involves financial exigency, it is understood that whenever possible
 6          in the case of tenured unit members, notification for retrenchment shall be one (1)
 7          calendar year before the effective date of such retrenchment; that the University
 8          may retrench tenured unit members in situations involving financial exigency
 9          without providing such notice upon mutual agreement to make immediate, full
10          tender of severance pay in the amount of sixty (60%) percent of the salary which
11          would have been due the retrenched individual over the next twelve (12) month
12          period if the entire notice period is dispensed with, or a proportionate amount if
13          some lesser amount of the notice is dispensed with.




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 1                                    ARTICLE XI
 2                            SALARY AND FRINGE BENEFITS
 3    PREAMBLE

 4    1.    The cost items contained in this Agreement including sections A, B, C, and D are
 5          specifically subjected to additional, complete and identifiable appropriation by the
 6          General Court and shall not become effective unless the appropriation necessary
 7          to fully fund such cost items has been enacted in accordance with Massachusetts
 8          General Laws, Chapter 150E, Section 7 and allocated by the Governor to the
 9          Board of Trustees in which case the cost items shall be effective on the dates
10          provided.

11    2.    All employees shall receive the benefit of the cost items of this Agreement in the
12          cases where those cost items are effective for state-funded employees. In the case
13          of Institute, Grant or Contract employees, support funds must be available in the
14          specific institute, grant or contract budget for the fiscal year in which payment
15          must be made.

16    3.    The Board of Trustees shall make a request for the funding of this Agreement as
17          required by Massachusetts General Laws, Chapter 150E, Section 7. In the event
18          that the additional specific, complete and identifiable funding in each year of this
19          Agreement is not fully provided, the remaining cost items shall be returned to the
20          parties for further bargaining.

21    4.    Bi-Weekly Payroll and Automatic Deposit

22          a)     The parties acknowledge that the University will be implementing new
23                 administrative computing and payroll systems. To ensure that the changes
24                 required by these systems are introduced and implemented in the most
25                 effective manner, the Faculty Federation agrees to support the University’s
26                 implementation and accepts such changes to business practices,
27                 procedures, and functions as are necessary to achieve such implementation
28                 (e.g. the change from a weekly to biweekly payroll system). The
29                 University and the Faculty Federation will establish a Special Labor-
30                 Management Committee made up of an equal number of Faculty
31                 Federation representatives and Management representatives. This
32                 committee shall be the sole forum for the parties to discuss any issues of
33                 impact to the bargaining unit arising from the implementation of the
34                 systems.

35          b)     The University and the Faculty Federation agree that all employees shall
36                 have their net salary checks electronically forwarded to an account or
37                 accounts selected by each employee.

38          c)     Given our current level of understanding of these proposals we accept
39                 them in principle providing that they become the standard across the


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 1                University, and it can be demonstrated that such procedures are in keeping
 2                with the laws of the Commonwealth.

 3     A.   SALARY SCHEDULE

 4          1.    All monies which are designated in the budget (the AA account) for the
 5                salaries of the members of the bargaining unit shall be allocated solely for
 6                such salaries. Provided, however, where the law allows under fiscal
 7                autonomy, the administration of the University may temporarily for cause
 8                use a faculty position, as designated in the AA account, for duties other
 9                than teaching after consultation with representatives of the Faculty
10                Federation.

11          2.    Only unit members who are on the payroll on the date on which the
12                appropriation funding this agreement is signed shall be considered eligible
13                for the salary rate increases below. Salary provisions applying to Part-
14                Time Lecturers are indicated in Article XV.

15          3.    Leave, Sabbatical, and Periodic Multi-Year Review Exemptions:

16                a)     Full-time members of the bargaining unit on unpaid or sabbatical
17                       leave shall be said to have met the requirements for rate increases
18                       including Merit I, Merit II, and Minimums in this Article during
19                       the period of their leave.

20                b)     Full-time members of the bargaining unit who have undergone a
21                       periodic multi-year review, and who receive a rating of Excellent
22                       Sustained Performance at three or more levels of evaluation, shall
23                       be said to have met the requirements for rate increases including
24                       Merit I, Merit II, and Minimums in this Article unless rated
25                       deficient. Individuals who receive a rating of generally satisfactory
26                       sustained performance shall be eligible for the base salary increase
27                       increment but not for any merit increase. Deficient performance in
28                       a periodic multi-year review shall disqualify the individual for any
29                       salary rate increase for that year, but in subsequent years progress
30                       toward the fulfillment of a development plan shall be considered
31                       during the annual evaluation.

32          4.    Salary increases for all full-time members of the bargaining unit shall be
33                as follows and shall be applied in the order as outlined below:

34                a)     Period July 1, 2017 through June 30, 2018:

35                       (1)     Definitions

36                               (a)     The terms, "state tax revenues," "budgeted
37                                       revenues" and "budgetary funds" shall have the


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 1                                   meanings assigned to those terms in M.G.L., Ch. 29,
 2                                   sec. 1.

 3                            (b)    For the purposes of this section, "tax revenues"
 4                                   shall mean, for any given fiscal year, state tax
 5                                   revenues that count as budgeted revenues in the
 6                                   budgetary funds, as reported by the Commissioner
 7                                   of Revenue on a preliminary basis in July following
 8                                   the end of the fiscal year, subject to any final
 9                                   technical adjustments made prior to August 31. Tax
10                                   revenues shall include taxes that are transferred to
11                                   the Commonwealth's Pension Liability Fund, the
12                                   Massachusetts Bay Transportation Authority State
13                                   and Local Contribution Fund, the School
14                                   Modernization and Reconstruction Trust Fund and
15                                   the Workforce Training Fund.

16                      (2)   Effective the first full pay period in July 2017, each
17                            member of the bargaining unit who was rated
18                            “Recommended” or “Highly Recommended” in the most
19                            recent annual evaluation shall receive a one percent (1%)
20                            increase to their base salary.

21                      (3)   If fiscal year 2018 tax revenues, as defined in paragraph
22                            (1), above, equal or exceed $27.072 billion, effective the
23                            full first pay period in July 2017, each member of the
24                            bargaining unit who was rated “Recommended” or “Highly
25                            Recommended” in the most recent annual evaluation shall
26                            receive a one percent (1%) increase to their base salary.

27                      (4)   To be eligible for the salary increase contained in this
28                            paragraph, an employee must be on the payroll, including
29                            any authorized leave of absences, on the effective date of
30                            such salary increase and either a) on the payroll during the
31                            paid period during which such salary increase is
32                            implemented; or b) retired, deceased, or laid off after the
33                            effective date of such salary increase. Employees who leave
34                            the university voluntarily or are discharged for cause after
35                            the effective date of the salary increase are not eligible for
36                            any increase or any retroactive pay; provided that, for any
37                            member of the bargaining unit who was on the payroll on
38                            or after January 1, 2018, for the salary increases effective in
39                            July 2017, the provisions contained in this paragraph shall
40                            be suspended.

41                      (5)   Effective September 1, 2014, individuals who were
42                            promoted during the previous academic year shall receive a


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1                              salary rate increment. Promotion amounts are $3000 for
2                              promotion to Senior Lecturer, $3400 for promotion to
3                              Assistant Professor, Assistant Librarian, Law Assistant
4                              Librarian, or Professional Technician III, $7000 for
5                              promotion to Associate Professor, Associate Librarian, Law
6                              Associate Librarian, or Professional Technician II, $9000
7                              for promotion to Chancellor Professor, Professor, Librarian,
8                              Law Librarian, or Professional Technician I.

 9                      (6)    Effective September 1, 2017, Minimums Adjustments.
10                             Full-time members of the bargaining unit whose salary is
11                             less than the minimum salary for the various ranks shall
12                             have their salary rate increased to the appropriate
13                             minimum. Minimums effective September 1, 2017 are:
14                             Full-Time Lecturer, $55,817; Instructor, $55,817; Assistant
15                             Professor, $59,922 Associate Professor, $70,174; Professor,
16                             $87,520; Chancellor Professor, $93,409; Library Assistant,
17                             $51,251; Assistant Librarian, $59,922; Assistant Law
18                             Librarian, $59,922; Associate Librarian, $70,174; Law
19                             Associate Librarian, $70,174; Librarian, $87,520; Law
20                             Librarian, $87,520; Professional Technician IV, $51,882;
21                             Professional Technician III, $59,135; Professional
22                             Technician II, $67,019; Professional Technician I, $71,750.
23                             The minimums effective on this date shall apply to all
24                             individuals in rank and to those who will be in a new rank,
25                             September 1, 2017.

26                b)    Period July 1, 2018 through June 30, 2019:

27                      (1)    Effective the first full pay period in July 2018, each
28                             member of the bargaining unit who was rated
29                             “Recommended” or “Highly Recommended” in the most
30                             recent annual evaluation shall receive a two percent (2%)
31                             increase to their base salary.

32                      (2)    To be eligible for the salary increase contained in paragraph
33                             (1), above, an employee must be on the payroll, including
34                             any authorized leave of absences, on the effective date of
35                             such salary increase and either a) on the payroll during the
36                             paid period during which such salary increase is
37                             implemented; or b) retired, deceased, or laid off after the
38                             effective date of such salary increase. Employees who
39                             leave the university voluntarily or are discharged for cause
40                             after the effective date of the salary increase are not eligible
41                             for the increase or any retroactive pay.




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 1                      (3)    Effective September 1, 2014, individuals who were
 2                             promoted during the previous academic year shall receive a
 3                             salary rate increment. Promotion amounts are $3000 for
 4                             promotion to Senior Lecturer, $3400 for promotion to
 5                             Assistant Professor, Assistant Librarian, Law Assistant
 6                             Librarian, or Professional Technician III, $7000 for
 7                             promotion to Associate Professor, Associate Librarian, Law
 8                             Associate Librarian, or Professional Technician II, $9000
 9                             for promotion to Chancellor Professor, Professor, Librarian,
10                             Law Librarian, or Professional Technician I.

11                      (4)    Effective September 1, 2018, Minimums Adjustments.
12                             Full-time members of the bargaining unit whose salary is
13                             less than the minimum salary for the various ranks shall
14                             have their salary rate increased to the appropriate
15                             minimum. Minimums effective September 1, 2018 are:
16                             Full-Time Lecturer, $57,652; Instructor, $57,652; Assistant
17                             Professor, $61,893; Associate Professor, $72,482;
18                             Professor, $90,398; Chancellor Professor, $96,480; Library
19                             Assistant, $52,936; Assistant Librarian, $61,893; Assistant
20                             Law Librarian, $61,893; Associate Librarian, $72,482; Law
21                             Associate Librarian, $72,482; Librarian, $90,398; Law
22                             Librarian, $90,398; Professional Technician IV, $53,588;
23                             Professional Technician III, $61,080; Professional
24                             Technician II, $69,223; Professional Technician I, $74,109.
25                             The minimums effective on this date shall apply to all
26                             individuals in rank and to those who will be in a new rank,
27                             September 1, 2018.

28                c)    Period July 1, 2019 through June 30, 2020:

29                      (1)    Effective the full first pay period in July 2019, each
30                             member of the bargaining unit who was rated
31                             “Recommended” or “Highly Recommended” in the most
32                             recent annual evaluation shall receive a two percent (2%)
33                             increase to their base salary.

34                      (2)    To be eligible for the salary increase contained in paragraph
35                             (1), above, an employee must be on the payroll, including
36                             any authorized leave of absences, on the effective date of
37                             such salary increase and either a) on the payroll during the
38                             paid period during which such salary increase is
39                             implemented; or b) retired, deceased, or laid off after the
40                             effective date of such salary increase. Employees who
41                             leave the university voluntarily or are discharged for cause
42                             after the effective date of the salary increase are not eligible
43                             for the increase or any retroactive pay.

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 1                       (3)    Effective September 1, 2014, individuals who were
 2                              promoted during the previous academic year shall receive a
 3                              salary rate increment. Promotion amounts are $3000 for
 4                              promotion to Senior Lecturer, $3400 for promotion to
 5                              Assistant Professor, Assistant Librarian, Law Assistant
 6                              Librarian, or Professional Technician III, $7000 for
 7                              promotion to Associate Professor, Associate Librarian, Law
 8                              Associate Librarian, or Professional Technician II, $9000
 9                              for promotion to Chancellor Professor, Professor, Librarian,
10                              Law Librarian, or Professional Technician I.

11                       (4)    Effective September 1, 2019, Minimums Adjustments.
12                              Full-time members of the bargaining unit whose salary is
13                              less than the minimum salary for the various ranks shall
14                              have their salary rate increased to the appropriate
15                              minimum. Minimums effective September 1, 2019 are:
16                              Full-Time Lecturer, $59,487; Instructor, $59,487; Assistant
17                              Professor, $63,863 Associate Professor, $74,789; Professor,
18                              $93,276; Chancellor Professor, $99,551; Library Assistant,
19                              $54,621; Assistant Librarian, $63,863; Assistant Law
20                              Librarian, $63,863; Associate Librarian, $74,789; Law
21                              Associate Librarian, $74,789; Librarian, $93,276; Law
22                              Librarian, $93,276; Professional Technician IV, $55,294;
23                              Professional Technician III, $63,024; Professional
24                              Technician II, $71,427; Professional Technician I, $76,468.
25                              The minimums effective on this date shall apply to all
26                              individuals in rank and to those who will be in a new rank,
27                              September 1, 2019.

28          5.    Each person at the rank of Professor, Chancellor Professor, or Librarian
29                who has completed a PMYR process with an overall rating of Excellent
30                Sustained Performance shall receive a rate increase of $2000. Each person
31                who completes the PMYR process with an overall rating of Generally
32                Satisfactory Performance or Deficient Performance shall not receive a rate
33                increase.

34          6.    Permanent Part-time Employees

35                a)     A permanent part-time employee shall be entitled to the provisions
36                       of this Article in the proportion that the employee’s service bears to
37                       full-time service.

38                b)     Permanent part-time employees, for purposes of this Article, shall
39                       be defined as members of the bargaining unit employed as of June
40                       30, 1983, and still employed as of the date of the signing of this
41                       Agreement, and who work fifty (50%) percent or more of the full-
42                       time workload, as defined in this Agreement.


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 1          7.    Department Chairpersons’ and Library Division Heads’ Stipend

 2                Each Chairperson of an academic department shall receive an annual
 3                stipend. Effective July 1, 2014, the amount of the stipend shall be $7300,
 4                with the possibility of additional differential compensation.

 5                Each Head of a Library Division shall receive an annual stipend. Effective
 6                September 1, 2017, the amount of the stipend shall be $2000, with the
 7                possibility of additional differential compensation.

 8          8.    Director and Coordinator Stipends

 9                The Provost shall annually publish a list of full-time faculty members who
10                serve as Directors or Coordinators. Effective September 1, 2017, each
11                individual on this list shall receive an annual stipend of $1500, with the
12                possibility of additional differential compensation. Failure to receive the
13                stipend shall not be grievable.

14          9.    Prior Contract

15                The parties agree that there is no outstanding obligation for monies not
16                previously disbursed for in-service or merit recognition bonuses,
17                distinguished service awards or career training under any prior agreement.

18          10.   Bona Fide Offers

19                Members of the bargaining unit in receipt of bona fide written offers of
20                employment from other institutions of higher learning will be eligible to
21                renegotiate the terms of their individual contracts. The Department
22                Faculty Evaluation Committee and the Department Chairperson shall each
23                forward a recommendation to the Dean on terms of any new contracts.
24                After conferring with the Department Chair, the Dean shall recommend
25                terms of the new contract for the approval of the Provost and the
26                Chancellor. The conditions of any new contract of employment covered
27                by the bargaining unit shall not be contrary to any provision of this
28                agreement.

29          11.   Out of Cycle Pay Increase

30                In order to retain exemplary faculty, it may on occasion be necessary to
31                provide individuals with an out-of-cycle pay increase. To be considered
32                for such an increase, an individual minimally must have been eligible for a
33                Merit II award in their last annual evaluation. Recommendations for an
34                out-of-cycle pay increase must be made by the Dean of the individual’s
35                college or school, with the written recommendation of the individual’s
36                Department Chairperson and the Department Faculty Evaluation
37                Committee. Recommendations for out-of-cycle pay increases will be
38                reviewed by a committee appointed by the Chancellor with three

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 1                 representatives selected by the Faculty Federation and three individuals
 2                 selected by the Chancellor. The Chancellor will designate the chair of the
 3                 committee and the members of the committee will serve a two year term.
 4                 The Dean, in consultation with the Department Chairperson, will prepare
 5                 the recommendation, which must include the basis for the
 6                 recommendation, the recommended increase and relevant comparative
 7                 salary information. The committee will transmit its recommendation to the
 8                 Provost within two weeks (10 working days) after receiving the
 9                 recommendation from the Dean. The Provost will review the committee’s
10                 recommendation and provide a recommendation to the Chancellor, within
11                 one week (5 working days) after receiving the committee’s
12                 recommendation. The final decision regarding the recommended out-of-
13                 cycle pay increase will be made by the Chancellor.

14          12.    Extramural Research Incentive Award

15                 Faculty members who as Principal Investigators on externally funded
16                 grants or contracts awarded after July 1, 2010 generate funds to pay a
17                 portion of their academic base salary will be entitled to an Extramural
18                 Incentive Award of twenty five percent (25%) of the salary that they
19                 generate in excess of any costs required to replace their regular workload
20                 assignment. This does not apply to grant/contract based summer salary.
21                 The Extramural Incentive Award would be paid as an annual bonus, which
22                 is not incorporated into the base salary.

23     B.   MERIT AWARDS

24          The provisions contained in this section shall be suspended during the period July
25          1, 2017 through June 30, 2020.

26          1.     MERIT I.

27                 Awards for academic years July 1, 2014 through June 30, 2017. A salary
28                 rate increment, as specified in Article XI., A(4)b(2); and Article XI,
29                 A(4)c(2) shall be paid to each full-time faculty member who has been
30                 evaluated as indicated in the annual evaluation process (Article XI, B(3)a)
31                 by the Department Chairperson and the Faculty Evaluation Committee. A
32                 salary rate increment, as specified in Article XI, A(4)b(2) and Article XI,
33                 A(4)c(2) shall be paid to each librarian who has been evaluated as
34                 indicated in the annual evaluation process (Article XI, B(3)b(1)) by the
35                 Division Chairperson and the Library Evaluation Committee. A salary rate
36                 increment, as specified in Article XI, A(4)b(2) and Article XI, A(4)c(2)
37                 shall be paid to each Professional Technician who has been evaluated as
38                 indicated in the annual evaluation process (Article XI, B(3)c(1)) by their
39                 Department Chairperson, Department Head or immediate supervisor.

40          2.     MERIT II.


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 1                Awards for the academic years July 1, 2014 to June 30, 2017. Separate
 2                amounts equal to the percent indicated of the total annual payroll of all
 3                full-time faculty, librarians, and professional technicians, as of the day
 4                prior to the effective date, shall be made available as Faculty, Professional
 5                Technicians, and Librarian Merit II Funds. The Faculty Merit II Fund shall
 6                be allocated among the Academic Departments in proportion to the
 7                number of full-time Faculty employed within each Academic Department.
 8                The Professional Technician Merit II Fund shall be allocated among the
 9                Professional Technicians. The Librarian Merit II Fund shall be allocated
10                among the librarians. Awards shall be paid only to full-time members of
11                the bargaining unit. A salary rate increment shall be paid from the Faculty
12                Merit II Fund to each full-time member who has been evaluated as
13                indicated in the annual evaluation process (Article XI, B(3)a(2)). A salary
14                rate increment shall be paid from the Librarian Merit II Fund to each
15                librarian who has been evaluated as indicated in the annual evaluation
16                process (Article XI, B(3)b(2)). A salary rate increment shall be paid from
17                the Professional Technician Merit II Fund to each Professional Technician
18                who has been evaluated as indicated in the annual evaluation process
19                (Article XI, B(3)c.2).

20          3.    DETERMINATION OF MERIT AWARDS

21                a)     For Faculty to be considered for a Merit award

22                       (1)     Merit I - Awards under this category shall be based upon
23                               the annual evaluations prepared for each member of the
24                               bargaining unit. Individuals shall receive a Merit I increase
25                               if they are Recommended or Highly Recommended by both
26                               the FEC and Chairperson. Merit I awards shall be subject to
27                               Article XVII Grievance Procedures.

28                       (2)     Merit II - Awards under this category shall be based upon
29                               the annual evaluations prepared for each member of the
30                               bargaining unit. To be eligible individuals must be Highly
31                               Recommended by the FEC, the Chairperson and the Dean.
32                               Individuals will receive Merit II awards in the amount
33                               determined by the Dean in consultation with the
34                               Department Chair. Merit II awards shall not be subject to
35                               Article XVII Grievance Procedures.

36                b)     For Librarians to be considered for a Merit award, it is necessary
37                       that the annual evaluation for the individual under consideration
38                       have at least a “Satisfactory” in all categories evaluated.

39                       (1)     Merit I. Awards under this category shall be based on the
40                               evaluation for each member of the bargaining unit.
41                               Individuals shall receive a Merit I increase if they receive


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1                              evaluations from the Librarian Evaluation Committee or
2                              Division Head at least as follows:

 3                             (a)     Excellent in Professional Effectiveness, or

 4                             (b)     Very Good in Professional Effectiveness and Very
 5                                     Good performance in one (1) other category.

 6                      (2)    Merit II. Awards under this category shall be based upon
 7                             the annual evaluations prepared for each member of the
 8                             bargaining unit. Individuals shall receive Merit II increases
 9                             if they receive evaluations from the Librarian Evaluation
10                             Committee, the Division Head and the Dean as stipulated
11                             below. The amount of the award shall be determined by the
12                             Dean in consultation with the Division Head. Merit II
13                             awards shall not be subject to Article XVII grievance
14                             procedures.

15                             (a)     Excellent in Professional Effectiveness and Very
16                                     Good performance in one (1) other category, or

17                             (b)     Very Good in Professional Effectiveness and
18                                     Excellent in one (1) other category, or

19                             (c)     Very Good in Professional Effectiveness and Very
20                                     Good in two (2) other categories.

21                c)    For Professional Technicians to be considered for a Merit award, it
22                      is necessary that the annual evaluation for the individual under
23                      consideration have at least a “Satisfactory” evaluation in all
24                      categories evaluated.

25                      (1)    Merit I - Awards under this category shall be based upon
26                             the annual evaluation prepared for each Professional
27                             Technician. Individuals shall receive a Merit I increase if
28                             they receive evaluations from the Department Chairperson,
29                             Department Head or immediate supervisor at least as
30                             follows:

31                             (a)     Excellent in Professional Effectiveness, or

32                             (b)     Very Good in Professional Effectiveness and Very
33                                     Good in one other category, or

34                             (c)     Very Good in Professional Effectiveness and
35                                     Satisfactory in two others categories.




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 1                        (2)       Merit II - Awards under this category shall be based upon
 2                                  the annual evaluation. An individual shall receive a Merit II
 3                                  increase if they receive evaluations from the Department
 4                                  Chairperson, Division Head or immediate supervisor and
 5                                  the Dean (or in the case of Professional Technicians who do
 6                                  not report to a Dean or report to more than one Dean, by
 7                                  the Provost) at least as shown below. The amount of the
 8                                  award shall be determined by the Dean in consultation with
 9                                  the Department Chairperson or Division Head (or in the
10                                  case of Professional Technicians who do not report to a
11                                  Dean or report to more than one Dean, by the Provost.
12                                  Merit II awards shall not be subject to Article XVII
13                                  grievance procedures.

14                                  (a)    Excellent in Professional Effectiveness and Very
15                                         Good in one other category, or

16                                  (b)    Very Good in Professional Effectiveness and
17                                         Excellent in one other category, or

18                                  (c)    Very Good in Professional Effectiveness and Very
19                                         Good in two others categories.

20     C.   BENEFITS

21          The members of the bargaining unit shall continue to be covered by all the fringe
22          benefits as provided by law.

23          1.     Life Insurance

24                 The Board shall continue to cover all employees of the bargaining unit
25                 under the plan now in effect during the term of this Agreement pursuant to
26                 the provisions of M.G.L.A., Ch. 32A, Sec. 5, 6, 8, 10 and 10A.

27          2.     Group Insurance

28                 The Commonwealth and each covered employee shall pay the monthly
29                 premium for the Group Health Insurance Plan in a percentage to be
30                 determined by the General Court for the type of coverage that is provided
31                 to employees and their dependents under the Plan.

32                 The parties recognize that the escalating cost of group health insurance is a
33                 matter of mutual concern. Toward that end, the parties agree to establish a
34                 labor-management committee on Health Care Cost Containment. A report
35                 of the Committee’s findings shall be filed with the Secretary of
36                 Administration and Finance.

37          3.     Worker’s Compensation

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 1                The members of the bargaining unit shall be covered by the provisions of
 2                Chapter 152 of the General Laws to the extent that the Commonwealth has
 3                acted pursuant to Section 69 thereof to include them within the coverage
 4                of said Chapter 152.

 5          4.    Travel Allowances

 6                When a member of the bargaining unit is authorized to use a personal
 7                automobile for travel related to employment or is assigned to travel status,
 8                the individual shall be reimbursed for travel and meal expenses at the
 9                amount established in the Board of Trustees/University System Travel
10                Policy.

11          5.    Payment for Accumulated Sick Leave

12                Upon retirement, any member of the bargaining unit shall receive payment
13                for accumulated sick leave for twenty (20%) percent of the total number of
14                accumulated sick days. This amount shall not be counted to calculate
15                retirement benefits. Upon the death of any member of the bargaining unit,
16                the heirs of the member shall receive payment for accumulated sick leave
17                for twenty (20%) percent of the total number of accumulated sick days of
18                the member at the time of the member’s death. This amount shall not be
19                counted to calculate retirement benefits.

20          6.    The Board of Trustees shall continue its policy of permitting the purchase
21                of annuities by members of the bargaining unit pursuant to the provisions
22                of Massachusetts G.L., c. 15, § 18A.

23          7.    Leaves of Absence

24                a)     Sick Leave

25                       All faculty members on the payroll prior to July 1, 1984, shall be
26                       granted thirteen and one-half (13- 1/2) days sick leave per year; all
27                       other faculty shall be granted ten (10) days sick leave per year.
28                       Sick leave shall accrue monthly. Up to ten (10) days sick leave
29                       may be used for illness of a family member. A renewal of contract
30                       shall be deemed a continuation of service. Sick leave not used in
31                       any year may be accumulated. When a person is absent or it is
32                       anticipated that the person will be absent due to sickness for a
33                       period in excess of two (2) calendar weeks while classes are in
34                       session, the department should be provided monies to hire a
35                       temporary replacement provided that the faculty in the department
36                       are teaching approximately the maximum contract units and
37                       provided that there are unencumbered funds in the UMass
38                       Dartmouth financial records system enumeration accounts. Faculty
39                       members shall be notified during the month of September of the
40                       amount of their accumulated sick leave.

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 1                b)    Sick Leave Accrual

 2                      A joint labor management committee shall be created with the
 3                      authority to research, design, and bargain one or more employer
 4                      sponsored systems to improve the current sick leave system for
 5                      bargaining unit members and the vacation leave system for
 6                      librarians and professional technicians in the bargaining unit. For
 7                      the duration of this Agreement, a 120 day cap on the accrual of
 8                      sick leave for employees hired on or after January 1, 2015. For the
 9                      duration of this Agreement, the current vacation leave terms will
10                      remain unchanged. If the committee fails to bargain a replacement
11                      system, the current sick leave and vacation leave systems will
12                      continue without any accrual caps.

13                c)    Funeral Leave

14                      Upon the death of the husband, wife, child, parent, spouse’s parent,
15                      brother, sister, brother-in-law or sister-in-law, step child or
16                      grandparents of any member of the bargaining unit, or of a person
17                      living in the member’s immediate household, funeral leave with
18                      full pay shall be granted for a period not exceeding four (4) days
19                      per year.

20                d)    Family Leave

21                      It is understood that the provisions of the Family and Medical
22                      Leave Act of 1993 (“FMLA”) apply to all eligible members of the
23                      bargaining unit and that when the collective bargaining agreement
24                      provides the same type of leave required under FMLA, any time
25                      spent by an employee on such contractual leave shall
26                      simultaneously be counted as FMLA leave. If the leave benefits
27                      provided in the collective bargaining agreement are less than those
28                      available under FMLA, the more generous provisions of the
29                      FMLA shall prevail. If the leave benefits provided in the collective
30                      bargaining agreement are greater than required by FMLA, the
31                      relevant provisions of the agreement shall be honored but the first
32                      12 weeks spent on such contractual leave shall, if applicable, be
33                      counted as FMLA leave.

34                      A non-tenured faculty member who becomes the biological parent
35                      or the adoptive parent of a child under three (3) years of age may
36                      submit to the Provost and copy the Dean, the Department
37                      Chairperson, and the President of the Faculty Federation a written
38                      request for an extension for one (1) year of his or her tenure
39                      decision date. A faculty member wishing to extend the tenure
40                      decision date shall notify the Provost and copy the Dean, the
41                      Department Chairperson, and the President of the Faculty


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 1                      Federation, in writing, no later than six (6) months after the birth or
 2                      adoption of the child or, if the faculty member takes a leave as
 3                      described in the paragraph above, no later than two (2) months
 4                      after the conclusion of the leave.

 5                      In the case of unpaid family leave, the unit member’s salary shall
 6                      be allocated to the department to hire a replacement, provided that,
 7                      in the case of faculty members taking such leave, the faculty
 8                      members in the department are teaching approximately the
 9                      maximum contract units; and provided that there are funds in the
10                      update to FRS account enumeration. Where the leave extends more
11                      than a single semester, the need for a replacement will be reviewed
12                      by the Department Chairperson or their immediate supervisor.

13                      Any non-tenured faculty member desiring a part-time appointment
14                      for the sole purpose of family leave shall have the part-time
15                      appointment count towards the residency requirements for tenure,
16                      on a prorated basis, if so requested.

17                      Any librarian or technician desiring a part-time appointment for
18                      the sole purpose of family leave shall have the part-time
19                      appointment count on a prorated basis towards the time required
20                      for appointment, on a prorated basis, if so requested.

21                e)    Other Leaves

22                      (1)    Military Leave Rules and Regulations

23                             Any persons in the service of the Commonwealth shall be
24                             entitled, during the time of service in the armed forces of
25                             the Commonwealth, under Section 38, 40, 41, 42, or 60, of
26                             Chapter 33, of the General laws, or during an annual tour of
27                             duty not exceeding seventeen (17) days as a member of a
28                             reserve component of the armed forces of the United States,
29                             to receive pay therefore, without loss of ordinary
30                             remuneration as an employee or official of the
31                             Commonwealth, and shall also be entitled to the same
32                             leaves of absence or vacation with pay given to other like
33                             employees or officials. (Section 59, of Chapter 33, G.L., as
34                             amended by Chapter 378, of the Acts of 1956.)

35                             Any persons in the service of the Commonwealth who are
36                             members of a reserve component of the armed forces of the
37                             United States and who are called for duty other than the
38                             annual tour of duty not exceeding seventeen (17) days shall
39                             be subject to the provision of Chapter 708 of the Acts of



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 1                           1941, as amended, or of Chapter 805 of the Acts of 1950,
 2                           and amendments thereto.

 3                           Any persons who, on or after January first, nineteen
 4                           hundred and forty shall have tendered their resignation
 5                           from an office or position in the service of the
 6                           Commonwealth, or otherwise terminated such service for
 7                           the purpose of serving in the military or naval forces of the
 8                           United States, and who do or did so serve or were or shall
 9                           be rejected for such service, shall, except as otherwise
10                           provided by Chapter 708 of the Acts of 1941, as amended,
11                           be deemed to be or to have been on military leave, and no
12                           such persons shall be deemed to have resigned from office
13                           in the service of the Commonwealth or to have terminated
14                           such service, until the expiration of two (2) years from the
15                           termination of said military or naval service.

16                           Any officers or employees of the Commonwealth
17                           appointed by the Governor with the advice and consent of
18                           the council or any employees of the Commonwealth
19                           appointed by a Commissioner of a Department, a
20                           commission or board with the approval of the Governor
21                           and Council, or any officers or employees appointed by the
22                           General Court or either branch thereof who, on or after
23                           June 25, 1950, shall have tendered their resignation from an
24                           office or position in the service of the Commonwealth for
25                           the purpose of serving in the armed forces of the United
26                           States while engaged in hostilities under the flag of the
27                           United Nations, or in a state of war arising out of and as the
28                           result of such hostilities, and who so serve shall, except as
29                           otherwise provided in Chapter 805, of the Acts of 1950,
30                           and amendments thereto, be deemed to be or to have been
31                           on leave of absence without pay and no such persons shall
32                           be deemed to have resigned from office or position in the
33                           service of the Commonwealth, or to have terminated such
34                           service, until the expiration of ninety (90) days from the
35                           termination of said service with the said armed forces;
36                           provided, however, that such service shall not be construed
37                           to include service for more than four (4) years unless such
38                           further period of service in excess of four (4) years was
39                           involuntary service required by the Government of the
40                           United States. This rule shall terminate on July 1, 1966.
41                           (Section 25, of Chapter 708, of the Acts of 1941, as
42                           amended by Chapter 544, of the Acts of 1962). (Chapter
43                           580, of the Acts of 1964). Leave of absence with pay shall
44                           be granted to persons on the occasion of appearances


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 1                            before local draft boards or draft appeal boards, or for
 2                            physical examinations ordered by said boards.

3                             A person who is rejected by the armed forces of the United
4                             States shall be granted leave of absence with pay from the
5                             time at which ordered to report to the draft board until the
6                             time of rejection, and, in addition, for such period of time,
7                             not to exceed forty-eight (48) hours, as may be required for
8                             travel in connection therewith.

9                       (2)   Court Leave

10                            Persons who are called for jury duty shall be granted court
11                            leave. Notice of service shall be filed with the Department
12                            Chairperson upon receipt of summons. (Opinion of
13                            Attorney General dated December 2, 1938.)

14                            If jury fees received by a person amount to more than the
15                            person’s regular rate of compensation, the person may
16                            retain the excess of such fees and shall turn over the regular
17                            rate of compensation together with a court certificate of
18                            service to the appointing authority, and shall be deemed to
19                            be on leave of absence with pay. If the jury fees amount to
20                            less than the person’s regular rate of compensation, the
21                            person shall be deemed to be on leave of absence with pay
22                            and shall turn over said fees with a court certificate of
23                            service to the appointing authority.

24                            Expenses reimbursed by the court for travel, meals, room
25                            hire, etc., shall be retained by the person and shall not be
26                            considered part of the jury fees.

27                            Persons who are summoned to appear as witnesses on
28                            behalf of any town, city, county, state or the federal
29                            government shall be granted court leave; provided
30                            however, if any person who is employed by the
31                            Commonwealth is summoned to appear as a witness
32                            because of the duties of an additional position whether on
33                            part-time or not with a city, town, county or federal
34                            government or otherwise, such person shall not be granted
35                            court leave with pay. Notice of service shall be filed with
36                            the Department Chairperson upon receipt of summons.

37                            Witness fees and all other fees except jury fees received for
38                            services during office hours shall be paid to the
39                            Commonwealth. Whenever a person is called for jury duty
40                            or summoned to appear as a witness and such jury duty or


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 1                            appearance occurs during the person’s vacation, there will
 2                            be no necessity to account for any fees received during
 3                            such period. Expenses reimbursed the person for travel,
 4                            meals, room hire, etc., shall be retained by the person and
 5                            shall not be considered as part of the witness fees.

 6                            When a person has been granted court leave for jury or
 7                            witness service, and is excused by proper court authority,
 8                            the person shall report back to the official place of duty
 9                            whenever the interruption in jury or witness service will
10                            permit four (4) or more consecutive hours of employment.

11                            Court leave shall affect no employment rights.

12                            Court leave shall not be granted when a person is the
13                            defendant or is engaged in personal litigation.

14                      (3)   Other Leave

15                            To permit persons who are veterans to pay tribute at the
16                            funeral in Massachusetts of veteran dead, Department
17                            Chairpersons/Library Division Heads shall grant leave of
18                            absence with pay to veterans who are members of firing
19                            squads, color details, pall bearers, buglers, or escorts
20                            participating in such services. Persons shall be entitled to
21                            leave of absence with pay for loss of time due to
22                            prophylactic inoculation required as a result of their
23                            employment. If such absence with pay exceeds one (1)
24                            week, the appointing authority shall immediately initiate a
25                            workmen’s compensation claim and further payments
26                            because of such prophylactic inoculation shall cease.

27                            Persons shall be entitled to leave of absence with pay for
28                            the period of absence due to quarantine because of
29                            exposure to contagious disease in the regular performance
30                            of duty.

31                            Leave of absence with pay may be granted persons who are
32                            delegates or alternates to state or national conventions of
33                            the following veterans’ organizations: American Legion,
34                            Disabled American Veterans, Legion of Valor, Marine
35                            Corps League, Order of the Purple Heart, Veterans of
36                            Foreign Wars, and Reserve Officers Association of the
37                            United States. Whenever such leave of absence with pay is
38                            granted to persons subject to this rule, such leave of
39                            absence will not be charged to available vacation leave
40                            credits.


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 1                            Leave of absence with pay may be granted to persons who
 2                            are officers, delegates or alternates of employee
 3                            organizations for the purpose of attending conventions of
 4                            their organizations. If a person is granted permission to
 5                            attend such a convention under this rule, the person shall be
 6                            granted leave of absence with pay and said absence shall
 7                            not be charged against available vacation leave credits.
 8                            Persons who are officers of employee organizations may be
 9                            granted leave of absence with pay to attend hearings before
10                            state legislative committees or commissions and not more
11                            than ten executive board meetings per calendar year.
12                            Persons who are officers or members of employees
13                            organizations may be granted leave of absence with pay to
14                            attend conferences with Department Chairpersons, boards
15                            or commissions in the interest of business pertinent to the
16                            membership of their organization and to the
17                            Commonwealth.

18                            Leave of absence with pay, not to exceed two hours, shall
19                            be granted to any person, who makes application to be
20                            permitted to vote in the voting precinct, ward or town in
21                            which such person is entitled to vote; provided that the hour
22                            of opening and the hour of closing of the polls at such
23                            voting place would preclude the person working regular
24                            hours of employment and traveling to or from the polls.

25                      (4)   Leave for elective stay of probationary period of
26                            employment.

27                            (a)    Any member of the bargaining unit may, for cause,
28                                   request a stay of the probationary period (time
29                                   period before consideration for tenure or other
30                                   permanent appointment), for not less than one year,
31                                   and not more than three (non-consecutive) years.
32                                   The stay of probation is not intended to affect
33                                   teaching responsibilities.

34                            (b)    The following shall constitute cause:

35                                   (1)     Significant responsibilities for elder care or
36                                           care of dependent or domestic partner;

37                                   (2)     Disability or chronic illness; or

38                                   (3)     Circumstances beyond the bargaining unit
39                                           member’s control that may significantly
40                                           affect progress toward tenure.


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 1                               (c)    The member of the bargaining unit requesting such
 2                                      a stay must submit a request, in writing with
 3                                      sufficient certification, to the Department
 4                                      Chairperson and the College Dean. Such a request
 5                                      may be made any time prior to the conclusion of the
 6                                      academic year for which a stay is requested. A
 7                                      written request must be submitted for each
 8                                      subsequent year in which a stay is requested. All
 9                                      submitted documentation is to be considered
10                                      confidential.

11                               (d)    Only the bargaining unit member has standing to
12                                      request a stay of the probationary period.

13                               (e)    Decision made in such cases shall not be grievable.

14          8.    Sick Leave Bank

15                The Sick Leave Bank established July 1, 1976 shall be maintained for the
16                benefit of all those members of the bargaining unit who shall have chosen,
17                pursuant to the terms of this Agreement, to become a member thereof.

18                Within ninety (90) days after the effective date of this Agreement or, in
19                the case of any member of the bargaining unit first employed after such
20                date, then on or before the date on which such member is first entitled to
21                personal sick leave, the member may become a member of the Sick Leave
22                Bank by assigning one (1) day of personal sick leave accumulation to the
23                Bank.

24                During the term of this Agreement, a member of the bargaining unit who
25                is not a member of the Sick Leave Bank may become so by assigning to
26                the Bank, during the month of September, one (1) day of personal sick
27                leave accumulation.

28                No member of the bargaining unit shall be entitled to become a member of
29                the Sick Leave Bank except as provided above.

30                Assignment by a member of the bargaining unit of a personal sick leave
31                day to the Bank shall be made in writing to the Vice Chancellor for
32                Administrative and Fiscal Services. The Vice Chancellor for
33                Administrative and Fiscal Services or designee shall maintain a register of
34                the membership of the Sick Leave Bank and of the number of sick leave
35                days accumulated in the Bank.

36                Five days after the exhaustion of personal sick leave accumulation, any
37                member of the Sick Leave Bank may draw upon the Sick Leave Bank as
38                needed.


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 1                Whenever the accumulation of sick leave days in the Sick Leave Bank
 2                shall have fallen below fifty (50) days, the Vice Chancellor for
 3                Administrative and Fiscal Services shall so notify the President of the
 4                Federation, in writing, and any member of the Sick Leave Bank wishing to
 5                remain a member thereof shall, within fifteen (15) days after the giving of
 6                such notice, assign one (1) additional day of personal sick leave
 7                accumulation to the Bank; provided, however, that any member of the
 8                Sick Leave Bank wishing to remain a member thereof and who shall have
 9                exhausted personal sick leave accumulation on the date of the giving of
10                such notice, shall assign such additional day within fifteen (15) days after
11                the date on which such member is next entitled to personal sick leave; and
12                provided further that such member shall retain all rights in the Bank until
13                such period for assigning an additional day shall have expired.

14          9.    Tuition Credits

15                a)     As more fully described in the Administrative Standards, Faculty
16                       and Staff Tuition Discounts (T96-129), which is hereby
17                       incorporated by reference, members of the bargaining unit shall
18                       receive tuition discounts in the form of tuition credits; provided
19                       that, in the event of a conflict between the Administrative
20                       Standards, Faculty and Staff Tuition Discounts (T96-129) and
21                       current practice, current practice shall prevail.

22                b)     Members of the bargaining unit and members of their immediate
23                       family shall be allowed to enroll tuition free for credit and non-
24                       credit courses offered in the Online and Continuing Education at
25                       the University of Massachusetts Dartmouth, provided that they
26                       shall not be counted in determining whether the course is canceled.
27                       Should any member of the bargaining unit become disabled or die,
28                       that individual (if living) and members of the individual’s
29                       immediate family shall be allowed to enroll tuition free for courses
30                       offered in the Online and Continuing Education, provided that they
31                       shall not be counted in determining whether the course is canceled.

32                c)     Bargaining unit members, their spouses and dependent children
33                       will be eligible for tuition remission benefits, subject to the
34                       conditions and procedures set forth in the Board of Higher
35                       Education System-wide Tuition Remission Policy For Higher
36                       Education Employees (May 21, 1984).

37          10.   Health and Welfare

38                a)     Trust Agreement

39                       The parties agree to maintain a Health and Welfare Fund under an
40                       Agreement and Declaration of Trust originally drafted by the


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 1                      Board of Regents and executed by the UMass Faculty Federation,
 2                      Local 1895, Faculty, Librarians and Technicians Bargaining Unit.
 3                      Such Agreement and Declaration of Trust provides for a Board of
 4                      Trustees composed of equal representation of the Employer and
 5                      the Union. The Board of Trustees of the Health and Welfare Fund
 6                      shall determine in their discretion and within the terms of this
 7                      Agreement and the Agreement and Declaration of Trust, such
 8                      health and welfare benefits to be extended by the Health and
 9                      Welfare Fund to employees and/or their dependents.

10                b)    Funding

11                      Effective January 1, 2015, the Commonwealth shall contribute
12                      $15.50 per week per full-time equivalent member of the bargaining
13                      unit. Effective January 1, 2016, the Commonwealth shall
14                      contribute $16.00 per week per full-time equivalent member of the
15                      bargaining unit. Effective January 1, 2017, the Commonwealth
16                      shall contribute $16.50 per week per full-time equivalent member
17                      of the bargaining unit.
18
19                      The contributions made by the Employer to the Health and Welfare
20                      Fund shall not be used for any purpose other than to provide health
21                      and welfare benefits and to pay the operating and administering
22                      expenses of the Fund. The contributions shall be made by the
23                      Employer in an aggregate sum within forty-five (45) days
24                      following the end of the calendar month during which
25                      contributions were collected. The amount of contributions for each
26                      year shall be based on the number of full-time equivalent
27                      employees as of the October payroll period during such fiscal year.

28                c)    Non-Grievability

29                      No dispute over a claim for any benefits extended by the Health
30                      and Welfare Fund shall be subject to the grievance procedure.

31




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 1                d)     Employer’s Liability

2                        It is expressly agreed and understood that the Employer does not
3                        accept, nor is the Employer to be charged with hereby, any
4                        responsibility in any manner connected with the determination of
5                        liability to any employee claiming under any of the benefits
6                        extended by the Health and Welfare Fund. The Employer’s
7                        liability shall be limited to the contributions indicated under
8                        Section b. above.

 9          11.   While the current same-sex marriage legislation is in effect the following
10                language shall remain in effect: For an affected employee living in a state
11                with provision for same-sex marriage, domestic-partner benefits will no
12                longer be provided on or after January 6, 2006. Each member of the
13                bargaining unit currently receiving domestic-partner benefits will be
14                required to produce a certificate of marriage unless that member or partner
15                resides in a state without provision for same-sex marriage.




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 1                                      ARTICLE XII
 2                                 UNIVERSITY EXTENSION


 3    PREAMBLE
 4
 5    Labor-Management Committee on University Extension and Distance Learning. No
 6    sooner than September 1, 2018, there shall be established a joint labor-management
 7    committee consisting of 6 members, 3 appointed by the Chancellor and 3 appointed by
 8    the Faculty Federation for the purpose of negotiating updates to this Article and other
 9    relevant provisions of this agreement concerning University Extension and Distance
10    Learning.
11
12    No later than May 31, 2019, the committee shall report its progress to the Provost and the
13    President of the Union.
14
15    A.     CREDIT COURSES (Courses Carrying a Disciplinary or Departmental
16           Prefix)

17           1.      All credit courses shall be instituted through the curriculum procedures of
18                   Article V of this Agreement.

19           2.      The Dean of University Extension shall submit the official request for
20                   courses to be offered in the University Extension to Department
21                   Chairpersons no later than November 30 for the fall semester, April 30 for
22                   the intersession and spring semester, and October 30 for the summer
23                   sessions. The Department Chairperson, in consultation with the faculty
24                   shall recommend course listings through the Dean of the appropriate
25                   College to the Dean of University Extension no later than December 30
26                   for the fall semester, May 30 for the intersession and spring semester, and
27                   November 30 for the summer sessions. The Dean of University
28                   Extension, after consultation and with the approval of the appropriate
29                   Chairperson, may add additional courses listed in the University Standard
30                   Course File.

31           3.      Members of the Bargaining Unit shall have first refusal rights in regard to
32                   assignments for teaching courses in the area of their discipline.
33                   Judgments of the qualifications to teach specialized areas within the
34                   disciplines shall be made by the Department Chairperson in consultation
35                   with the Dean of the College. Where no member of the department is
36                   available to teach a course, the standard procedures for recruitment of
37                   part-time personnel shall be followed.

38           4.      Department Chairpersons shall recommend Lecturers for credit courses
39                   which carry a departmental or disciplinary prefix.




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1           5.    The common form for student rating of teaching (Article VII, G., 2.) shall
2                 be used in all OCE sections. Department questions shall be added at the
3                 discretion of the Department Chairperson. All faculty teaching in the
4                 University Extension shall be evaluated each semester.

5           6.    Where satisfactory performance has been evidenced by faculty members,
6                 and a curricular need exists, assignments shall be on the basis of equal
7                 opportunity to teach courses. Such equal opportunity shall be measured
8                 over a three-year period.

9      B.   CONTRACTS AND SALARY - Credit Courses

10          1.    Course enrollments shall be monitored by the Dean of University
11                Extension throughout the registration periods and decisions to confirm or
12                cancel classes will be made on a timely basis so students and faculty can
13                be informed and plan accordingly. All courses shall normally be confirmed
14                no later than the last University business day prior to the commencement
15                of classes. When a course has been canceled, the Dean of University
16                Extension shall inform the appropriate Department Chairperson and the
17                affected Lecturer.

18          2.    A contract shall be issued to faculty members 30 to 60 days prior to the
19                first day of classes for each session Faculty shall return contracts to
20                University Extension within 10 days of date of issue. The President of the
21                Faculty Federation shall have access to the individual contracts at a time
22                and place mutually agreed to by the Dean of University Extension and the
23                President of the Faculty Federation.

24          3.    Where a course runs for more than eight (8) weeks, payment of the stipend
25                for the course shall be in two (2) payments. The first payment shall be
26                made by the Friday of the week after the half-way time of the semester.
27                The final payment shall be made at the end of the semester after the
28                Lecturer has turned in grades for the course.

29          4.    All persons assigned to teach academic courses in University Extension
30                shall be designated as Lecturers in University Extension. Assignment to
31                teaching of courses in University Extension implies that the Lecturer will
32                be available for scheduled academic consultation with students during the
33                hours of University Extension.

34          5.    Salary for credit courses taught University Extension by full-time and
35                part-time members of the bargaining unit that meet minimum enrollment
36                requirements established by the Academic Dean and the Executive
37                Director of University Extension shall be $1,444 per unit effective July 1,
38                2017.

39          6.    Courses enrolling six (6) or less students will be cancelled or the faculty
40                member may agree to proceed with a directed study at the rate of $200 per

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 1                student for each three credit course. Courses with registrations between
 2                seven (7) and twelve (12) students shall receive half the current salary
 3                rate.

 4                Maximum student enrollment per course will be established by the
 5                Academic Dean and the Dean of University Extension. Faculty in whose
 6                course enrollment exceeds the maximum shall receive an additional $100
 7                per additional student excluding students with waivers. Faculty with
 8                increased class size may request funding of a teaching assistant from
 9                University Extension at the rate of $200 for ten (10) additional students,
10                $400 for twenty (20) additional students and $600 for thirty (30) or more
11                additional students.

12          7.    Each Department Chairperson or designee will receive $50.00 for each
13                course that runs through OCE using that department's designation for
14                coordinating with University Extension to identify an optimum mix of
15                course offerings responsive to student needs and interests.

16          8.    Members of the Bargaining Unit teaching off campus shall be
17                compensated for travel expenses consistent with travel allowances
18                elsewhere in this Agreement (Article XI.D.4.- Travel Allowances).




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1                                    ARTICLE XIII
2                         LIBRARIANS AND LIBRARY ASSISTANTS

3     Except where modified by this Article, all provisions of this Agreement and the benefits
4     thereof shall apply fully to Librarians and Library Assistants.

5      A.    TERMINAL DEGREE

 6           1.     The terminal degree for a librarian is the Master of Library Science
 7                  Degree, or its equivalent, from an institution accredited by the American
 8                  Library Association. The terminal degrees for a law librarian are the
 9                  Master of Library Science Degree, or its equivalent, from an institution
10                  accredited by the American Library Association and the Juris Doctorate, or
11                  its equivalent from an institution accredited by the American Bar
12                  Association or a state.

13           2.     Qualifications for Library Assistant are a Bachelor’s degree and significant
14                  library experience with relevant course work in Library Science desirable.
15                  Library Assistants who aspire to academic rank and the benefits thereof
16                  are encouraged to pursue a program of studies leading to the terminal
17                  degree for librarians.

18           3.     Visiting Librarians

19                  Visiting Librarians who meet the qualifications for a Librarian may be
20                  hired full-time or part-time and given renewable contracts for periods of
21                  one year or less.

22    B.     PERSONNEL RECOMMENDATIONS – Librarians
23           PREAMBLE

24           The official personnel file concerning recommendations for promotion, annual
25           evaluations, reappointment, leaves of absence, sabbatical leave, and other
26           pertinent personnel actions shall be maintained by the Dean of Library Services
27           except for employees of the law library where they shall be maintained by the
28           Associate Dean of the Law Library.
29
30           The Library and the Law Library shall each establish a Library Evaluation
31           Committee for the purpose of reappointment, promotion, and annual evaluation.
32           The number of members, terms of office and election procedure shall be decided
33           by a majority vote of the full-time librarians in each, provided that there are a
34           minimum of four members of the Committee inclusive of the Chairperson who is
35           elected by the members. Should there be an insufficient number of full-time
36           librarians in the Law Library, non-law librarians can be appointed.

37           A librarian, following receipt of any personnel recommendations, shall have the
38           right to submit additional materials within seven (7) days from the receipt of the

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 1          recommendation. The individual, whether submitting additional materials or not,
 2          shall sign a statement indicating receipt of this recommendation and awareness of
 3          the opportunity to submit additional materials within this seven (7) day period.
 4          Failure of the individual to sign a statement of receipt of the recommendation
 5          when the recommendation has been received will not prevent the documentation
 6          from being forwarded to the next level.

 7          In all personnel actions the material from each lower level shall automatically be
 8          forwarded to the succeeding higher levels.

 9          1.     Evaluation

10                 a)      All librarians shall be evaluated at the end of each academic year
11                         by the Librarian Evaluation Committee, the division head and the
12                         Dean of Library Services in at least three of the following
13                         categories, including category (1) below:

14                         (1)    Professional Effectiveness, including, but not limited to the
15                                development, improvement, and demonstration of
16                                professional competence as librarians, active participation
17                                in professional evaluation of library services for the
18                                purposes of maintaining their quality, relevance, and
19                                viability; and continuous discharging of library
20                                responsibilities. Notwithstanding achievements made in
21                                other areas of librarian evaluation, professional
22                                effectiveness shall be considered the most important
23                                criterion in librarian evaluations.

24                         (2)    Professional Activities, Research and Publication.
25                                Professional Activities may include office in professional
26                                organizations and attendance at professional meetings and
27                                seminars. Research and Publication may include
28                                publications, including editorial work, presentations at
29                                professional meetings and workshops, and studies leading
30                                to professional improvement as a librarian.

31                         (3)    University Service. University Service may include service
32                                to the library, university, and university system.

33                         (4)    Community Service. Community Service includes
34                                participation in community affairs associated with the
35                                individual librarian’s area of professional competence.

36                 b)      The Chairperson of the Librarian Evaluation Committee shall meet
37                         with the individual under consideration and discuss the
38                         committee’s report at least five (5) working days prior to its
39                         submission to the Division Head.


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 1                c)    Except in the Law Library, the Division Head shall review the
 2                      report of the Librarian Evaluation Committee and submit a
 3                      separate report, plus the report of the Librarian Evaluation
 4                      Committee, to the Dean of Library Services. A copy of this report
 5                      shall be sent to the individual under consideration at least five (5)
 6                      working days prior to its submission to the Dean of Library
 7                      Services.

 8                      In the Law Library, the Associate Dean of the Law Library shall
 9                      review the report of the Law Librarian Evaluation Committee and
10                      submit a separate report, plus the report of the Law Librarian
11                      Evaluation Committee, to the Dean of the School of Law. A copy
12                      of this report shall be sent to the individual under consideration at
13                      least five (5) working days prior to its submission to the Dean of
14                      the School of Law.
15
16                d)    The Dean of Library Services shall prepare a written evaluation
17                      and recommendation for each librarian. Each individual shall
18                      receive a copy of the Dean’s evaluation and recommendation and
19                      shall sign a statement indicating that the individual has read, but
20                      not necessarily agreed with the evaluation. A librarian who wishes
21                      to challenge the written evaluation may add to the file any
22                      statement, evidence, or other documentation the librarian believes
23                      would present a more valid perspective. The recommendation of
24                      the Librarian Evaluation Committee, the annual evaluation of the
25                      division head and the annual evaluation of the Dean, whether or
26                      not the individual adds anything, shall become part of the file of
27                      information concerning the individual librarian. The division head
28                      shall meet with each librarian to discuss the individual’s activities
29                      report, the librarian evaluation committee’s recommendation, and
30                      the annual evaluation done by the division head and the annual
31                      evaluation done by the Dean of Library Services.

32          2.    Reappointment

33                a)    Notice of reappointment shall be given according to the following
34                      schedule:

35                      180 days prior to the anniversary date for the second year contract;
36                      270 days prior to the anniversary date for the third year contract.

37                b)    The Librarian Evaluation Committee shall make its
38                      recommendation for reappointment to the Division Head; the Law
39                      Librarian Evaluation Committee shall make its recommendation
40                      for reappointment to the Associate Dean of the Law Library.




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1                 c)    The Chairperson of the Librarian or Law Librarian Evaluation
2                       Committee shall meet with the individual under consideration and
3                       discuss the committee's report at least five (5) working days prior
4                       to its submission to the Division Head or Associate Dean of the
5                       Law Library.

 6                d)    Except in the Law Library, the Division Head shall make a
 7                      recommendation for reappointment to the Dean of Library
 8                      Services. A copy of this recommendation shall be made available
 9                      to the individual under consideration at least five (5) working days
10                      prior to its submission to the Dean of Library Services.

11                      In the Law Library, the Associate Dean of the Law Library shall
12                      make a recommendation for reappointment to the Dean of the
13                      School of Law. A copy of this recommendation shall be made
14                      available to the individual under consideration at least five (5)
15                      working days prior to its submission to the Dean of School of Law.
16
17                e)    The Dean of Library Services or the Dean of the School of Law
18                      shall make a recommendation for reappointment to Provost. A
19                      copy of this recommendation shall be made available to the
20                      individual under consideration at least five (5) working days prior
21                      to its submission to the Provost.

22                f)    The Provost shall review the recommendation of the Dean of
23                      Library Services or the Dean of the School of Law and all other
24                      forwarded documents and submit a separate recommendation to
25                      the Chancellor together with the recommendation of the Dean of
26                      Library Services or the Dean of the School of Law and all other
27                      forwarded documents. With respect to a third year contract
28                      renewal, when the recommendation of the Librarian or Law
29                      Librarian Evaluation Committee, the Division Head or Associate
30                      Dean of the Law Library and the Dean of Library Services or Dean
31                      of the School of Law are in agreement, the Provost shall not
32                      ordinarily recommend the contrary. A copy of this recommendation
33                      shall be made available to the individual under consideration at
34                      least five (5) working days prior to its submission to the
35                      Chancellor.

36                g)    The Chancellor shall review the recommendation of the Provost,
37                      and all other forwarded documents and make a decision to
38                      reappoint or not to reappoint the individual.

39                h)    After three (3) years of service as a librarian an individual can only
40                      be removed from service through just cause. If the individual is
41                      removed from service through just cause the individual shall have
42                      the right to a conference with the Provost and/or the Chancellor or


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1                       designee, and shall have the right to a hearing before the President
2                       or designee, at which time the individual may have counsel of
3                       choice and the right to present witnesses.

4           3.    Promotion

5                 a)    For the purpose of promotion, librarians shall be evaluated by the
6                       Librarian Evaluation Committee and the Division Head or by the
7                       Law Librarian Evaluation Committee and the Associate Dean of
8                       the Law Library.

 9                b)    The Librarian or Law Librarian Evaluation Committee will
10                      forward its recommendation to promote or not to promote an
11                      individual to the Division Head or Associate Dean of the Law
12                      Library on or before January 15. A copy of this recommendation
13                      with substantiation shall be sent to the individual at least five (5)
14                      working days prior to submission to the Division Head or
15                      Associate Dean of the Law Library.

16                c)    The Division Head, except in the Law Library, shall make a
17                      recommendation to promote or not to promote an individual to the
18                      Dean of Library Services on or before February 15. A copy of this
19                      recommendation with substantiation shall be sent to the individual
20                      at least five (5) working days prior to its submission to the Dean of
21                      Library Services.

22                      In the Law Library, the Associate Dean of the Law Library shall
23                      make a recommendation to promote or not to promote an
24                      individual to the Dean of the School of Law on or before February
25                      15. A copy of this recommendation with substantiation shall be
26                      sent to the individual at least five (5) working days prior to its
27                      submission to the Dean of the School of Law.
28
29                d)    The Dean of Library Services or the Dean of the School of Law
30                      shall make a recommendation to promote or not to promote an
31                      individual to the Provost, on or before March 15. A copy of this
32                      recommendation with substantiation shall be made available to the
33                      individual at least five (5) working days prior to its submission to
34                      the Provost.

35                e)    The Provost shall make a recommendation to promote or not to
36                      promote an individual to the Chancellor on or before April 15. A
37                      copy of this recommendation with substantiation shall be sent to
38                      the individual at least five (5) working days prior to its submission
39                      to the Chancellor.




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1                  f)     The Chancellor shall make a decision on promotion for each
2                         individual by May 15.

3                  g)     While length of service alone is not cause for promotion, the
4                         following shall be considered the normal period of time to be spent
5                         in rank:

6                         (1)     Library Assistant – five (5) years

 7                        (2)     Assistant Librarian – six (6) to seven (7) years

 8                        (3)     Associate Librarian – six (6) or more years.

 9          4.     Ratings for Personnel Recommendations

10                 The following ratings are to be used in evaluating librarians for all
11                 personnel recommendations:

12                 a)     Highly Recommended

13                        (1)     Excellent Professional Effectiveness and at least Very Good
14                                performance in one (1) other category, or

15                        (2)     Very Good Professional Effectiveness and Excellent
16                                performance in one (1) other category, or

17                        (3)     Very Good Professional Effectiveness and Very Good
18                                performance in two (2) other categories.

19                 b)     Recommended

20                        (1)     Excellent Professional Effectiveness and Satisfactory
21                                performance in one (1) other category, or

22                        (2)     Very Good Professional Effectiveness and Very Good
23                                performance in one (1) other category, or

24                        (3)     Satisfactory Professional Effectiveness and Very Good
25                                performance in two (2) other categories.

26                 c)     Not Recommended. Failure to meet the standards under the
27                        “Recommended” rating.

28    C.    PERSONNEL RECOMMENDATIONS - Library Assistants
29          PREAMBLE

30          The official personnel file concerning recommendations for promotion, annual
31          evaluations, reappointment, leaves of absence, and other pertinent personnel

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 1          actions shall be maintained by the Dean of Library Services except for employees
 2          of the law library where they shall be maintained by the Associate Dean of the
 3          Law Library.
 4
 5          A library assistant, following receipt of any personnel recommendations, shall
 6          have the right to submit additional materials within seven (7) days from receipt of
 7          the recommendation. The individual, whether or not submitting additional
 8          materials, shall sign a statement indicating receipt of the recommendation and
 9          awareness of the opportunity to submit additional materials within this seven (7)
10          day period. Failure of the individual to sign a statement of receipt of the
11          recommendation when the recommendation has been received will not prevent the
12          documentation from being forwarded to the next level.

13          In all personnel actions the material from each lower level shall automatically be
14          forwarded to the succeeding higher levels.

15          1.     Evaluation

16                 a)      Library assistants shall be evaluated at the end of each academic
17                         year by the librarian to whom they are assigned. This evaluation
18                         shall be in writing and shall include the observations of the
19                         supervisors with whom the library assistant works.

20                 b)      This evaluation shall be sent to the individual under consideration
21                         at least five (5) working days prior to its submission to the Library
22                         Division Head or, for Library Assistants employed in the Law
23                         Library, to the Associate Dean of the Law Library.

24          2.     Reappointment

25                 a)      Notice of reappointment shall be given according to the following
26                         schedule:

27                         180 days prior to anniversary date for the second year contract;
28                         270 days prior to the anniversary date for the third year contract.

29                 b)      The Library Division Head shall make a recommendation for
30                         reappointment or non-reappointment to the Dean of Library
31                         Services. This recommendation with substantiation shall be in
32                         writing and shall be sent to the individual at least five (5) working
33                         days prior to its submission to the Dean of Library Services.

34                         The Associate Dean of the Law Library shall make a
35                         recommendation for reappointment or non-reappointment to the
36                         Dean of the School of Law. This recommendation with
37                         substantiation shall be in writing and shall be sent to the individual
38                         at least five (5) working days prior to its submission to the Dean of
39                         the School of Law.

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 1                 c)      The Dean of Library Services or the Dean of the School of Law
 2                         shall make a recommendation to reappoint or not to reappoint an
 3                         individual to the Provost. This recommendation with substantiation
 4                         shall be in writing and be sent to the individual at least five (5)
 5                         working days prior to its submission to the Vice Chancellor.

 6                 d)      The Provost shall review the recommendations of the Dean of
 7                         Library Services or the Dean of the School of Law and all other
 8                         forwarded documents and submit a separate recommendation with
 9                         substantiation to the Chancellor together with all other forwarded
10                         documents.

11                 e)      The Chancellor shall review the recommendations of the Provost
12                         and all other forwarded documents and make a decision to
13                         reappoint or not to reappoint. This decision shall be final.
14                         However, the Board of Trustees at its own initiative can review and
15                         take further action or no action.

16                 f)      Upon completion of the terminal degree a library assistant shall be
17                         promoted to one of the librarian ranks.

18                 g)      After three years of service as a library assistant an individual can
19                         only be removed from service through just cause. If the individual
20                         is removed from service through just cause the individual shall
21                         have the right to a conference with the Provost and/or the
22                         Chancellor or designee and shall have the right to a hearing before
23                         the President or designee at which time the individual may have
24                         counsel of choice and the right to present witnesses.

25     D.   LIBRARY DIVISION HEADS

26          The Library Divisions having Heads are the Information Services Division, the
27          Access Services Division, the Archives Division, the Technical Services Division,
28          and the Library Systems and Digital Services Division.

29     E.   GRIEVANCE

30          Librarians or library assistants, as members of the bargaining unit, shall have all
31          the benefits of the grievance procedure as outlined in this Agreement.

32     F.   PROFESSIONAL IMPROVEMENT/ANNUAL LEAVE

33          1.     Scheduling of professional improvement/annual leave shall be subject to
34                 the approval of the Dean of Library Services for non-Law Library
35                 employees or of the Associate Dean of the Law Library for Law Library
36                 employees. Librarians and library assistants shall be entitled to
37                 professional improvement/annual leave according to the following
38                 schedule:

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 1                 a)      For employees hired on or before June 25, 1983:

 2                         (1)     For service two years and under - 20 days/year

 3                         (2)     For service after two years and under five years - 22
 4                                 days/year

 5                         (3)     For service after five years and under ten years - 24
 6                                 days/year

 7                         (4)     For service after ten years and under fifteen years - 26
 8                                 days/year

 9                         (5)     For service after fifteen years - 28 days/year

10                         Accruals shall be earned monthly but recorded quarterly.

11                 b)      For employees hired after June 25, 1983:

12                         (1)     For service eight (8) years and under – 20 days/year

13                         (2)     For service after eight years and under sixteen years – 21
14                                 days/year

15                         (3)     For service after sixteen years and under twenty-five years
16                                 - 23 days/year

17                         (4)     For service after twenty-five years - 28 days/year

18          2.     Accruals shall be earned monthly but recorded quarterly. Accruals shall be
19                 cumulative for a period of up to sixty four (64) days and shall be payable
20                 to librarians and library assistants or their survivor(s) upon termination of
21                 employment.

22          3.     Once every year, on or before July 1, all librarians and library assistants
23                 shall be notified of their accrued annual leave.

24     G.   PERSONAL LEAVE

25          On each January 1, librarians and library assistants will be credited with nine (9)
26          (seven (7) for librarians hired after July 1, 1998) paid personal leave days which
27          may be taken during the following twelve (12) months at a time or times
28          requested by the individual and approved by the supervisor.

29




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 1     H.   SCHEDULING OF DUTY HOURS

 2          1.     Carney Library Employee

 3                 a)      When scheduling duty hours, the requests and justifications for
 4                         special consideration of librarians and library assistants shall be
 5                         taken into account by the Division Head and submitted to the Dean
 6                         of Library Services for approval.

 7                 b)      Those librarians who work nights and weekends shall be granted
 8                         compensatory time or salary equivalent to 1.50 times the number
 9                         of hours worked.

10                 c)      The workload for librarians shall be a maximum of 37.5 hours per
11                         week. Unless individual contracts specify otherwise, librarians
12                         shall not be required to work more than four (4) weekends and
13                         sixteen (16) week nights per year.

14          2.     Law Library Employee

15                 a)      When scheduling duty hours the requests and justifications for
16                         special consideration of librarians and library assistants shall be
17                         taken into account by the Associate Dean of the Law Library.

18                 b)      Unless the employee was expressly hired for the purpose of
19                         working nights or weekends, a librarian who work nights or
20                         weekends shall be granted compensatory time or salary equivalent
21                         to 1.50 times the number of hours worked.

22                 c)      The workload for law librarians shall be a maximum of 37.5 hours
23                         per week. Unless individual contracts specify otherwise, librarians
24                         shall not be required to work more than four (4) weekends and
25                         sixteen (16) week nights per year.

26          3.     The workload for librarians shall be a maximum of 37.5 hours per week.
27                 Unless individual contracts specify otherwise, librarians shall not be
28                 required to work more than four (4) weekends and sixteen (16) weeknights
29                 per year.

30     I.   SICK LEAVE

31          All librarians and library assistants shall be granted fifteen (15) days sick leave
32          per year. Accruals shall be earned monthly. There shall be no limit on
33          accumulation. Up to ten (10) days sick leave may be used for illness of a family
34          member. Librarians and Library Assistants shall be notified during the month of
35          July of their accumulated sick leave.

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 1     J.   ASSOCIATE DEAN OF THE LAW LIBRARY

 2          1.    The Associate Dean of the Law Library shall be the administrative head of
 3                the Law Library and shall report to the Dean of the School of Law.

 4          2.    The Associate Dean of the Law Library shall qualify as a Law Librarian.
 5                Except in extraordinary circumstances, the Associate Dean of the Law
 6                Library shall also hold a tenured or tenure-track faculty appointment at the
 7                School of Law in addition to the appointment as Associate Dean of the
 8                Law Library.

 9          3.    Should a vacancy exist in the Associate Dean of the Law Library, a Search
10                and Screen Committee shall be composed of three tenure-track faculty
11                members from the School of Law designated by the Dean of the School of
12                Law, one of whom shall be the chair of the Search and Screen Committee,
13                and two librarians designated by the Dean of Library Services, at least one
14                of whom is employed in the Law Library. The Search and Screen
15                Committee shall solicit candidates by using standards and procedures to
16                promote the goal of achieving quality and diversity on and equal
17                opportunity for the faculty. The Search and Screen Committee shall screen
18                the available candidates and produce a list of at least three finalists for the
19                Associate Deanship for review by the Law Faculty and the Dean of the
20                School of Law. The Committee shall ensure that all law faculty have an
21                adequate opportunity to meet the finalist candidates during the screening
22                process and provide feedback to the Committee. Consistent with current
23                University process, the Committee shall forward at least three finalists to
24                the Dean providing the committees assessment of strengths and
25                weaknesses. The Dean will make his/her final recommendation to the
26                Provost.




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1                                     ARTICLE XIV
2                               PROFESSIONAL TECHNICIANS

 3    Except where modified by this Article, all provisions of this Agreement and the benefits
 4    thereof shall apply fully to Professional Technicians.

 5     A.    TERMINAL QUALIFICATIONS

 6           PREAMBLE

7                   There shall be the following ranks for Professional Technicians:

 8                          Professional Technician IV
 9                          Professional Technician III
10                          Professional Technician II
11                          Professional Technician I (Highest)

12           1.     Terminal qualifications for Professional Technicians hired before July 1,
13                  1986 shall be a Technical School Diploma, or Certified Technical Training
14                  (industrial or military) or their equivalent, or necessary experience in the
15                  individual’s area(s) of competency.

16           2.     Terminal qualifications for Professional Technicians hired between July 1,
17                  1986, and June 30, 1993 shall be as follows:

18                  a)      Terminal qualifications for a Professional Technician IV shall be a
19                          Technical School Diploma, or Certified Technical Training
20                          (industrial or military) or their equivalent, or necessary experience
21                          in the individual’s area(s) of competency.

22                  b)      Terminal qualifications for a Professional Technician III shall be an
23                          Associate degree or its equivalent.

24                  c)      Terminal qualifications for a Professional Technician II shall be a
25                          bachelor’s degree or its equivalent.

26                  d)      Terminal Qualifications for a Professional Technician I shall be a
27                          master’s degree or its equivalent.

28           3.     Terminal qualifications for Professional Technicians hired after July 1,
29                  1993, shall be as follows:

30                  a)      Terminal qualifications for a Professional Technician IV shall be
31                          an Associate degree or its equivalent.

32                  b)      Terminal qualifications for a Professional Technician III shall be a
33                          bachelor’s degree or its equivalent.



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 1                c)     Terminal Qualifications for a Professional Technician II and
 2                       Professional Technician I shall be a Master’s degree or its
 3                       equivalent.

 4                Exceptions to Requirements

5                        Professional Technicians may be appointed initially at any rank in
6                        keeping with the requirements of this Article, but nothing in these
7                        requirements should prevent the initial appointment or the
8                        promotion of an individual of exceptional talent or
9                        accomplishment who does not meet all the stated criteria

10                       Exception to these standards may also be made in emergencies or
11                       when no fully qualified candidate meeting all standards is available
12                       for appointment and the good of the University necessitates the
13                       filling of the specific position.

14     B.   INITIAL APPOINTMENTS

15          1.    Initial appointments for a Professional Technician to a position covered by
16                the bargaining unit may be at any rank, subject to the minimum salaries set
17                forth in Article XI.

18          2.    Recommendation for hiring of new Professional Technicians shall be
19                made by the Department Chairperson of the appropriate department, with
20                the advice of tenured department faculty, and upon consultation with non-
21                tenured faculty.

22          3.    Each appointment to a Professional Technician position shall be made by
23                the Chancellor. The descriptive job title, precise terms and conditions of
24                each appointment shall be set forth in writing and sent to the appointee
25                before the effective date of appointment. Included shall be a statement
26                detailing the specific requirements of the position and in what dimensions
27                performance will be evaluated and the procedures of evaluation. This
28                statement will be prepared by the Department Chairperson in concert with
29                the Department Committee on Faculty Evaluation and approved by the
30                College Dean, the Provost and the Chancellor. The precise terms of the
31                individual’s employment shall be made available to all persons and groups
32                under this Agreement who shall be involved in the evaluation of said
33                individual for the purpose of renewal, non-renewal, promotion and salary
34                increases. The conditions of a contract of employment covered by the
35                bargaining unit shall not be contrary to any provisions of this Agreement.
36                A copy of the current Trustees/Faculty Federation Agreement shall be sent
37                to the appointee together with the offer of appointment. A copy of the
38                precise terms of each appointment shall be sent to the Faculty Federation.




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 1     C.   JOINT APPOINTMENTS

 2          1.     A Professional Technician may be appointed by the Chancellor to more
 3                 than one department, whether or not the different departments are in
 4                 different colleges. Where an individual is already a member of one
 5                 department, the joint appointment to any additional department(s) shall
 6                 require the approval of the Department Chairperson and a majority of the
 7                 tenured faculty in the added department. Such appointments shall be at the
 8                 same rank and status as the individual holds in the original department.
 9                 For nonacademic departments, approval shall be required of the
10                 supervisor(s) to whom they are assigned.

11          2.     Where an individual new to the bargaining unit is to have a joint
12                 appointment, the appointment shall require the approval of the Department
13                 Chairperson and a majority of tenured faculty of both departments or, in
14                 the case of non-academic departments, the approval of both of the
15                 supervisors to whom the individual is assigned.

16          3.     When a joint appointment is made, only one department shall be identified
17                 as the individual’s principal department. Where the joint appointment
18                 specifies that the individual will work a majority of hours in a given
19                 department, that department shall be the principal department. Where the
20                 individual’s work load is divided equally between two or more
21                 departments, the joint appointment shall take effect only when the
22                 individual has identified in writing the principal department with which
23                 they will be affiliated.

24          4.     The principal department is the department in which the individual is
25                 considered for all personnel actions, including annual evaluations, contract
26                 renewal, and promotion. For academic departmental appointments it is
27                 also the department in which the individual shall vote on Department
28                 Chairperson and it identifies the College Academic Council on which the
29                 individual shall be represented.

30     D.   PERSONNEL RECOMMENDATIONS

31          PREAMBLE

32          The official personnel file concerning recommendations for reappointment,
33          promotion, leaves of absence, and other pertinent personnel actions shall be
34          maintained by the Personnel Office.

35          A Professional Technician, following receipt of any personnel recommendations,
36          shall have the right to submit additional materials within seven (7) days from the
37          receipt of the recommendation. The individual, whether submitting additional
38          materials or not, shall sign a statement indicating receipt of a copy of this
39          recommendation and awareness of the opportunity to submit additional materials
40          within this seven (7) day period. Failure of the individual to sign a statement of

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 1          receipt when the document has been received will not prevent the documentation
 2          from being forwarded to the next level.

 3          Since the only criteria for appointment and continued service at the University for
 4          Professional Technicians are those within their area(s) of competency,
 5          Professional Technicians who aspire to advancement within the ranks of their
 6          classifications are encouraged to participate in professional activities and studies
 7          which will increase their competencies.

 8          In all personnel actions the material from each lower level shall automatically be
 9          forwarded to the succeeding higher levels.

10          1.     Evaluation

11                 a)      Professional Technicians shall be evaluated at the end of each
12                         academic year by the Chairperson of the Department or the
13                         supervisor to whom they are assigned. This evaluation shall be in
14                         writing and shall include the views of all faculty members or
15                         supervisors with whom the Professional Technician works.

16                 b)      All Professional Technicians shall be evaluated in Professional
17                         Effectiveness and at least one other category. All Professional
18                         Technicians shall be evaluated at the end of each academic year
19                         according to the following criteria:

20                         (1)     Professional Effectiveness, including but not limited to the
21                                 development, improvement and demonstration of
22                                 professional competence in their assigned field; active
23                                 participation in professional evaluation of departmental
24                                 services for the purpose of maintaining their quality,
25                                 relevance and viability; and continuous discharging of
26                                 departmental responsibilities. Notwithstanding
27                                 achievements made in other areas of evaluation,
28                                 professional effectiveness shall be considered the most
29                                 important criterion for technician achievement.

30                         (2)     Professional Improvement, including courses of study.

31                         (3)     Professional Service

32                         (4)     University Service.

33                         (5)     Public Service associated with one’s area of professional
34                                 competence.

35                 c)      A copy of this evaluation shall be made available to the individual
36                         under consideration at least five (5) working days prior to its
37                         submission to the Dean of the College.

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 1          2.    Reappointment

2                 Notice of reappointment shall be given according to the following
3                 schedule:

4                 a)     One hundred and eighty (180) days prior to the anniversary date
5                        for the second year of service; Two hundred and seventy (270)
6                        days prior to the anniversary date for the third year of service.

 7                b)     The Department Chairperson or the supervisor to whom they are
 8                       assigned shall make a recommendation for reappointment or non-
 9                       reappointment to the Dean of the College or the Division Head to
10                       whom they are assigned. The recommendation with substantiation
11                       shall be in writing and shall be sent to the individual at least five
12                       (5) working days prior to its submission to the Dean of the College
13                       or the Division Head.

14                c)     The Dean of the College or the Division Head shall make a
15                       recommendation to reappoint or not to reappoint the individual to
16                       the Provost. This recommendation with substantiation shall be in
17                       writing and shall be sent to the individual at least five (5) working
18                       days prior to its submission to the Provost.

19                d)     The Provost shall review the recommendation on reappointment or
20                       non-reappointment, together with substantiation and shall send a
21                       recommendation to the Chancellor together with all other
22                       forwarded documents.

23                e)     The Chancellor shall review the recommendations of the Provost
24                       and all other forwarded documents and make a decision to
25                       reappoint or not reappoint. This decision shall be final. However,
26                       the Board of Trustees at its own initiative can review and take
27                       further action or no action.

28                f)     After three (3) years of service as a Professional Technician an
29                       individual can only be removed from service through just cause. If
30                       the individual is removed from service through just cause, the
31                       individual shall have the right to a conference with the Provost
32                       and/or the Chancellor or designee, and shall have the right to a
33                       hearing before the President or designee at which time the
34                       individual may have counsel of choice and the right to present
35                       witnesses.




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 1          3.    Promotion

 2                a)    The Department Chairperson or the supervisor to whom they are
 3                      assigned shall make a recommendation for promotion or non-
 4                      promotion to the Dean of the College or the Division Head to
 5                      whom they are assigned. This recommendation with substantiation
 6                      shall be in writing and shall be sent to the individual at least five
 7                      (5) working days prior to its submission to the Dean of the College
 8                      or the Division Head.

 9                b)    The Dean of the College or the Division Head shall make a
10                      recommendation for promotion or non-promotion of an individual
11                      to the Provost. This recommendation with substantiation shall be in
12                      writing and shall be sent to the individual in writing at least five
13                      (5) working days prior to its submission to the Provost.

14                c)    The Provost shall review the recommendation on promotion or
15                      non-promotion together with substantiation and shall send a
16                      recommendation to the Chancellor together with all other
17                      forwarded documents.

18                d)    The Chancellor shall review the recommendations of the Provost
19                      and all other forwarded documents and make a decision to promote
20                      or not to promote. This decision shall be final. However, the Board
21                      of Trustees at its own initiative can review and take further action
22                      or no action.

23                e)    While length of service alone is not cause for promotion, the
24                      following shall be considered the normal period of time to be spent
25                      in rank:

26                      (1)    Professional Technician IV – five (5) years

27                      (2)    Professional Technician III – six (6) to seven (7) years

28                      (3)    Professional Technician II – six (6) or more years.

29                      Professional Technicians who complete advanced degree
30                      requirements that meet terminal requirements for a higher
31                      Professional Technician rank shall be given strong consideration
32                      among all evaluative measures for advancement to their next rank
33                      regardless of time spent in rank.

34                f)    The timetable for recommendations on promotion or non-
35                      promotion shall be as follows:

36                      (1)    Department Chairperson recommends to the Dean of the
37                             College by February 15.

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1                         (2)     Dean of the College recommends to the Provost by March
2                                 15.

3                         (3)     Provost recommends to the Chancellor by April 15.

 4                        (4)     The Chancellor shall make a decision on promotion or non-
 5                                promotion for each individual by May 15.

 6          4.     Ratings for Personnel Recommendations

7                  The following ratings are to be used in evaluating professional technicians
8                  for all personnel recommendations:

9                  a)     Highly Recommended

10                        (1)     Excellent Professional Effectiveness and at least Very Good
11                                performance in one (1) other category, or

12                        (2)     Very Good Professional Effectiveness and Excellent
13                                performance in one (1) other category, or

14                        (3)     Very Good Professional Effectiveness and Very Good
15                                performance in two (2) other categories.

16                 b)     Recommended

17                        (1)     Excellent Professional Effectiveness and Satisfactory
18                                performance in one (1) other category, or

19                        (2)     Very Good Professional Effectiveness and Very Good
20                                performance in one (1) other category, or

21                        (3)     Satisfactory Professional Effectiveness and Very Good
22                                performance in two (2) other categories.

23                 c)     Not Recommended. Failure to meet the standards under the
24                        “Recommended” rating.

25     E.   GRIEVANCE

26          The Professional Technicians, as members of the bargaining unit, shall have all
27          the benefits of the grievance procedure as outlined in this Agreement.

28     F.   PROFESSIONAL IMPROVEMENT/ANNUAL LEAVE

29          1.     Scheduling of professional improvement/annual leave shall be subject to
30                 the approval of the Divisional Head. Professional Technicians shall be
31                 entitled to Professional Improvement/Annual Leave according to the
32                 following schedule:

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 1                 a)      For employees hired on or before June 25, 1983:

 2                         (1)    For service two (2) years and under - 20 days/year

 3                         (2)    For service after two (2) years and under five (5) years - 22
 4                                days/year

 5                         (3)    For service after five (5) years and under ten (10) years - 24
 6                                days/year

 7                         (4)    For service after ten (10) years and under fifteen (15)years -
 8                                28 days/year

 9                 b)      For employees hired after June 25, 1983:

10                         (1)    For service eight (8) years and under - 20 days/year

11                         (2)    For service after eight (8) years and under sixteen (16)
12                                years - 21 days/year

13                         (3)    For service after sixteen (16) years and under twenty-five
14                                (25) years - 23 days/year

15                         (4)    For service after twenty-five (25) years - 28 days/year

16          2.     Accruals shall be earned monthly but recorded quarterly Accruals shall be
17                 cumulative up to sixty-four days and shall be payable to Professional
18                 Technicians or their survivor(s) upon termination of employment.

19          3.     Once every year, on or before July 1, all Professional Technicians shall be
20                 notified of their accrued annual leave.

21     G.   PERSONAL LEAVE

22          On each January 1, Professional Technicians will be credited annually with nine
23          (9) (seven (7) for Professional Technicians hired after July 1, 1998) paid personal
24          leave days which may be taken during the following twelve (12) months at a time
25          or times requested by the individual and approved by the supervisor.

26     H.   SICK LEAVE

27          All Professional Technicians shall be entitled to fifteen (15) days sick leave per
28          year. Accruals shall be earned monthly. There shall be no limit on accumulation.
29          Up to ten (10) days sick leave may be used for illness of a family member.
30          Professional Technicians shall be notified during the month of July of the amount
31          of their accumulated sick leave.




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 1     I.   PROFESSIONAL LEAVE

2           After seven (7) years of service to the University, a professional technician is
3           eligible for paid professional improvement leave which addresses needs of the
4           department, college, and University. This leave shall be recommended on the
5           approval of the proposal submitted to the Professional Leave Committee.

6           The Professional Leave Committee shall be composed of three (3) individuals
7           elected for a three-year term by the professional technicians and three (3)
8           members appointed by the Chancellor.

 9          The Professional Leave Committee shall recommend to the Chancellor those
10          individuals it deems worthy of professional leave. The Chancellor will confer
11          with the appropriate administrator regarding feasibility of releasing the individual
12          for the leave.

13     J.   DEPARTMENTAL MEETINGS

14          Professional Technicians shall have the right to participate in meetings of their
15          departments and shall have the right to vote in all decisions of the department.
16          Professional Technicians shall not vote on faculty personnel recommendations.




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 1                                         ARTICLE XV
 2                                         LECTURERS

 3    The official personnel file concerning recommendations for reappointment, leaves of
 4    absence, and other pertinent personnel actions shall be maintained by the Dean of the
 5    College.

 6     A.    DEFINITIONS

 7           1.     a)      A Lecturer who teaches ten (10) or more units in a semester (six
 8                          (6) or more units at the Law School) shall be considered a full-time
 9                          lecturer for that semester.

10                  b)      Except for Article V. A. (Election of Department Chairperson), B.
11                          (Department Faculty Evaluation Committees), D. (College
12                          Academic Councils), and Article VII. I. (Tenure) and K.
13                          (Promotion), all provisions of this Agreement and the benefits
14                          thereof shall apply fully to Full-Time and Part-Time Lecturers.
15                          Effective July 1, 2017, full-time lecturers with more than two
16                          continuous years of service in the same department and Clinical
17                          Track faculty participate in the process of electing a Chairperson.

18                          All Full-Time Lecturers shall be evaluated annually by the
19                          Department Faculty Evaluation Committee and Department Chair.
20                          Annual evaluations shall take into account effectiveness in
21                          teaching and any other of the three remaining categories for
22                          evaluation as specified in the individual employment contract of
23                          the Full-Time Lecturer.

24                          The Department Chairperson shall be responsible for evaluating
25                          each part-time lecturer annually and for recommending or not
26                          recommending each part-time lecturer for reappointment. All part-
27                          time lecturers shall be evaluated in teaching effectiveness.
28                          Benefited part-time lecturers shall also be evaluated on the basis of
29                          any other responsibilities identified in their individual contracts.

30                          Teaching effectiveness shall be evaluated based on the following:

31                          •      student ratings;

32                          •      a review of the syllabus, if prepared by the PTL, including
33                                 learning outcomes, and other material relevant to the
34                                 course; and,

35                          •      classroom visit and observation by the Department
36                                 chairperson or designee.



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 1                        The recommendation to reappoint or not reappoint the PTL will be
 2                        made by the department chair based on the evidence above.

 3          2.    a)      Lecturers who teach fewer than ten (10) units (or thirteen (13) for
 4                        CVPA studio-only faculty) in a semester shall be considered Part-
 5                        Time Lecturers for that semester.

 6                b)      Responsibilities, benefits and/or other provisions of this Agreement
 7                        applying to Part-Time Lecturers shall be those described by
 8                        individual contracts and this Article.

 9          3.    Once an individual achieves eligibility for inclusion in this bargaining
10                unit, this eligibility shall be in effect for all subsequent contracts issued as
11                a Lecturer. In all cases where a department makes such a request and the
12                Dean agrees, contracts will be offered on a two-semester (Fall/Spring of
13                an academic year) or multi-year basis.

14     B.   FULL-TIME LECTURERS – TERMS AND CONDITIONS

15          1.    General Criteria

16                The appointment and promotion of Full-time Lecturers at the University of
17                Massachusetts Dartmouth are based upon the experience and academic
18                background of the candidate, as well as the instructional needs in the
19                position. Faculty members in the Lecturer ranks are primarily responsible
20                for credit-bearing, course-based instruction. Additional duties may be
21                assigned, including academic advising and working with tenure-track
22                faculty in course and curriculum development.
23
24                In addition, the following stipulations apply:
25                a) The position requires an appropriate Masters degree. The Provost must
26                   approve exceptions to this Masters degree requirement.
27                b) The position is not a tenure-track position, and the holder is not
28                   eligible for consideration for the award of tenure.
29
30          2.    Lecturer Ranks

31                •    Lecturer
32                     This is an entry-level rank, which requires completion of the Masters
33                     degree in a disciplinary area related to position responsibilities.
34
35                •    Senior Lecturer I
36                     Initial appointment to this rank is discouraged. Promotion to Senior
37                     Lecturer I from the rank of Full-Time Lecturer requires at least ten
38                     (10) years at that level or its equivalent and evidence of demonstrated
39                     exceptional teaching ability and extraordinary value to the university.


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 1
 2                •   Senior Lecturer II
 3                    Initial appointment to this rank is discouraged. Promotion to Senior
 4                    Lecturer II from the rank of Senior Lecturer I requires at least six (6)
 5                    years at that level or its equivalent and evidence of continued
 6                    demonstrated exceptional teaching ability and extraordinary value to
 7                    the university since promotion to Senior Lecturer I.
 8
 9                The initial appointment letter issued by the Dean will include a description
10                of duties and responsibilities, including teaching load, which may vary
11                depending on service or other responsibilities related to the position.
12
13          3.    Annual Evaluation and Salary Determination

14                Full-time lecturers in these ranks will be evaluated annually and are
15                eligible for raises on the basis of their performance in teaching, service
16                and professional development, as appropriate to their specific work
17                assignments.
18
19          4.    Renewal of Appointment

20                Full-time lecturer appointments are renewable, in the sole discretion of the
21                University, depending on satisfactory performance and unit and University
22                need. Renewals of appointments at the ranks of Senior Lecturer I and
23                Senior Lecturer II may be for a period of up to five years.
24
25                Any renewal shall also specify the Full-Time, Senior I, or Senior II
26                Lecturer’s duties and responsibilities. Changes in the Lecturer’s duties and
27                responsibilities may be negotiated between the Lecturer and the
28                Department, subject to the approval of the Dean.
29
30                No non-tenure-track faculty appointment, reappointment or promotion
31                carries a guarantee of future reappointments or promotions. All
32                appointments and reappointments are contingent upon maintaining the
33                appropriate visa status and work authorization.
34
35          5.    Criteria for Reappointment and Promotion

36                Reappointments and promotions shall be based on the lecturer’s
37                performance measured against the standards established pursuant to
38                Article VII(A), as appropriate to their specific work assignments, as well
39                as institutional needs including academic, enrollment, and teaching
40                priorities and requirements of the academic unit.
41
42



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 1          6.    Promotion Eligibility

 2                Individuals with ten (10) years of continuous full-time equivalent service
 3                at the Full-Time Lecturer level will be eligible for consideration for
 4                promotion to the rank of Senior Lecturer I. Such promotions shall be
 5                effective at the beginning of the academic year following that in which the
 6                individual was reviewed for promotion.
 7
 8                Individuals with six (6) years of continuous full-time equivalent service at
 9                the Senior Lecturer I level will be eligible for consideration for promotion
10                to the rank of Senior Lecturer II. Such promotions shall be effective at the
11                beginning of the academic year following that in which the individual was
12                reviewed for promotion.

13          7.    Promotion Review Process

14                The review process for promotion to Senior Lecturer I or Senior Lecturer
15                II shall be similar to the process used to evaluate tenure-track faculty
16                promotions.
17
18                Candidates eligible for promotion will develop a Promotion dossier that
19                includes an updated CV, annual review documentation, annual FARs,
20                representative course materials, a summary of teaching assignments and
21                student teaching evaluations, evidence of student success, reports from
22                annual teaching observations by peers, external peer evaluation, other
23                evidence of professional development, and a personal statement.
24
25                Denial of promotion does not preclude reappointment at the current rank,
26                nor does it preclude reconsideration for promotion at a later date.
27
28          8.    Promotion Increment

29                Individuals promoted from Lecturer to Senior Lecturer I during an
30                academic year shall receive a promotion increase of $3,000, in addition to
31                any contractual salary increments, effective September 1st of the following
32                year.
33
34          9.    Notice of Non-Reappointment

35                Non-reappointment of a faculty member in the Lecturer ranks may be
36                based on several factors in the sole discretion of the University, including
37                but not limited to insufficient funding or lack of need; unsatisfactory
38                performance; or for cause. The University will make reasonable efforts to
39                provide faculty members with written notice of the University's intent not
40                to renew within the following guidelines: three months’ notice for one-
41                year and two-year appointments, and six months’ notice for appointments
42                of three years or more.


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 1
 2          10.   Dismissal

 3                Dismissal of a full-time Lecturer before the end of an appointment period
 4                may occur for cause. Incompetence in the faculty member's professional
 5                capacity; neglect of duty; repeated and/or willful disregard of the rules of
 6                the University or of academic freedom; physical or mental incapacity; or
 7                any other conduct of a character seriously prejudicial to a faculty
 8                member's teaching or research or to the welfare of the University, its
 9                faculty, staff or students may each constitute cause for dismissal.

10     C.   SALARY SCHEDULE AND BENEFITS FOR PART-TIME LECTURERS

11          1.    Benefits – the Administration agrees to provide full GIC benefits, effective
12                September 1, 2005, for all eligible Part-Time Lecturers (PTLs).

13                a)     Attaining eligibility: PTLs who have taught 48 or more units (60 or
14                       more units for CVPA studio-only faculty) over the time period
15                       encompassing eight (8) of the past nine (9) semesters or greater
16                       will be eligible for benefits. University Extension courses taught
17                       during the Fall and Spring semesters shall count towards eligibility.

18                b)     Initial status for eligibility: Once eligibility has been attained,
19                       PTLs with halftime or greater status will be benefited. Half-time
20                       status is defined as teaching 6 or more units per semester (7.5 units
21                       for CVPA studio-only faculty) plus additional service duties
22                       assigned by the Department Chair, in consultation with the College
23                       Dean.

24                c)     Maintaining status: Once eligibility has been attained, PTLs must
25                       teach a minimum of 12 units per academic year (or fifteen (15) for
26                       CVPA studio-only faculty), excluding January courses, to maintain
27                       eligibility. OCE courses taught during the Fall and Spring semester
28                       will count toward the eligibility requirement.

29                d)     Service: All benefited PTLs will perform additional service duties
30                       assigned by the Department Chair, in consultation with the College
31                       Dean. These additional duties may be department-based, college-
32                       based, or university-based. All benefited PTLs will receive an
33                       annual stipend of $500 as compensation for performing service.

34                e)     GIC contract: Benefits will be in effect for the period September 1
35                       through August 31, and salary for benefited PTLs will be paid over
36                       the same 12-month period. If allowed by the GIC contract, PTLs
37                       who become eligible shall receive benefits at the start of the Spring
38                       semester.

39

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 1          2.     Each part-time lecturer shall receive a minimum salary per unit as follows:

 2                 With effect the semester commencing on or after June 30, 2017, beginning
 3                 with the third consecutive semester of service at UMass Dartmouth:
 4                 $1,347; for semesters 4 of 5 through and including semesters 9 of 10:
 5                 $1,531; and for semesters 10 out of 11 or greater: $1,746.

 6                 With effect the semester commencing on or after June 30, 2018, beginning
 7                 with the third consecutive semester of service at UMass Dartmouth:
 8                 $1,374; for semesters 4 of 5 through and including semesters 9 of 10:
 9                 $1,562; and for semesters 10 out of 11 or greater: $1,781.

10                 With effect the semester commencing on or after June 30, 2019, beginning
11                 with the third consecutive semester of service at UMass Dartmouth:
12                 $1,401; for semesters 4 of 5 through and including semesters 9 of 10:
13                 $1,593; and for semesters 10 out of 11 or greater: $1,817.

14     D.   HIRING OR RENEWAL OF CONTRACT

15          1.     All Lecturers shall be notified of their hiring or contract renewal at least
16                 fourteen (14) days in advance of the beginning of the semester.

17          2.     Lecturers in a department shall be offered contracts on the basis of
18                 seniority (greatest total number of semesters) providing that they meet the
19                 needs of the department and for a minimum of six (6) units per semester,
20                 provided that there are vacancies for six (6) units in the department.

21          3.     Lecturers in the bargaining unit, providing that they meet the needs of the
22                 department, shall have preference in hiring within the University for
23                 courses offered to lecturers.

24     E.   BENEFITS

25          The members of the bargaining unit shall continue to be covered by all the fringe
26          benefits provided by law.

27          Part-Time Lecturers shall be eligible for benefits as provided in Article XI.D.1.
28          (Life Insurance), D.2. (Group Insurance), D.3. (Workmen’s Compensation), D.6.
29          (Annuities), D.7.b. (Funeral Leave), D.7.c. (Family Leave), D.7.d. (Other
30          Leaves), D.8. (Sick Leave Bank), and D.10. (Health and Welfare) to the extent
31          permitted by Massachusetts law and/or the Massachusetts Group Insurance
32          Commission.

33          1.     Tuition Remission

34                 All Part-Time Lecturers shall be eligible for system-wide tuition remission
35                 benefits to the extent such are provided pursuant to the Higher Education



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1                  Coordinating Council System Wide Tuition Remission Policy for Higher
2                  Education Employees.

3           2.     Sick Leave

4                  All Part-Time Lecturers shall be entitled to one (1) day sick leave per
5                  semester per three (3) units of teaching under contract. Accruals shall be
6                  posted at the beginning of each semester/contract period. There shall be no
7                  limit on accumulation.

8           3.     Grievance

 9                 All Part-Time Lecturers shall have all the benefits of the grievance
10                 procedure as outlined in this Agreement.

11     F.   WORKING CONDITIONS

12          Part-Time Lecturers shall receive appropriate clerical and technical support in
13          carrying out their responsibilities while employed by the University. All PTLs
14          will be provided office or other space that supports the duties required by the
15          Chair.




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 1                                ARTICLE XVI
 2           RESEARCH FACULTY, CLINICAL NURSING FACULTY, RESEARCH
 3          ASSOCIATE, CLINICAL LAW FELLOW and TECHNICAL ASSOCIATE

 4     A.     RESEARCH FACULTY

 5            1.   Definition

 6                 Research faculty are full-time, non-tenure-eligible faculty members who
 7                 are qualified to engage in, be responsible for, or oversee a significant area
 8                 of research or scholarship. These are grant-funded positions, with a 12
 9                 month term of service and the opportunity for multiple year and
10                 consecutive appointments. Appointments to this track may be at the level
11                 of Research Assistant Professor, Research Associate Professor or Research
12                 Professor depending on qualifications and experience.

13                 Research faculty may serve as principal or co-principal investigators on
14                 grants or contracts administered by the University. Research faculty may
15                 serve on departmental, college/school and university committees but may
16                 not participate in personnel decisions. Research faculty also may serve on
17                 graduate student supervisory committees but may not serve as sole chairs
18                 of graduate student committees.
19
20                 Research faculty are eligible for the same benefits as Research Associates.
21                 They are not eligible for sabbatical leaves.
22
23            2.   Terms of Appointment

24                 The following guidelines apply to the appointment, evaluation,
25                 responsibilities and reappointment of research faculty.

26                 a)     Requirements

27                        (1)     Minimum requirements to be met for appointment of or
28                                promotion to Research Assistant Professor include a Ph.D.
29                                or terminal degree in a discipline germane to the research
30                                programs of UMass Dartmouth; and evidence of strong
31                                research abilities and potential for scholarship.

32                        (2)     Minimum requirements to be met for appointment or
33                                promotion to Research Associate Professor include: an
34                                exemplary level of accomplishment as measured against
35                                the contribution of others in his or her field; professional
36                                conduct conducive to a collegial work environment and
37                                standards of professional integrity that will advance the
38                                interests of UMass Dartmouth; an area of specialization
39                                compatible with University priorities; and evidence


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 1                              indicating a commitment to maintaining the level of
 2                              competence in research expected of a faculty member.

3                        (3)    Minimum requirements to be met for appointment of or
4                               promotion to Research Professor include: continuing
5                               accomplishments and evidence of national and international
6                               recognition in research; and evidence of valuable
7                               professional service.

 8          3.    Limitations

 9                a)     Research faculty positions are non-tenure track, non-tenure
10                       accruing, and no form of tenure, implied or otherwise, is associated
11                       with these positions.
12                b)     Research faculty appointments are grant-funded and generally for a
13                       period of 12 months. No appointment (including reappointment,
14                       with or without promotion) shall be for a term of more than three
15                       years. The university may appoint a research faculty for
16                       consecutive terms.
17                c)     Like other faculty members at UMass Dartmouth, research faculty
18                       shall be evaluated annually. The evaluation should focus on
19                       performance in the category of Scholarship and Professional
20                       Activities.
21                d)     The official duties of a research faculty member shall consist of at
22                       least 50 per cent research, scholarly, or artistic endeavors, but will
23                       have no significant amount of recurring teaching assignments.
24                e)     Research faculty are not eligible for sabbatical leave. Other
25                       benefits and privileges (e.g. one year termination notice) may be
26                       negotiated and should be clearly stated in the offer letter or the
27                       reappointment letter.
28                f)     A research faculty member is expected to be an integral part of the
29                       academic unit and actively participate in departmental and
30                       college/school scholarly activities within the guidelines of the
31                       university.
32
33          4.    Process of Appointment, Reappointment, and Promotion

34                a)     A request for an appointment to a research faculty position
35                       (including reappointment, with or without promotion) must be
36                       initiated by an academic unit following procedures in place for all
37                       faculty appointments, including those in colleges, schools,
38                       departments, centers, and institutes. The package must include a
39                       position authorization form showing that the appointment is not
40                       tenure accruing, as well as the credentials of the candidate and a


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 1                       letter of recommendation from the unit head(s) justifying the
 2                       request for the title.
 3                b)     The promotion procedures for the department and college/school
 4                       must be followed if the case is for a promotion.
 5
 6     B.   CLINICAL NURSING FACULTY

 7          1.    Definitions

 8                Clinical nursing faculty are non-tenure eligible, fixed-term faculty
 9                members who are qualified by training, experience, or education to direct
10                or participate in specialized university functions, including teaching,
11                student internships, clinical training, or other practice components of
12                degree programs, scholarship, and service. Responsibilities of clinical
13                nursing faculty may encompass any area of professional practice and/or
14                technical expertise. These are academic year appointments with the
15                opportunity for multiple year and consecutive appointments.
16                Appointments to this track may be at the level of Clinical Nursing
17                Assistant Professor, Clinical Nursing Associate Professor, or Clinical
18                Nursing Professor depending on qualifications and experience.
19
20                Clinical nursing faculty are expected to provide learning experiences and
21                supervision for students in clinical/professional programs and in their
22                specialized practice areas as well as service that meets the goals of their
23                department/University. Clinical nursing faculty are also expected to
24                sustain a high level of Clinical/Professional Excellence.
25
26                “Clinical/Professional Excellence” is defined as expertise that reflects
27                currency in evidence-based and/or theory-based practice and is validated
28                by the professional community, as determined by the college.
29
30                Clinical nursing faculty participate as voting members in college and
31                department matters relating to the academic programs in which they are
32                involved, excepting matters relating to reappointment, tenure, or
33                promotion of tenured and tenure-track faculty.
34
35                Clinical nursing faculty may serve on college and department committees
36                in accordance with college procedures, and on selected University
37                committees, based on applicable committee membership policies.
38
39                Clinical nursing faculty are eligible for the same benefits as Full-Time
40                Lecturers. They are not eligible for tenure or sabbatical leaves.
41
42          2.    Terms of Appointment

43                a)     The following guidelines apply to the appointment, evaluation,
44                       responsibilities and reappointment of clinical nursing faculty.

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 1                b)     Requirements
 2
 3                       Minimum qualifications for the ranks of Clinical Nursing Assistant
 4                       Professor, Clinical Nursing Associate Professor, and Clinical
 5                       Nursing Professor in the College of Nursing are:
 6                       •   MS in Nursing for Clinical Nursing Assistant Professor and
 7                           Clinical Nursing Associate Professor
 8                       •   Earned Doctoral degree for Clinical Nursing Professor
 9
10                c)     Minimum requirements to be met for appointment of or promotion to
11                       Clinical Nursing Associate Professor include: an exemplary level of
12                       accomplishment as measured against the contribution of others in his
13                       or her field; professional conduct conducive to a collegial work
14                       environment and standards of professional integrity that will advance
15                       the interests of UMass Dartmouth; an area of specialization compatible
16                       with university priorities; and evidence indicating a commitment to
17                       maintaining the level of competence in teaching and scholarship
18                       expected of a faculty member.
19                d)     Minimum requirements to be met for appointment of or promotion to
20                       Clinical Nursing Professor include: continuing accomplishments and
21                       evidence of national and international recognition in scholarship; and
22                       evidence of valuable professional service.
23
24          3.    Limitations

25                a)     Clinical nursing faculty positions are non-tenure track, non-tenure
26                       accruing, and no form of tenure, implied or otherwise, is associated
27                       with these positions.
28                b)     Clinical nursing faculty appointments are academic year appointments.
29                       No appointment (including reappointment, with or without promotion)
30                       shall be for a term of more than three years.
31                c)     Like other faculty members at UMass Dartmouth, clinical nursing
32                       faculty shall be evaluated annually. The clinical nursing faculty
33                       evaluation should focus on performance in the categories of Teaching
34                       Effectiveness and Advising, Scholarship and Professional Activities,
35                       and at least one of the service categories (University Service and
36                       Public Service).
37                d)     Clinical nursing faculty are not eligible for sabbatical leave.
38                e)     A clinical nursing faculty member is expected to be an integral part of
39                       the academic unit and to actively participate in departmental and
40                       college activities within the guidelines of the University.



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1                 f)    Clinical nursing faculty must maintain or attain licensure and/or
2                       certification, as appropriate.
3                 g)    Clinical nursing faculty will ordinarily be expected to assume the
4                       equivalent of a twenty-four course unit teaching load primarily in their
5                       area of clinical/professional expertise, a majority of which will be in
6                       clinical/professional practice courses in clinical/professional programs.
7                       Clinical nursing faculty will also have advising responsibilities as
8                       determined by the college/department.
 9                h)    Teaching, scholarship, practice, and service expectations for clinical
10                      nursing faculty should incorporate activities that use and build on their
11                      Clinical/Professional Excellence. Scholarship should be closely related
12                      to the clinical areas of expertise and responsibilities.
13
14          4.    Process of Appointment, Reappointment, and Promotion

15                a)    A request for an appointment to a clinical nursing faculty position
16                      (including reappointment, with or without promotion) must be initiated
17                      by an academic unit following procedures in place for all faculty
18                      appointments, including those in colleges, schools, departments,
19                      centers, and institutes. The package must include a position
20                      authorization form showing that the appointment is not tenure
21                      accruing, as well as the credentials of the candidate and a letter of
22                      recommendation from the unit head(s) justifying the request for the
23                      title.
24
25                b)    The promotion procedures for the department and college must be
26                      followed if the case is for a promotion.
27
28                c)    Initial Appointments
29
30                      (1)    The search process for clinical nursing faculty shall follow
31                             the University hiring procedures for full-time faculty
32                             positions.

33                      (2)    Offers of appointment for clinical nursing faculty shall
34                             follow the University and College procedures for full-time
35                             faculty positions.

36                d)    Annual Evaluation and Reappointment
37
38                      (1)    Clinical nursing faculty will have annual workload
39                             agreements which are approved by the department
40                             Chairperson and Dean.

41                      (2)    Each department with clinical nursing faculty will establish
42                             performance criteria for clinical nursing faculty. The

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1                             criteria must be approved by the college Dean and the
2                             Provost.

3                       (3)   Clinical nursing faculty will be evaluated annually for
4                             reappointment and merit using approved department
5                             clinical nursing faculty performance criteria. In addition,
6                             clinical nursing faculty must include evidence of
7                             Clinical/Professional Excellence in the area(s) in which
8                             they are engaging in clinical/professional teaching and/or
9                             supervision.

10                      (4)   The process and procedures for annual review, merit, and
11                            reappointment shall follow/align with the department,
12                            college and university procedures for all faculty.

13                            a.     The Department Faculty Evaluation Committee will
14                                   conduct annual reviews, and make
15                                   recommendations on reappointment, merit, and
16                                   promotion as appropriate. The evaluation process
17                                   will be based on established clinical nursing faculty
18                                   performance criteria.
19
20                            b.     The official file concerning recommendations for
21                                   reappointment, merit, and promotion shall be
22                                   maintained by the Provost’s office.
23
24                      (5)   Evaluation procedures for merit shall be the same as the
25                            evaluation procedures for tenured/tenure track. Clinical
26                            nursing faculty in their first-year of appointment may be
27                            considered for merit increases in accordance with full-time
28                            faculty allowances.

29                      (6)   Recommendations for reappointment for clinical nursing
30                            faculty in their first-year of appointment will be based on
31                            satisfactory annual performance evaluation as outlined in
32                            section 4a.

33                      (7)   Reappointment for clinical nursing faculty is contingent
34                            upon:

35                            a.     Departmental need, which may be influenced by the
36                                   number of students in the program and area of
37                                   specialty, and by the strategic direction of the
38                                   College/department.
39                            b.     Satisfactory performance in Teaching Effectiveness
40                                   and Advising, Scholarship and Professional



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 1                                    Activities, and at least one of the service categories
 2                                    (University Service and Public Service).
 3
 4                             c.     Evidence of on-going Clinical/Professional
 5                                    Excellence as reflected in the faculty member’s
 6                                    teaching, scholarship, and/or service.
 7
 8                      (8)    Notice of non-renewal of appointment shall follow
 9                             university policy.

10                      (9)    Clinical nursing faculty may be appointed for one-year
11                             contracts only.

12                      (10)   Upon request by the clinical nursing faculty member,
13                             clinical nursing faculty at the rank of Clinical Nursing
14                             Assistant Professor and higher may be considered for a
15                             three-year contract as follows:

16                             a.     After three consecutive positive annual reviews by
17                                    both the appropriate department committee and
18                                    department chairperson, the clinical nursing faculty
19                                    member may be considered for a three-year
20                                    contract.
21
22                             b.     The clinical nursing faculty member must request
23                                    review for consideration of a three-year contract
24                                    according to established time table in order to
25                                    ensure adequate notification and time for all levels
26                                    of review [dates to be determined, may align with
27                                    tenure track review timelines].
28
29                             c.     The clinical nursing faculty member submits a
30                                    summative portfolio reflecting accomplishments in
31                                    Teaching Effectiveness and Advising, Scholarship
32                                    and Professional Activities, and at least one of the
33                                    service categories (University Service and Public
34                                    Service).
35
36                             d.     The Departmental Faculty Evaluation Committee
37                                    and the department chairperson may recommend
38                                    reappointment with a three-year contract. A three-
39                                    year contract requires a positive recommendation of
40                                    both the Departmental Faculty Evaluation
41                                    Committee and the Department Chairperson.




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1                              e.     The Dean of the College also must support a
2                                     recommendation of a three-year contract prior to the
3                                     request being forwarded to the Provost.

 4                             f.     Three-year contracts are granted upon approval of
 5                                    the Provost.
 6
 7                             g.     To request review for subsequent three-year
 8                                    contracts (after the initial three-year contract), the
 9                                    clinical nursing faculty member must submit a
10                                    summative portfolio according to the established
11                                    timelines, following the format of materials to
12                                    submit for a comprehensive six-year review for
13                                    tenured faculty as set forth in federation contract. A
14                                    three-year contract requires a positive
15                                    recommendation of the Departmental Faculty
16                                    Evaluation Committee, the Department
17                                    Chairperson, and the Dean.
18
19                             h.     All reappointments of clinical nursing faculty,
20                                    including three-year contracts, are made by the
21                                    Provost.
22
23                      (11)   A clinical nursing faculty member’s employment may be
24                             terminated (as distinguished from non-renewal of the
25                             appointment), as provided in his/her contract or
26                             appointment letter.

27                e)    Promotion
28
29                      (1)    Clinical nursing faculty at all ranks (except Clinical
30                             Nursing Professor) are eligible for review for promotion.

31                      (2)    The minimum number of years in rank is six years full-time
32                             University teaching for Associate Clinical Nursing
33                             Professor and a minimum of ten years for Clinical Nursing
34                             Professor. Review will normally occur no earlier than the
35                             sixth-year in a clinical nursing faculty position.

36                      (3)    Evaluation procedures for promotion are the same as those
37                             for tenure track except that the review is conducted by the
38                             Departmental Faculty Evaluation Committee using clinical
39                             nursing criteria, and no reference to tenure shall apply.

40                      (4)    The Departmental Faculty Evaluation Committee and the
41                             Department Chairperson both make recommendations
42                             regarding the promotion. If the department level


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 1                             recommendation is favorable, the Dean makes a
 2                             recommendation regarding the promotion. If either or both
 3                             the Department’s and the Dean’s recommendation are
 4                             favorable, the portfolio is forwarded to the Provost. If the
 5                             Provost’s recommendation is favorable, the Chancellor
 6                             makes the decision regarding the promotion upon the
 7                             recommendation of the Provost.

 8                f)    Ratings for Personnel Recommendations
 9
10                      The following ratings are to be used in evaluating clinical nursing
11                      faculty for all personnel recommendations:
12
13                      Ratings for Annual Evaluation
14
15                      All Clinical nursing faculty will be evaluated in the categories of
16                      Teaching Effectiveness and Advising, Scholarship and
17                      Professional Activities, and at least one of the service categories
18                      (University Service and Public Service).
19
20                      The following ratings for the annual evaluation of clinical nursing
21                      faculty are established:
22
23                      •   Highly Recommended
24
25                          Excellent in either Teaching Effectiveness and Advising or
26                          Scholarship and Professional Activities and a Very Good in
27                          any other category and no Unsatisfactory ratings.
28
29                      •   Recommended
30
31                          Excellent or Very Good in either Teaching Effectiveness and
32                          Advising or Scholarship and Professional Activities and no
33                          Unsatisfactory ratings.
34
35                      •   Not Recommended
36
37                          Failure to meet the standards under the “Recommended”
38                          rating.
39
40                      Ratings for Promotion Recommendations
41
42                      All clinical nursing faculty will be evaluated in the categories of
43                      Teaching Effectiveness and Advising, Scholarship and
44                      Professional Activities, and at least one of the service categories
45                      (University Service and Public Service). The following ratings for


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 1                         the evaluation of faculty are established for promotion
 2                         recommendations:
 3
 4                         •     Recommended
 5
 6                               An Excellent in either Teaching Effectiveness and Advising or
 7                               Scholarship and Professional Activities and a Very Good in the
 8                               other of the two categories and no unsatisfactory ratings.
 9
10                         •     Not Recommended
11
12                               Failure to meet the standards under the “Recommended”
13                               rating.
14
15                 g)      Appeals
16
17                         (1)      Clinical nursing faculty with a three-year contract have the
18                                  right to appeal department and/or college recommendations
19                                  regarding promotion, or merit.
20
21                         (2)      Clinical nursing faculty on a one-year contract have the
22                                  right to appeal a merit recommendation when this is
23                                  accompanied by a recommendation for reappointment.
24
25                         (3)      Clinical nursing faculty will follow the same procedures for
26                                  appeal as set forth in the Federation Contract, with the
27                                  following exception: The Departmental Faculty Evaluation
28                                  Committee decisions and clinical nursing evaluation
29                                  criteria will serve as the basis for decisions on promotion
30                                  and merit.
31
32                 h)      Grievance
33
34                         Clinical Nursing Faculty, as members of the bargaining unit, shall
35                         have all the benefits of the grievance procedure as outlined in this
36                         agreement.

37     C.   RESEARCH ASSOCIATE

38          A Research Associate is any non-faculty employee of the University of
39          Massachusetts Dartmouth whose primary responsibilities are to: (a) supervise
40          research activities or (b) to conduct research activities through the University of
41          Massachusetts Dartmouth.

42          This employee classification will include:

43             •   full-time and part-time employees;

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1              •   benefited and non-benefited employees; and
2              •   temporary and permanent service employees.

3           This employee classification shall not include:

4              •   recipients of honorific titles from the University of Massachusetts
5                  Dartmouth, but who receive no compensation from the University of
6                  Massachusetts Dartmouth; or
 7             •   full-time and part-time members of the faculty and students of the
 8                 University of Massachusetts Dartmouth.

 9          Research Associates are eligible to supervise theses and dissertations with the
10          approval of the student’s major department.

11     D.   CLINICAL LAW FELLOW

12          A Clinical Law Fellow is any non-faculty employee of the University of
13          Massachusetts School of Law whose primary responsibilities are to work in a Law
14          clinic operated by the School of Law, specifically on direct representation, student
15          supervision, teaching and/or appellate and advocacy work. It is preferred, but not
16          required that all Clinical Law Fellows shall be admitted to the practice of law
17          before the relevant tribunal(s) before being hired.
18
19          This employee classification will include:
20
21             •   Full-time and part-time employees;
22             •   benefitted and non-benefitted employees; and
23             •   temporary and permanent service employees.
24
25          This employee classification shall not include:
26
27             •   Recipients of honorific titles from the University of Massachusetts
28                 Dartmouth, but who receive no compensation from the University of
29                 Massachusetts Dartmouth;
30             •   full-time and part-time members of the faculty and students of the
31                 University of Massachusetts Dartmouth;
32             •   administrative support staff;
33             •   or clerical support staff.

34     E.   TECHNICAL ASSOCIATE

35          A Technical Associate is any non-technician employee of the University of
36          Massachusetts Dartmouth whose primary responsibility is to provide technical
37          support to employees engaged in the supervision or conduct of research activities
38          through the University of Massachusetts Dartmouth.

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 1          This employee classification will include:

 2               •   full-time and part-time employees;
 3               •   benefited and non-benefited service employees; and
 4               •   temporary and permanent employees.

 5          This employee classification shall not include:

 6               •   administrative support staff;
 7               •   clerical support staff; or
 8               •   students of the University of Massachusetts Dartmouth.

 9     F.   TERMS OF EMPLOYMENT OF RESEARCH AND TECHNICAL
10          ASSOCIATES

11          Terms of employment for Research Associates, Technical Associates, and
12          Clinical Law Fellows shall be governed by an individual contract between the
13          individual and the University of Massachusetts Dartmouth, However, the parties
14          recognize that work schedules for Research Associates, Technical Associates, and
15          Clinical Law Fellows may vary widely within the standard payroll period, and
16          certain individual bargaining unit members have schedules, consistent with
17          department/School goals, that require them to provide services as part of their
18          duties at night or on weekends. In addition, Research Associates, Technical
19          Associates, and Clinical Law Fellows, as professionals, on occasion have to
20          devote additional time to the completion of their work. The individual contract
21          must include the following items:
22
23          1.       The precise dates and length of employment.

24          2.       The terms of service, including but not limited to a specification of
25                   whether the position is full-time or part-time, benefited or non-benefited.

26          3.       Benefits to be offered. Full-time Research Associates and Technical
27                   Associates shall receive the following minimum benefits subject to
28                   availability of funds:

29                   a)      Group Insurance under the provision of all covered UMass
30                           Dartmouth employees.

31                   b)      Participation in the Commonwealth of Massachusetts retirement
32                           program or federal alternative.

33                   c)      Workers Compensation as defined in Article XI.D.3. (Workers
34                           Compensation).



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 1                d)     Travel Allowance as defined in Article XI.D.4 (Travel
 2                       Allowances).

 3                e)     Ten (10) vacation days per year, incremented by one after each two
 4                       continuous years of successive employment up to a maximum of
 5                       fourteen (14) vacation days, with accruals earned bi-weekly and to
 6                       be used within the contract period that they are awarded (unused
 7                       vacation days shall be forfeited at the end of the contract period).

 8                f)     Fifteen (15) sick leave days per year with accruals earned bi-
 9                       weekly and to be used within the contract period that they are
10                       awarded (unused sick leave days shall be forfeited at the end of the
11                       contract period).

12                g)     Health and welfare plans.

13                h)     All holidays observed by the University of Massachusetts
14                       Dartmouth with the exception of floating holidays.

15                i)     Tuition waiver for courses taken by the employee and spouse
16                       and/or dependents for courses offered at any of the University of
17                       Massachusetts campuses with the exception of the Medical School.
18                       Research Associates and Technical Associates shall receive both a
19                       tuition waiver and a fee waiver (except for applied courses) for
20                       courses taken at the University of Massachusetts Dartmouth.

21          4.    A job description which will include examples of duties and
22                responsibilities, identify the individual’s immediate supervisor and the
23                person(s) who shall be responsible for evaluating the individual’s
24                performance on an annual basis, and state explicitly whether or not field
25                time (at sea or on the land) is expected and the anticipated extent of the
26                field time.

27          5.    The condition(s), if any, of contract renewal or continuation, including
28                criteria for annual evaluation. The annual evaluation of Research
29                Associates and Technical Associates shall be completed at least 30 days
30                prior to the expiration of their individual contract. A written copy of the
31                evaluation(s) shall be provided to the employee. The evaluation shall
32                include:

33                a)     A review of the individual’s performance based on the criteria of
34                       evaluation in the individual’s contract.

35                b)     A statement of whether the individual’s contract will be continued,
36                       modified, or terminated upon its expiration.

37          6.    Rate of compensation.


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 1                                    ARTICLE XVII
 2                               GRIEVANCE PROCEDURES

 3     A.   OBJECTIVES

 4          It is the declared objective of the Faculty Federation and the Trustees to
 5          encourage the prompt and informal resolution of complaints of members of the
 6          bargaining unit as they arise and to provide recourse to orderly procedures for the
 7          satisfactory adjustment of complaints.

 8     B.   DEFINITION

 9          A "grievance" shall mean a complaint by a member of the bargaining unit that
10          there has been as to the individual a violation, misinterpretation or inequitable
11          application of any of the provisions of this Agreement. These grievance
12          procedures are limited so as to apply to personnel action matters only.

13     C.   GENERAL PROCEDURES

14          1.     As used in this Article, the term "grievance" shall also include a grievance
15                 affecting more than one campus at the University of Massachusetts
16                 Dartmouth. The Faculty Federation shall represent every member of the
17                 bargaining unit at various levels of the grievance procedures.

18          2.     When a grievance arises, the grievance must be filed within ten (10)
19                 school days (or when school is not in session, fourteen (14) calendar days)
20                 from the day of the event upon which the grievance is based or from the
21                 date when the member of the bargaining unit had or should have had
22                 knowledge of the event. A grievance is considered to be filed when a
23                 completed grievance form is delivered to the administrator being grieved
24                 and to the Faculty Federation Grievance Hearing Committee.

25                 A member of the bargaining unit with a grievance shall notify in writing
26                 the Faculty Federation Grievance Committee specifying the act or
27                 condition and the grounds upon which the grievance is based. From this
28                 time forward, the Faculty Federation Grievance Committee shall be
29                 available to act in an advocacy role if the member of the bargaining unit
30                 requests it. If any member of the bargaining unit shall present any
31                 grievance without representation by the Federation, the disposition of the
32                 grievance shall be consistent with the provisions of this Agreement and
33                 shall not be deemed to change or otherwise modify the terms and
34                 conditions of the Agreement or create a precedent unless the Trustees and
35                 the Federation shall otherwise agree in writing. When members of the
36                 bargaining unit choose to handle their own grievance cases, they do so at
37                 their own peril.




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 1          3.     If the unit member or the Federation Grievance Hearing Committee
 2                 requests, the Provost shall provide all relevant documents and materials
 3                 pertaining to the member's grievance.

 4          4.     The individual alleging a grievance must state, on the grievance form
 5                 approved by the parties, the specific act or acts alleged to have been
 6                 committed or omitted in the recommending/decision making process
 7                 denying the individual a salary increase, a renewal of contract, a
 8                 promotion or tenure or the other grounds on which the grievance is based.
 9                 The decision in and of itself to deny a salary increase, a contract renewal,
10                 a promotion or tenure shall be insufficient grounds for stating a grievance.

11          5.     The University may elect not to address through these grievance
12                 procedures or in arbitration any claim alleging a violation of Art. II A or
13                 any other claim of discrimination or retaliation based upon protected
14                 characteristics that is the subject of a charge or complaint filed with the
15                 MCAD, the EEOC, the OFCCP, the Federal Office of Civil Rights or in
16                 state or Federal court.

17          6.     For grievance(s) arising out of personnel actions, the Union and/or the
18                 bargaining unit member shall not file a grievance until the final
19                 appropriate academic administrative official on the campus has made
20                 his/her decision in writing on the personnel action under consideration.

21     D.   INFORMAL PROCEDURES

22          When a potential grievance arises, the bargaining unit member(s) and/or the
23          Federation may meet with the representative(s) of the University administration
24          closest and best able to discuss the matter, and possessing the authority to resolve
25          the dispute. Informal efforts at settlement shall not extend beyond 20 days
26          (without the written agreement of each of the parties) and in all cases shall begin
27          within 14 days of the alleged grievable act. These meetings shall be collegial in as
28          much as there will be no presiding officer and the purpose will be to resolve the
29          matter in question, if possible. The University Administration and the Federation
30          agree that informal resolution of grievances do not set precedents. The utilization
31          of this informal process does not alter or extend the time requirements for filing or
32          processing a grievance unless the parties agree in writing to alter or extend the
33          time requirements.

34     E.   LEVEL ONE

35          1.     A Faculty Grievance Hearing Committee shall be comprised of up to five
36                 (5) unit members, three (3) constituting a quorum, selected from a unit
37                 member pool by the Faculty Federation Executive Board to serve two (2)
38                 year terms. Service on this committee shall be considered as University
39                 Service.



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 1          2.     The Grievance Hearing Committee, upon receipt of a grievance, shall
 2                 review the grievance provided that a quorum of three members of the
 3                 Grievance Hearing Committee is present. The Grievance Hearing
 4                 Committee shall hold a hearing on the grievance at which the grievant, the
 5                 grievant’s Federation representative (if any) and the person grieved
 6                 against (with a representative from the administration, if any) will be
 7                 invited to attend and to present their positions, if they wish. The Grievance
 8                 Hearing Committee may ask questions of either party presenting before
 9                 the Committee. Questions will be directed to the participants and any
10                 witnesses through the Grievance Committee chairperson. The Committee
11                 may hear witnesses as appropriate and shall receive relevant documents as
12                 provided in section C(4), above. The Committee must keep a record of its
13                 proceedings and file a copy of the record with the President of the Faculty
14                 Federation. Within ten (10) school days (or fourteen calendar days if
15                 school is not in session) the Grievance Hearing Committee shall make a
16                 written recommendation concerning the grievance and shall forward its
17                 recommendation to the next level of this procedure.

18     F.   LEVEL TWO

19          If the grievance received by the Grievance Hearing Committee concerned the
20          decision of a Department Chairperson or Division Head, the Dean of the unit
21          member’s college or the head of the unit member’s program shall receive the
22          recommendation, if any, of the Faculty Federation Grievance Hearing Committee.
23          In all other situations, the Provost shall receive the recommendation, if any, of the
24          Grievance Hearing Committee. The Dean, Provost or designee shall promptly
25          review the grievance and recommendation, if any, and may meet with the grievant
26          (and the Faculty Federation representative, if any) and the person whose action is
27          challenged by the grievance to discuss the recommendation, if any, or to request
28          additional information. The Provost or designee shall decide whether there has
29          been a violation of this Agreement. The decision of the Provost shall be
30          communicated in writing to the grievant and to any Faculty Federation
31          representatives who participated in Level Two. Such decision shall be made not
32          later than five (5) school days (seven calendar days when classes are not in
33          session) after the written appeal has been made to this level.

34     G.   LEVEL THREE

35          If the grievance is not satisfactorily resolved through Level Two, the grievant
36          and/or the representative of the Federation may appeal to the Chancellor within
37          ten (10) school days (fourteen calendar days when classes are not in session) after
38          the decision at Level Two was rendered or should have been rendered. The appeal
39          shall be in writing and shall state specifically the act or condition and the grounds
40          on which the grievance is based and why the disposition of the grievance offered
41          at Level Two is unsatisfactory. The Chancellor may meet with the grievant and
42          the Faculty Federation representative and confer on the appeal. The decision of
43          the Chancellor shall be communicated in writing to the grievant and to any

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 1          Faculty Federation representative who participated in Level Three. Such decision
 2          shall be made not later than ten (10) school days (fourteen calendar days when
 3          classes are not in session) after the written appeal has been made to the
 4          Chancellor.

 5     H.   LEVEL FOUR

 6          1.     Within thirty (30) calendar days of the Chancellor’s decision, or the date
 7                 the decision should have been rendered if the chancellor fails to render a
 8                 decision, the Faculty Federation ONLY may appeal the decision of the
 9                 Chancellor to the American Arbitration Association for arbitration.

10          2.     The proceeding may be initiated by filing a demand for arbitration with
11                 the American Arbitration Association. The Federation shall send copies of
12                 its demand to the Chancellor and the President of the university. A single
13                 arbitrator will be selected pursuant to the voluntary labor arbitration rules
14                 of the American arbitration Association. Where acceptable to both parties
15                 to this agreement, the American Arbitration Association's procedures for
16                 expedited arbitration will be utilized. A hearing will be convened and
17                 concluded as soon as practicable. The arbitrator shall issue a decision not
18                 later than thirty (30) days from the date of the closing of the hearings. The
19                 decision shall be in writing and shall set forth the arbitrator's opinion and
20                 conclusions on the issues submitted.

21          3.     The decision of the arbitrator shall be final and binding on both parties and
22                 the grievant and all will abide by it. Neither party waives its entitlement to
23                 appeal an arbitrator’s award pursuant to G.L.C.150c, §§10, 11 or 12.

24          4.     The arbitrator's fees and expenses will be shared equally by the parties.

25          5.     The arbitrator shall limit his decision to the application and interpretation
26                 of the provisions of this Agreement, and he shall have no authority to alter
27                 or amend the Agreement.

28     I.   TIME LIMITS

29          1.     Failure at any step of this procedure to communicate the decision on a
30                 grievance within the specified time limits shall permit the aggrieved party
31                 to proceed to the next step. Failure at any step of this procedure to appeal a
32                 grievance within the specified time limits shall be deemed to be
33                 acceptance of the decision rendered at that step.

34          2.     The time limits specified in the grievance procedure may be extended in a
35                 specific instance by mutual written agreement.

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1     J.   FACULTY FEDERATION GRIEVANCES

2          The Faculty Federation has the right to initiate or appeal a grievance involving an
3          alleged violation of this Agreement. When the grievance concerns an act of the
4          Chancellor, the grievance shall be heard at that level. Written decisions of the
5          Provost or the Chancellor need be served only upon the Faculty Federation.




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1                                     ARTICLE XVIII
2                              RATIFICATION OF AGREEMENTS

3     After a proposal has been mutually agreed upon by the negotiators representing the Board
4     of Trustees and the Faculty Federation, the chief negotiator for each party shall arrange
5     for this mutually agreed upon proposal to be on the agenda of their respective
6     organization’s next regularly scheduled meeting for action by the membership of that
7     organization, or at an earlier meeting if conveniently possible.

 8                                 ARTICLE XIX
 9                RESOLUTION OF DIFFERENCES BY PEACEFUL MEANS

10    The Federation agrees that it will not cause, condone, sanction or take part in any strike,
11    walkout, slowdown or work stoppage.

12    The Federation and its members, individually and collectively agree that if there is a
13    violation of this clause, that is, participation or involvement in any such strike, walkout,
14    slowdown, or work stoppage, any or all employees violating this clause will, at the
15    discretion of the Board of Trustees, be subject to disciplinary action as allowed by any
16    applicable provision of state law.

17                                      ARTICLE XX
18                                   MANAGEMENT RIGHTS

19    Nothing in this Agreement shall derogate from or impair any power, right or duty
20    heretofore possessed by the Board of Trustees or by the administration except where such
21    right, power or duty is specifically limited by this Agreement.

22                                     ARTICLE XXI
23                             PROVISION FOR RELATED ISSUES

24    The Faculty Federation and the Board of Trustees agree that each has exercised its rights
25    to bargain for provisions in this Agreement, and that the present Agreement constitutes a
26    complete resolution on all matters. However, with respect to those matters which are
27    directly related to any of the provisions of this Agreement the Board of Trustees agrees
28    that it will make changes only after consultation and negotiations with the Faculty
29    Federation.

30                                        ARTICLE XXII
31                                     SAVINGS PROVISION

32    If any provision of this Agreement or any application of the Agreement to any employee
33    or group of employees shall be found contrary to law, then such provision or application
34    shall not be deemed valid and subsisting, except to the extent permitted by law, but all
35    other provisions or applications will continue in full force and effect.




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                                                                                      APPENDIX B
                                                                                    DOC. T96-039
                                                                                    Passed by the BoT
                                                                                    4/2/97 (UMD)


                       UNIVERSITY OF MASSACHUSETTS
                      POLICY ON CONFLICTS OF INTEREST
       RELATING TO INTELLECTUAL PROPERTY AND COMMERCIAL VENTURES

                                             DARTMOUTH


Under most circumstances, conflicts of interest involving individuals associated with the University are
addressed by Chapter 268A of the Massachusetts General Laws, which governs the conduct of public
officials and employees. However, pursuant to Massachusetts General Laws Ch. 75 §14A, in the area of
intellectual property and technology transfer this policy is controlling. In matters not addressed by this
policy, the provisions of Chapter 268A apply.

I.      DEFINITIONS

As used in this Policy, the following words shall have the following meanings:

        A.      Chair - The Chairperson of the Conflicts Committee, as described in detail below.

        B.      Clinical Research - Research involving human subjects.

        C.      Company - Any corporation, partnership, association, or other legal entity, excluding
                entities controlled by the United States government, the Commonwealth of
                Massachusetts, and the University. A Company shall include all affiliates and other
                associated entities.

        D.      Conflict of Interest - (i) An actual or potential conflict between the personal interests of a
                Covered Individual and the interests of the University or the public or (ii) the reasonable
                appearance of such a conflict to the public. The University recognizes that the mere
                existence of a conflict of interest is not improper, but could lead to apparent or actual
                improper behavior. This Policy seeks to manage conflicts of interest to minimize both
                the appearance of improper behavior and the harm that could result from actual improper
                behavior. The University does not require disclosure and review of every Conflict of
                Interest, but only those involving a Financial Interest and certain situations, as described
                below.

        E.      Conflicts Committee - A five-campus committee that reviews and manages conflicts of
                interest, as further described in Article III.

        F.      Covered Individual - Any individual associated with the University, including without
                limitation faculty, staff, and students, but excluding members of the CVIP and Vice
                Chancellors for Research. Anyone who is not a Covered Individual remains subject to
                the more restrictive provisions of Mass. Gen. Laws Ch. 268A.

        G.      CVIP - The University Office of Commercial Ventures and Intellectual Property.
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 H.    Director - The Executive Director of the CVIP.

 I.    Equity - All ownership interests in a Company and all rights to obtain ownership interests
       in a Company, including without limitation common or preferred stock, warrants,
       options, and partnership units, and also including compensation arrangements based on
       equity performance (e.g., phantom stock). "Equity" does not include ownership interests
       that are held through publicly-traded mutual funds.

 J.    Financial Interest - A Significant Financial Interest or Substantial Financial Interest, both
       as defined below.

 K.    Non-Equity Compensation - All compensation other than Equity that is provided by a
       Company or contractually promised by a Company, including without limitation salary,
       gifts, royalties, consulting fees, honoraria, goods, services, and travel expenses. "Non-
       Equity Compensation" does not include compensation that is provided by the University
       pursuant to (i) its Intellectual Property Policy or by another educational or research
       institution pursuant to a similar policy or (ii) University-approved research funding.

 L.    Significant Financial Interest - Has either of the following meanings.

       1.      Clinical Research - In relation to Clinical Research that is performed or directed
               by a Covered Individual, "Significant Financial Interest" means (i) any Equity in
               a Company that is directly owned by, or is under the control of, a Covered
               Individual or a member of his or her immediate family or (ii) Non-Equity
               Compensation from a Company in an aggregate amount greater than $1,000
               within the prior twelve-month period that is directly or indirectly received by or
               contractually promised to a Covered Individual or a member of his or her
               immediate family.

       2.      Non-Clinical Research - In relation to research other than Clinical Research that
               is performed or directed by a Covered Individual, "Significant Financial Interest"
               means either (i) Equity that represents more than one percent (1%) of the total
               equity in a Company or has a total current value of more than $10,000 that is
               directly owned by, or is under the control of, such Covered Individual or a
               member of his or her immediate family or (ii) Non-Equity Compensation in an
               aggregate amount greater than $10,000 within the prior twelve-month period that
               is received by or contractually promised to a Covered Individual or a member of
               his or her immediate family.

 M.    Substantial Financial Interest - Has either of the following meanings.

       1.      Clinical Research - In relation to Clinical Research that is performed or directed
               by a Covered Individual, "Substantial Financial Interest" has the same meaning
               as "Significant Financial Interest."

       2.      Non-Clinical Research - In relation to research other than Clinical Research that
               is performed or directed by a Covered Individual, "Substantial Interest" means
               either (i) Equity that represents more than five percent (5%) of the total equity in
               a Company or has a total current value of more than $100,000 that is directly
               owned by, or is under the control of, such Covered Individual or a member of his
               or her immediate family or (ii) Non-Equity Compensation in an aggregate

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                     amount greater than $100,000 within the prior twelve-month period that is
                     received by or contractually promised to a Covered Individual or a member of his
                     or her immediate family.

       N.    Associate Provost for Research and Economic Development - The Associate Provost for
             Research and Economic Development at each campus, or where no such position exists,
             the Provost (or their designees).

II.    ADMINISTRATION OF POLICY

       A.    Philosophy and Authority of Conflicts Committee - The University assumes that its
             faculty and staff act with the highest level of personal responsibility, integrity and
             commitment to the University. Nevertheless, complex situations can arise involving
             Conflicts of Interest that require specialized knowledge and a multi-disciplinary,
             problem-solving approach. Therefore, the Committee will have the authority on behalf of
             the University to review conflicts disclosures and to dispose of conflicts involving
             Financial Interests in a fair and objective manner, utilizing the knowledge and judgment
             of Committee members and other resources the Committee desires to access. The
             Committee will have broad discretion in resolving Conflicts of Interest. Over time,
             decisions made by the Committee may become precedents that will be used for guidance
             by the Committee to assure continued principled decision-making. Some decisions may
             periodically be communicated (in a non-identified fashion) to faculty and staff in the
             form of advisories or guidelines. It is anticipated, for example, that promptly after its
             formation the Committee will establish and distribute advisories regarding typical
             Conflict of Interest situations with their appropriate resolution.

             The Committee has no authority with regard to Conflicts of Interest that do not involve a
             Significant Financial Interest or Substantial Financial Interest. All Conflicts of Interest
             outside the authority of the Committee are left entirely to campus-based procedures (if
             any).

       B.    The Conflicts Committee

             This Policy will be administered by a thirteen-member, University-wide Committee
             consisting of one member of the faculty at each campus appointed under procedures
             established by the campus; the Associate Provost for Research and Economic
             Development or his or her designee at each campus; the President or his or her designee;
             and two non-voting members who the President may appoint from outside the University.
             The President shall annually select the Chair of the Committee from among the voting
             members. The faculty members of the Committee shall serve three year terms and may
             not serve more than two consecutive terms. The Committee shall meet on a regular basis.
             The Associate Provost for Research and Economic Development shall collect disclosures
             on each campus, and the Chair shall be responsible for collecting disclosure forms from
             the Vice Chancellors of Research, distributing forms in advance of meetings, scheduling
             meetings, and setting the agenda. Members may participate in meetings using voice or
             video-conferencing technology, provided that all members shall receive advance notice of
             all meetings. Decisions of the Committee will be made by a majority of the Committee's
             voting members in as expeditious a manner as possible and will be recorded in written
             minutes.

             The Director or his or her designee and the General Counsel or his or her designee may
             attend all meetings of the Committee. The Director and the General Counsel shall be
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              informed of the date, time and place of all meetings in the same fashion as Committee
              members and shall be furnished with all information provided to Committee members.

III.    POLICY

        A.    Disclosure of Financial Interests

              All Covered Individuals must disclose a Significant or Substantial Financial Interest to
              the Associate Provost for Research and Economic Development or his or her designee in
              situations in which the Financial Interest may present a Conflict of Interest involving the
              use of students, technology transfer activities or the outcome of research that is
              performed or directed by that Covered Individual with significant use of University
              funds, facilities or equipment. In addition, some federal agencies and non-profit
              organizations may require disclosure of a Financial Interest under certain circumstances.
              The CVIP will prepare appropriate disclosure forms and make them available on campus.

              The following situations require disclosure at the time noted in each paragraph:

              1.      Company-Sponsored Research Proposals - If a Covered Individual intends to
                      perform or direct Company-sponsored research at the University, and if the
                      Covered Individual has a Financial Interest in that Company, or has received a
                      Financial Interest from that Company, then the Financial Interest should be
                      disclosed to the Associate Provost for Research and Economic Development and
                      allowed in accordance with this Policy before the Covered Individual submits to
                      the University a proposal relating to such research.

              2.      Company-Sponsored Research - If a Covered Individual performs or directs
                      Company-sponsored research at the University, and if the Covered Individual
                      intends to receive or actually receives a Financial Interest in that Company or
                      from that Company at any time (i) during the conduct of the research or (ii)
                      within one year after cessation of the research, then the Financial Interest must be
                      disclosed to the Associate Provost for Research and Economic Development and
                      allowed in accordance with this Policy before it is received, if possible, or
                      immediately after it is received, if prior disclosure is impossible.

             3.       Government and Non-Profit Institution Grant Applications - In general, if a
                      Covered Individual intends to submit an application for research funding from a
                      U.S. Government agency or a non-profit institution, then the Covered Individual
                      must comply with any disclosure and approval procedures required by the agency
                      or institution in connection with such application. For example, in order to
                      comply with Public Health Service and National Science Foundation
                      requirements, the University requires that a Covered Individual first disclose to
                      the Associate Provost for Research and Economic Development and obtain
                      approval of (i) certain of his or her Financial Interests that would reasonably
                      appear to be affected by the proposed research and (ii) certain of his or her
                      Financial Interests in any Company whose financial interests would reasonably
                      appear to be affected by the proposed research.

              4.      Government and Non-Profit Institution-Funded Research - If a Covered
                      Individual performs or directs research that is funded directly or indirectly by a
                      U.S. Government agency or a non-profit institution, the Covered Individual must

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             comply with any disclosure and approval procedures required by the agency or
             institution in connection with such funding. For example, in order to comply
             with Public Health Service and National Science Foundation requirements, the
             University requires that if a Covered Individual intends to receive or actually
             receives (i) a Financial Interest that would reasonably appear to be affected by
             the proposed research or (ii) a Financial Interest in any Company whose financial
             interests would reasonably appear to be affected by the proposed research, then
             the Financial Interest must be disclosed to the Associate Provost for Research
             and Economic Development and allowed in accordance with this Policy before it
             is received, if possible, or immediately after it is received, if prior disclosure is
             impossible.

       5.    Licensing to Certain Companies - If a Company intends to obtain a license to
             University-owned intellectual property, directly or indirectly, and if the Covered
             Individual who developed, discovered, or created that intellectual property or
             who is involved in negotiating the license (i) becomes aware of such intention
             and (ii) has a Financial Interest in that Company, the Financial Interest must be
             immediately disclosed to the Associate Provost for Research and Economic
             Development, who shall notify the CVIP. If the Director or a member of the
             CVIP staff or the Associate Provost for Research and Economic Development
             has such a Financial Interest, it must be disclosed to the President or his or her
             designee.

       6.    Involvement of Students - Although involvement of students in the outside
             professional activities of faculty under certain circumstances may enrich the
             students' educational experience, such activities have the potential to create a
             Conflict of Interest when the faculty member has a role in supervising the
             student's research, classes, or graduate teaching work. Therefore, involvement of
             a student in the outside professional activities of a faculty member who has any
             role with respect to the academic progress of the student may only be undertaken
             after disclosure to and approval of the Department Chair. In addition, if a faculty
             member intends to receive or actually receives a Financial Interest in a Company,
             and if the Covered Individual supervises or otherwise has control over students
             who will be involved in work for the Company, then the Covered Individual
             must disclose the Financial Interest and planned student involvement to the
             Associate Provost for Research and Economic Development and receive
             allowance in accordance with this Policy before the assistance of students in such
             work commences, even if approved by the Department Chair.

       7.    Changes to a Financial Interest - All Covered Individuals must disclose
             significant changes in previously disclosed Financial Interests. A Financial
             Interest that becomes a Substantial Interest is always considered a significant
             change.




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 B.    Management of Conflicts

       Covered Individuals are generally prohibited from having a Conflict of Interest that is
       disclosable under Section IV.A. unless the University has reviewed and allowed both the
       activity and the Financial Interest. There are two different procedures for review and
       allowance of these Conflicts of Interest, as set forth below. If a Conflict of Interest
       involves a Substantial Financial Interest, it necessitates rigorous review that may result in
       prohibition or allowance accompanied by conditions. On the other hand, if a Conflict of
       Interest involves a Significant Financial Interest and not a Substantial Financial Interest,
       then the Conflict of Interest ordinarily requires a less rigorous review process and
       ordinarily will be allowed.

       1.      Expedited Review and Allowance of Conflicts - If a Conflict of Interest does not
               involve a Substantial Financial Interest, then the Conflict of Interest will
               ordinarily receive expedited review and allowance. Under this expedited
               procedure, the Associate Provost for Research and Economic Development
               member of the Committee will review the disclosures submitted by Covered
               Individuals at his or her campus and either grant preliminary allowance or
               recommend review by the full Committee. All Conflicts of Interest that are
               granted preliminary allowance will be placed on a list that is provided to the full
               Committee. The Chair of the Committee may select disclosures on the list for
               review by the full Committee on the regular agenda; all disclosures not selected
               will be finally allowed at the conclusion of the meeting. The Committee may
               establish conditions to manage certain categories of these Conflicts of Interest
               under special or unusual circumstances.

       2.      Full Review and Allowance of Conflicts - If a Conflict of Interest involves a
               Substantial Financial Interest, the Associate Provost for Research and Economic
               Development member of the Committee will forward the disclosure to the Chair
               for inclusion on a Committee meeting agenda. The Chair will also include on the
               meeting agenda any other disclosures that have been selected by the Associate
               Provost for Research and Economic Development as appropriate for full review.
               The Conflicts Committee will regularly review and dispose of all such Conflicts
               of Interest as described in detail below, as expeditiously as possible.

               a.      Interim Measures - The Conflicts Committee or its Chair, in consultation
                       with the Associate Provost for Research and Economic Development of
                       the campus, may impose any measures that it finds necessary or desirable
                       to preserve the existing situation until a formal review is completed.
                       Such measures may allow a Conflict of Interest to exist, with or without
                       conditions, while a formal review is pending.

               b.      Review of Conflicts - The Conflicts Committee will formally review all
                       conflicts disclosures that (i) involve a Substantial Financial Interest, (ii)
                       are recommended for full review by the Associate Provost for Research
                       and Economic Development, or (iii) are selected by the Chair from the
                       list of other disclosures for expedited review. In the case of a Conflict of
                       Interest involving a Substantial Financial Interest, the Conflicts
                       Committee will ordinarily permit such a Conflict of Interest to exist only
                       under certain conditions, which are intended to minimize any harm that
                       could result from the Conflict of Interest.

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             c.    Disposition of Conflicts - After completing the formal review, the
                   Conflicts Committee may decide upon one or more of the following
                   dispositions:

                   (1) postpone consideration of the matter pending further information or
                       investigation;

                   (2) allow a Conflict of Interest because the circumstances require no
                       action;

                   (3) allow a Conflict of Interest with conditions, such as

                       • public disclosure of the Financial Interest in publications
                       describing the research results;

                       •   independent monitoring of the research;

                       •   modification of the research plan;

                       •   imposition of a holding period on the stock or other security in
                           the case of a Financial Interest consisting of Equity, which will
                           minimize the appearance of influence on the outcome of the
                           research; or

                   (4) prohibit a Conflict of Interest with compliance steps to remove the
                       conflict, such as

                       •   divestiture of the Financial Interest;

                       •   disqualification of the Covered Individual from the research.

                       In addition to the above, the Committee may refer the matter to the
                       appropriate University official or committee for disciplinary action
                       or other appropriate action.




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IV.     PUBLIC STATEMENTS

A number of problems my be posed when statements are made by scientists about research before the
research has been publicized in scholarly journals or symposia, when the scientist has a Financial Interest
in a Company that stands to benefit from the research. In order to avoid any such occurrences at the
University, all Covered Individuals who perform or direct research for a Company in which they have a
Financial Interest must refrain from making public statements about the results of any research relating to
that disclosure prior to (i) publication of the results in a recognized scholarly journal or (ii) presentation
of the results at a recognized scholarly meeting. The Associate Provost for Research and Economic
Development may make exceptions to this rule in appropriate cases. This restriction applies whether or
not the University allows an activity that presents a Conflict of Interest to continue after review.

V.      APPEALS

A Covered Individual may appeal an initial decision of the Committee by requesting a rehearing of the
matter. The rehearing shall occur at the next regularly scheduled meeting of the Conflicts Committee. At
the rehearing, the Covered Individual may personally appear before the Committee and shall have the
right to be accompanied by counsel or a union representative. The Committee shall establish written
procedures for the conduct of re-hearings. The Committee shall issue a reconsidered decision promptly
after the conclusion of the rehearing.

A Covered Individual may appeal an initial decision of the Committee or a decision made by the
Committee after a rehearing, in each case by requesting a review of the decision by the President or his or
her designee. At the President's discretion, such appeal may be a review of the documentary record of the
decision or may include a meeting with the Covered Individual and member(s) of the Committee. The
decision of the President shall be final.

VI.     PERIODIC REVIEW OF POLICY

At least every three years following adoption of this Policy, the Conflicts Committee will conduct an
evaluation of this Policy and, if necessary formulate amendments for consideration by the President of the
University.



(Dartmouth Version, 2/3/97)




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